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UNITED STATES DISTRICT COURT ____-rneo MAIL
FOR THE WESTERN DISTRICT OF WASHINGTO} VED

JAN 27 2021

AT SEATTLE

LERK U.S. DISTRICT COURT
WASHINGTEN
west DISTRICT OF Nera

 

 

 

PARLER LLC,
Plaintiff CASE NO. 2:21-cv-00031 6772,
JEFFREY CUTLER
intervenor Plaintiff
v.
AMAZON WEB SERVICES, INC.

' JURY TRIAL REQUESTED
Defendant

)

MOTION TO INTERVENE, RECONSIDER AND INJUNCTIVE

RELIEF BECAUSE OF CRIMES (18 U.S. Code § 1519 -

Destruction, alteration, or falsification of records) & MAIL FRAUD
AND TO COMBINE CASES FOR JUDICIAL EFFICIENCY AND |

SUMMARY JUDGEMENT

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Here comes Jeffrey Cutler, Paintiff-Intervenor in this case based on the United States
Constitution Ammend 1, for Redress of Grievances and preservation of the
Establishment Clause, Mr. Cutler files THIS MOTION TO INTERVENE,
RECONSIDER AND INJUNCTIVE RELIEF BECAUSE OF CRIMES (18 U.S.
Code § 1519 - Destruction, alteration, or falsification of records) & MAIL
FRAUD AND TO COMBINE CASES FOR JUDICIAL EFFICIENCY AND
SUMMARY JUDGEMENT, to correct for new crimes and OBSTRUCTION of
JUSTICE recently rediscovered 13JAN2021 at 4:10 PM, originally based on a
document filed 14DEC2020 and hidden. A previous document in case 21-40001 was
altered by persons unknown to protect the CRIMES of the FBI/CIA and KLU
KLUX KLAN. It also shows BIAS and MALICIOUS intent to violate EQUAL
TREATMENT under the law, a violation of the United States Constitution Ammend
5. Jeffrey Cutler has STANDING and it was granted by the USCA in DC on
14AUG2015 for case 14-5183 , and ORDER does not EXPIRE. Mr. Cutler was
granted the RIGHT to challenge the ESTABLISHMENT CLAUSE by the court
and has been trying to pursue his first ammendment right to PETTION THE
COURT FOR REDRESS OF GRIEVANCES. Recently in case # 1:17-cv-05228
Judge Nicholas G. Garaufis (Eastern District of New York) SIMPLY STATED MR.
CUTLER IS NOT PART OF THE CASE AND VIOLATED EQUAL

PROTECTION UNDER THE LAW AND HAD THE DOCUMENT RETURNED

WITH NO RECORD ON THE DOCKET EVEN THOUGH JOSH SHAPIRO (a

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Sonderkommando, elector for Joe Biden and the current Attorney General of

Pennsylvania) IS ON THE DOCKET. Mr. Cutler is being denied MEDICARE part

B coverage while the order in this case grants that coverage immediately to NON-
CITIZENS even though when DACA was set up the president OBAMA publically
stated the program was ILLEGAL. These persons are being GRANTED EXTRA
RIGHTS. Mr. Cutler a natural born citizen presently 66 years old and second
generation American and JEWISH, eligable to be President or Speaker of the
House. In case 20-2936 ECF 29 page 169 Mr. Cutler filed a copy of the order from
Mr. Torres dated 12ZAPR2018 that all voting methods must have a HARD COPY
RECORD AVAILABLE filed 200CT2020, as part of funding from the FEDERAL
GOVERNMENT!! The laws were altered in Pennsylvania to provide DROP
BOXES that failed to have this provision. Mr. Cutler had stated these ballots
violated the states OWN order, and a judge should decide their they are ILLEGAL,
just like the term that may presently describe the sick bird Philadelphia football team
ILL EAGLE. The Citizens of the State of New York and may have been violated
by equal protection 03JAN2021 based on possible bribes or collusion to LOOSE the
football game due to substitution of the Quarterback, so the GIANTS were not able to
be in the playoffs, the coach has since been terminated. On 13JAN2021 at 4:10 PM,
a 321 Page AMMENDED & CORRECTED EMERGENCY EXPEDITED

PETITION FOR HEARING ENBANC AND INJUNCTIVE RELIEF

BECAUSE OF CRIMES (18 U.S. Code § 1519 - Destruction, alteration, or

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falsification of records) & MAIL FRAUD AND TO COMBINE CASES FOR
JUDICIAL EFFICIENCY AND SUMMARY AFFIRMATION in Philadelphia
USCA case 20-1422, which was prior to the vote of the SNAP IMPEACHMENT
with NO abilility of the president to present any witnesses or other

EXCULPATARY evidence This was equivalent of a HIGH TECH LYNCHING
(to quote Clarence Thomas) just like Mr. Cutler was subjected. The comments of the
president were selectively EDITED to remove the word peaceful, and the concept
this speech incited the riot is contradicticted by reports that the FBI knew about
activities for over a month (the document is contained in the Addemdum). This
impeachment as fair was as true and correct as the attack on 11SEP2012 when
[[Susan Rice]] stated “But our current best assessment, based on the information that
we have at present, is that, in fact, what this began as, it was a spontaneous -- not a
premeditated -- response to what had transpired in Cairo. In Cairo, as you know, a
few hours earlier, there was a violent protest that was undertaken in reaction to this
very offensive video that was disseminated.” On 12JAN2021 Jeffrey Cutler filed a

| MAIL FRAUD complaint against AMAZON and Jeffrey Bezos and on 11JAN2021
filed a MAIL FRAUD complaint against TWITTER and Jack Dorsey. The MAIL
FRAUD complaints are based on being a INVESTOR in both companies and the
ANNUAL REPORTS OF BOTH COMPANIES that are MAILED to Mr. Cutler

and other investors and statements in those reports.

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THERE IS TIME STAMPED PROOF OF ELECTORAL FRAUD IN
PENNSYLVANIA, ORIGINALLY FILED IN FEDERAL COURT 200CT2020
PAGE 169 OF CASE 20-2936

PAGE 9 OF THE LINK BELOW !!<ref>
https://www.courtlistener.com/recap/gov.uscourts.pamd. 127057/gov.uscourts.pamd. 1
27057.181.0.pdf </ref> THE DROP BOXES IN PENNSYLVANIA FAILED TO
HAVE HARD COPY RECEIPT AVAILABLE DESPITE ORDER FROM TORRES
ON 12APR2018 TO THE CONTRARY. ASHLI BABBITT WAS ACTING AS A
CITIZEN JOURNALIST AND SHE HEARD THE CONSPIRACY WITH
KKK/ANTIFA AND THE POLICE, THAT IS WHY SHE WAS MURDERED.
PER USCA CASE 17-1770 JOE BIDEN WAS PART OF A GROUP HELPING TO
SMUGGLE STOLEN NAZI ART INTO THE UNITED STATES AND BILL
COSBY FOUND OUT. On 13JAN2021 JOSH SHAPIRO is named in part of a
Petition [[En banc]] in the USCA in [[Philadelphia]] on Page 62 is a letter from
[[Nancy Pelosi]] to [[Ted Wheeler]] dated 27AUG2020 SUPPORTING VIOLENCE

IN [[Portland, Oregon]], On Page 67 is EVIDENCE OF COMPLAINT of [[Electoral

fraud]] made to Office of Attorney General Josh Shapiro 24DEC2020 at 7:50 AM.

On Page 68 is a letter of a Private Criminal Complaint About Perjury and Obstruction
of Justice made to Office of Attorney General Josh Shapiro dated 20JUN2017, that
concerns the MURDER of [[Jonathan Luna]] by the [[Ku Klux Klan]]. Also see

[[Publican and the Pharisee]] and [[Parable of the Unjust Judge]]

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Watch https://www.youtube.com/watch?v=mgCle8F_zUk for more information and

read comments sorted newest first. Also see <ref>

hitps://www.americanfreedomlawcenter.org/case/jeffrey-cutler-v-u-s-dept-of-health-human-services/

</ref> and <ref> https://www.brennancenter.org/legal-work/corman-v-torres </ref><ref>

https://recistrictinailis,edu/files/PA%20corman%2020180724%620brief.odt </ref><ref>
https://www.pacermonitor.com/public/case/27231978/CUTLER_v_PELOSI_et_al </ref> As an Official
Whistle Blower in the Commonwealth of Pennsylvania, Jeffrey Cutler declares the
actions Mr. Krasner, the Mayor of Philadelphia, and the Governor were a concerted
effort to legally Murder Jews and Blacks. Mr. Cutler ran for governor as a Pro Se

candidate against Tom Wolf and had an advertisement in the METRO paper on

240CT2018 page 15 :titled “SAVE BILL COSBY”

On 22JUN2020 a PETITION FOR IMMEDIATE INJUNCTION PENDING
APPEAL was finally put online in case 20-1449 even though it was actually filed on
20MAY2020 at 4:10 PM.. The case is called the UNITED STATES OF AMERICA
v. JOESEPH JOHNSON. The office of the president responded to this by
21MAY2020. The president gave a short. NEWS CONFERENCE on 22MAY2020
demanding all places of worship be allowed to open. Employees of the federal
government and others have been involved in a criminal conspiracy to OBSTRUCT
JUSTICE and damage the United States. In case #20-5143 DC USCA Nancy Dunn
obstructed documents mailed and sent to <ref> prosefilings@cadc.uscourts.gov

</ref> Mr. Cutler had sent a 330 page document on 17JUL2020 but that document

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vanished, just like the white bunny HARVEY, who is invisible in the picture of Mke
Pence with his bunny Marlon Bundo on 16NOV2020 on the front page of the
Philadelphia Inquirer. The USPS tracking number 9510 8141 4908 0199 0615 60 is
not reporting results. The lawyers in sending Mr. Cutler the letters by MAIL makes
them all a party to the CONSPIRACY to INTERFERE IN INTERSTATE
COMMERCEand MAIL FRAUD. On 30SEP2020 at 12:42 PM (RESTAMPED

050CT2020) Jeffrey Cutler filled a571 Page PETITION TO COMBINE CASES

FOR JUDICIAL EFFICIENCY BECAUSE OF CRIMES (18 U.S.C. § 653 MISUSE —

OF FEDERAL FUNDS, MAIL FRAUD, AND OTHER CRIMES), AND
SUMMARY AFFIRMATION USCA CASE 20-2936. On 150CT2020 at 12:42 PM
Jeffrey Cutler filled a 194 Page AMENDED PETITION TO COMBINE CASES
FOR JUDICIAL EFFICIENCY BECAUSE OF CRIMES (18 U.S.C. § 653 MISUSE
OF FEDERAL FUNDS, MAIL FRAUD, AND OTHER CRIMES), AND
SUMMARY AFFIRMATION USCA CASE 20-2936 On 190CT2020 Jeffrey Cutler
filled a244 Page ERATTA FOR AMENDED PETITION TO COMBINE CASES
FOR JUDICIAL EFFICIENCY BECAUSE OF CRIMES (18 U.S.C. § 653 MISUSE
OF FEDERAL FUNDS, MAIL FRAUD, AND OTHER CRIMES), AND
SUMMARY AFFIRMATION USCA CASE 20-2936 On 280CT2020 at 1:38 PM
Jeffrey Cutler filled a PETITION FOR ENBANC REVIEW of PETITION TO
COMBINE CASES FOR JUDICIAL EFFICIENCY BECAUSE OF CRIMES (18

U.S.C. § 653 MISUSE OF FEDERAL FUNDS, MAIL FRAUD, AND OTHER

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CRIMES), AND SUMMARY AFFIRMATION AND PEREMTORY
DISQUALIFICATION OF ALL JUDGES OF THE THIRD CIRCUIT AND MOVE
TO FIFTH CIRCUIT. On 12NOV2020 at 3:56 PM Jeffrey Cutler filled a PETITION
TO COMBINE ADDITIONAL CASES BEFORE ENBANC REVIEW BECAUSE
OF ADDITIONAL CRIMES (18 U.S. Code § 1519 - Destruction, alteration, or
falsification of records) FOR JUDICIAL EFFICIENCY in USCA case 20-2936

On 23NOV2020 AT Jeffrey Cutler filed a199 page PETITION FOR INJUNCTIVE
RELIEF BECAUSE OF CRIMES (18 U.S. Code § 1519 - Destruction, alteration, or
falsification of records) AND TO COMBINE CASES FOR JUDICIAL
EFFICIENCY AND SUMMARY AFFIRMATION IN CASE 20-3371 IN PERSON
IN PHILADELPHIA AT 3:45 PM. THIS IS the appeal of DONALD J. TRUMP FOR
PRESIDENT INC., et al. v. KATHY BOOKVAR, et al. case 4:20-cv-02078. Mr.
Cutler filed a 322 MOTION TO DECLARE DONALD J. TRUMP, INC.
VICTORIOUS FOR INJUNCTIVE RELIEF BECAUSE OF CRIMES (18 U.S.C. §
1519 — Destruction, alteration, or falsification of records, MAIL FRAUD, AND
OTHER CRIMES), COMBINE CASES FOR JUDICIAL EFFICIENCY AND

SUMMARY JUDGEMENT and it is time stamped 19NOV2020 case case number

4:20-cv-02078. Even though it is on 322 page document it was put on the DOCKET

as ECF 180 and ECF 181. Both of these documents are available via the internet at

<ref> hittos://www.courtlistener.com/recap/gov.uscourts.pamd.127057/gov.uscourts.pamd, 127057.180.0.pdf

</ref>

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<ref> httos://www.courtlistener.com/recap/gov.uscourts.pamd.127057/gov.uscourts.pamd.127057.181.0.paf

</ref>

Mr. Cutler has written in the document that COVID-19 is BIO-WARFARE FROM
CHINA AIDED BY BRIBES AND CORRUPTION AROUND THE WORLD. A
COPY WAS EMAILED TO OVER 200 PERSONS AND NEWS
ORGANIZATIONS, INCLUDING RUDY. BASED ON MR. CUTLER'S
VALIDATION EXPERIENCE HE THINKS THAT THE TESTING
COMPONENTS MAY BE TAINTED and actually causing increase in COVID-19.
This is based on PREVIOUS actions by CHINA.
<ref>https://www.govinfo.gov/content/pka/CHRG-1 1 0hhrg53183/html/CHRG-110hhrg53183.him </ref>

<ref> httos://www.nytimes.com/2008/03/06/health/Oéheparin.htmi</ref>

<ref>https:/ /www.latimes.com/archives/la-xom-2008-mar-20-na-fda20-story.htmi</ ref>

<ref>nhttps://en.wikipedia.org/wiki/2007_pet food recalls </ref>

18 U.S. Code § 1519 - Destruction, alteration, or falsification of records involving
ECF 33 filed 230CT2020. Mr. Cutler believes the same technique used in the VW

EMISSIONS SCANDAL WAS USED TO ALTER VOTES and possibly by the same

programmers <ref>

hitps://www.nytimes.com/interactive/2015/business/intemational/vw-diesel-emissions-scandal-

explained.himl</ ref> <ref>nhttps://www.ydr.com/story/news/politics/elections/2019/11/06/how-pa-fix-

paper-ballot-voting-problems-before-2020-presidential-election/2507101001/</ref> PER USCA CASE

17-1770 JOE BIDEN IS INVOLVED IN DEALING IN STOLEN NAZI ART

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FROM WWIL. THE 199 PAGE DOCUMENT FILED 23NOV2020 AT 3:45 PM
VANISHED IN FEDERAL COURT!!

On 31DEC2020 Jeffrey Cutler at 11:11 AM he filed a 383 PAGE MOTION FOR
SUBSTITUTION OF JUDGE AND MOTION FOR RECONSIDERATION AND
INJUNCTIVE RELIEF BECAUSE OF CRIMES (18 U.S. Code § 1519 -
Destruction, alteration, or falsification of records) & MAIL FRAUD AND TO
COMBINE CASES FOR JUDICIAL EFFICIENCY AND SUMMARY
JUDGEMENT in the UNITED STATES DISTRICT COURT OF THE EASTERN
DISTRICT OF NEW YORK CASE #1:17-cv-05228 (STATE OF NEW YORK v.
DONALD J. TRUMP) AS AN INTERVENOR DEFENDANT.On page 46&47 of
USCA case 20-2936 filed 12NOV2020 (55 & 56 of ECF 181 case 4:20-cv-02078) is
documented evidence of (18 U.S. Code § 1519 - Destruction, alteration, or
falsification of records) involving ECF 33 filed 2830CT2020. Mr. Cutler believes the
same technique used in the VW EMISSIONS SCANDAL WAS USED TO ALTER
VOTES and possibly by the same programmers <ref>
https://www.nytimes.com/interactive/2015/business/international/vw-diesel-emissions-scandal-explained.htmi</ref>

<re f>https /Iwww.ydr.com/story/news/politics/elections/20 19/1 1/06/how-pa-fix-paper-ballot-voting-problems-before-2020-

presidential-election/2507101001/</ref> PER USCA CASE 17-1770 JOE BIDEN IS
INVOLVED IN DEALING IN STOLEN NAZI ART FROM WWIL. Mr. Cutler

previously had filed copies of documents from case 19-11466 (Bankruptcy of

PHILADELPHIA ACCADEMIC HEALTH SYSTEM- HAHNEMANN HOSPITAL

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), in ECF 66 case 5:19-cv-00834 filed 14AUG2020 ( documents vanished, see pages
23, 53 & 60). Mr. Cutler had desired to keep the hospital open since he had been a
previous grad of DREXEL UNIVERSITY. In fact he had talked to 2 of the bidders
for the Hospital that wanted to KEEP IT OPEN as a running HOSPITAL and offered
funds from the DEFAULT JUDGEMENT FROM BRIAN SIMMS. Tom Wolf, the
mayor of Philadelphia, and Brian Simms all gave speeches that were covered by the
media, but everything Mr. Cutler did was censored. Mr. Cutler was prevented from
atteding hearings at the law office of Saul Ewing while reporters were allowed to
attend at the law office of Saul Ewing (he was asked to leave by security, and
Philadelphia Police). Mr. Cutler previously had contested the states order that they
could redistrict (USCA Case 18-1816) via a method that gave the court this power
even though it VIOLATED THE PENNSYLVANIA CONSTITUTION and
allowed it to be ammended in 10 days, <ref> https://www.brennancenter.org/legal-work/corman-v-torres
</ref><ref> hups://redistricting IIs.edu/files/P A%20corman%2020180724%20brief pdf </ref> and conceal the
MURDER of employee of the Federal Government with the aid of the [[FBI]]. Mr.
Cutler a former ELECTED TAX COLLECTOR in November 2013 and has been
trying to clear his name based on PERJURED testimony 18 U.S.C. § 1001, bank
robbery by others, insurance fraud on 17MAR2017 and a challenge to
OBAMACARE on 31DEC2013 (case 1:13-cv-2066 in Washington, DC). Mr. Cutler

was granted the right to challenge OBAMACARE by the USCA in Washington, DC

on 14AUG2015. Mr. Cutler has filed in many cases and has caught persons

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obstructing justice like in case 20-5143 (USCA Washington, DC), Nancy Dunn
stated she discarded all the documents and OBSTRUCTED JUSTICE. Many cases
involve unopposed motions. Priority mail tracking number #9510 8066 2091 0225
1534 23. A document sent to the Supreme court on 30NOV2020 at 4:28 PM used
Express Mail, tracking number EJ5050342510S and vanished also, just like previous
documents in federal court. In case #ON 07DEC2020 JEFFREY CUTLER FILED
VIA NEXT DAY MAIL (EJ505033021US) A 315 PAGE MOTION FOR
RECONSIDERATION AND INJUNCTIVE RELIEF BECAUSE OF CRIMES (18
U.S. Code § 1519 - Destruction, alteration, or falsification of records) AND TO
COMBINE CASES FOR JUDICIAL EFFICIENCY AND SUMMARY
JUDGEMENT IN CASE 1:17-cv-05228 (STATE OF NEW YORK v. DONALD J.
TRUMP AS A Intervenor Defendant. [[DACA CASE CITING EQUAL
TREATMENT UNDER THE LAW- first 59 pages of 315 attached in the —
Addendum]] ON PAGE 67 IS EVIDENCE OF ELECTORAL FRAUD AND
DONALD TRUMP VICTORY IN PENNSYLVANIA. ORIGINALLY FILED AS

PAGE 169 (e320) USCA CASE 20-2936 (COUNTY OF BUTLER, et al. v. THOMAS

WOLF, et al.). Even though the document IN CASE 1:17-cv-05228 was recieved on

08DEC2020 AT 10:56 AM, it has yet to be put on the DOCKET, despite multiple
claims by the clerks. Josh Shapiro (a SONDERKOMMANDO) is part of the case in
New York, and a MAIL FRAUD complaint has been submitted for his previous

actions and BASED ON A STORY ON PAGE B2 09DEC2020 PHILADELPHIA

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INQUIRER, AG SHAPIRO IS GUILTY OF MAIL FRAUD BASED ON

RESPONSE AND FILINGS OF LETTER SENT JUNE 20, 2017 PAGE 59 OF A
315 PAGE MOTION FOR RECONSIDERATION. Since he is part of the
ELCTORAL COLLEGE in Pennsylvania, his vote for Joe Biden will also be a
CONSPIRACY to commit MAIL FRAUD with the other electors and is also
AIDING AND ABETTING in concealing the MURDER of a BLACK
FEDERAL EMPLOYEE (and they are violating 18 U.S.C. § 3 Accessory after the
Fact MURDER of Jonthan Luna). In a previous case in Pennsylvania Judge
Clarence C. Newcomer ruled that the Democratic campaign of William G. Stinson _
had stolen the election from Bruce S. Marks in North Philadelphia's Second
Senatorial District through an elaborate fraud in which hundreds of residents were
encouraged to vote by absentee ballot, a form of MAIL FRAUD. On many of the
ballots, they used the names of people who were living in Puerto Rico or serving time
in prison, and in one case, the voter had been dead for some time.

"Substantial evidence was presented establishing massive absentee ballot fraud,
deception, intimidation, harassment and forgery," Judge Newcomer wrote in a
decision made public. <ref> https://www.leagle.com/decision/199489219f348731759 </ref>,

<ref> hitps://www.nytimes.com/1994/02/19/us/vote-fraud-ruling-shifts-pennsylvania-senate.htmt </ref>. Even
though the judge is named as part of the complaint filed for case #1:20-cr-00165 for
MAIL FRAUD, someone else could be the real culprit. Judge Jeffrey Schmehl in

case 2:17-cv-00984 (Appeal 17-2709) specifically ruled that FAILURE TO SERVE

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was a reason to deny ALL motions by Mr. Cutler. It was established that ALL
parties FAILED TO EVEN ATTEMPT TO SERVE ALL PARTIES. The same
judge has shown BIAS and MALICIOUS intent to violate EQUAL TREATMENT
under the law, a violation of the United States Constitution Ammend 5, in an effort
to violate Mr. Cutler’s right to redress of grievances and as a violation of 18 U.S.C. §

3 accessory after the Fact MURDER of Jonthan Luna (a BLACK employee of the

FEDERAL GOVERNMEMT). The same persons that MURDERED Luna based on

the injuries may be the same individuls in a Louisiana town of Baldwin that are
responsible for the death of Quawan "Bobby" Charles. A mail fraud complaint has
been filed against Judge Schmehl for his opinion in the case, for making
PERJURED STATEMENTS BY MAIL, (18 USC § 1001) and an effort to protect
parties that defaulted as well as both insurance companies and their lawyers making
false statements by mail in denying claims. Mr. Cutler believes he should be

included in this case because the Safehouse activity would lower the property values
all over Philadelphia and Pennsylvania and allow illegal drugs to become even more
readily available. This would set a standard for CHINA to attack the United States
even further. The DemoNcrats have pushed for the lowest common demoninater of
activity and depavity to destroy this Republic, and destruction of GOD in favor of the
STATE. This WORLDWIDE attack based on payments and corruption this court
MUST deny them the chance to succeed and promote DRUG DENS in Philadelphia.

On 13MAY1985, then district attorney Ed Rendel allowed FIVE CHILDREN to be

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CREMATED ALIVE, based on BOMBs furnished by the [[FBI]], as a form of
eviction. Midge Rendel has failed to RECUSE from 18-3693.

Statements by Jason Confair (Manhiem Township) and Robert DiDominicis
(Haverford Police) fail to serve Mr. Cutler in their latest filing (ECF 41 and ECF 50).
Mr. Cutler believes this constitutes a CONSPIRACY to conceal the murder of a
Federal Employee found on 04DEC2003 (Jonathan Luna) , by persons in the
governments (both federal and state) and also the murder of five children on May 13,
1985 as a form of Eviction with the aid of persons in the FBI. Shaun Bridges a
secrect service ageny stole over $ 800,000 and was convicted of the crime in
NOV2017<ref> nttps:/www.justice.gov/opa/pr/former-secret-service-agent-sentenced-scheme-related-silk-road-

investigation </ref><ref> The murder of Sean Suiter was equally tainted

https://www.ydr.com/story/news/2020/07/10/investigator-death-baltimore-city-pblice-detective-sean-suiter-charged-kidnapping-

extortion-case/5412238002/</ref>Mr. Cutler had stated that he believed that the MURDER of

 

JONATHAN LUNA was carried out by the KLU KLUX KLAN, and concealed

with help of persons of the FBI. Mr. Cutler based on his past jobs & training that the »

COVID-19 pandemic is BIO- WARFARE against the world from CHINA and
CORRUPT OFFICIALS & CORRUPT MEDIA. Based on his previous contracts
in VALIDATION for MERCK , BAXTER, J&J etc. GMP training and the only
609 cases and 7 deaths in TAIWAN as of 20NOV2020, THAT THE TESTING
COMPONENTS MAY BE TAINTED and actually causing increase in COVID-19.

This is based on PREVIOUS actions by CHINA.

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<ref>nttps://www.govinfo.gov/content/pkg/CHRG-1 10hhrg53183/html/CHRG-1 10hhrg53183.htm </ref>
<ref> https://www.nytimes.com/2008/03/06/health/Oéheparin.htmi</ref>

<ref>nttps://www.latimes.com/archives/la-xpm-2008-mar-20-na-fda20-story.html</ref>

<ref>https://en.wikipedia.org/wiki/2007_pet_food_recalls </ref>. Based on these facts, the current
non-binding mandate from the Dr. Levine and others in other STATES may be trying
to increase the number of cases, to HARM the UNITED STATES based on bribes
and TREASON by mostly DemoNcrats and some Republicans posing as good people
who are RHINO’s, when President Trump may have been the first DINO identified
since the MURDER of John Kennedy.

Every Public Health official that fails to recommend mass Pneumonia vaccinations

is complicit in the deaths in the United States. Although Thanksgiving was not a
religious holiday, many people say a prayer before the meal and therefore the
restrictions on Thanksgiving is a VIOLATION of the ESTABLISMENT
CLAUSE, also since it tries to limit prayer services in PA., INTERFERENCE IN
INTERSTATE COMMERCE, and the order also violates EQUAL

PROTECTION since commuters are exempt in Pennsylvania. Forced testing
without a court order violates the FIRST Amendment, just like you cannot be forced
to give a DNA sample. Mr. Cutler owns stock in Merck, which manufactures
PNEUMOVAX23, and the actions of Dr. Levine have depressed the value of the

company, and should be prosecuted just like Martha Stewart was charged and put in

prison, but also pushing sales at AMAZON. On 17JUL2020 TOM WOLF issued a

DECREE that LEBANON COUNTY cannot get about 12.8 million directed to the

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county via the CARES act and VIOLATED 18 U.S.C. § 653, misuse of federal
funds and Equal Treatment Under the law (Ammend 14), since LANCASTER
COUNTY did the exact same thing. <ref>
https://pittsburgh.cbslocal.com/2020/07/22/lebanon-county-sues-governor-tom-wolf/</ref> On
or about 14AUG2020 Tom WOLF reversed himself but dictated that Lebanon
County MUST use 2.8 million of the CARES act funding for MASK
ADVERTISING in direct support of Joe Biden’s campaign focus <ref>
https://papost.org/2020/08/14/reversing-course-wolf-releases-cares-act-funding-to-lebanon-

county/</ref>, which is five years since the USCA in Washington ruled Mr. Cutler

had the right to Defend the Establishment clause (case 14-5183) and 75 years since

VJ day of WWII. DR. FAUCCI, KRISTEN WELKER and Persons of the CDC
have LIED about an Approved Vaccine to Stop COMPLICATIONS from the FLU
& COVID-19 <ref>ntps://www.futuremedicine.com/doi/10.2217/fea-2020-0082</ref>. They are called
PNEUMOVAX23 and Prevnar13 which are the PRIME COMPLICATION TO
THE COVID-19 that result in DEATH from pneumococcal disease <ref>
https://www.diabetes.org/diabetes/medication-management/flu-and-pneumonia-shots</ref>. KRISTEN
WELKER’S HUSBAND IS A MARKETING EXECUTIVE FOR MERCK. On
22JUN2020 a PETITION FOR IMMEDIATE INJUNTION PENDING APPEAL
was finally put online in case 20-1449 even though it was actually filed on
20MAY2020 at 4:10 PM.. The case is called the UNITED STATES OF AMERICA

v. JOESEPH JOHNSON. The office of the president responded to this by

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21MAY2020. The president gave a short NEWS CONFERENCE on 22MAY2020
demanding all places of worship be allowed to open. Employees of the federal
government and others have been involved in a criminal conspiracy to OBSTRUCT
JUSTICE and damage the United States. In case #20-5143 DC USCA Nancy Dunn
obstructed documents mailed and sent to <ref> prosefilings@cadc.uscourts.gov </ref>
Mr. Cutler had sent a 330 page document on 17JUL2020 but that document
vanished, just like the white bunny HARVEY, who is invisible in the picture of Mke
Pence with his bunny Marlon Bundo on 16NOV2020 on the front page of the
Philadelphia Inquirer. The USPS tacking number 9510 8141 4908 0199 0615 60 is
not reporting results. The lawyers in sending Mr. Cutler the letters by MAIL makes
them all a party to the CONSPIRACY to INTERFERE IN INTERSTATE
COMMERCE. Mr. Cutler’s brother FRED had recently got a job as an USHER
for the PHILADELPHIA PHILLES for the 2020 season, but because of the

CONSPIRACY to close the states there will be no live viewing of games this

season. Mr. Cutler’s brother and approximately 69 MILLION other people

(approximate attendence of 2019 baseball season) have been denied the RIGHT of
PURSUIT OF HAPPINESS as is part of the DECLARATION OF
INDEPENDENCE. Thomas Wolf and Jim Kenney have allowed almost
unrestricted protest marches with POLICE escorts, but cancelled other parades and

events. Mr. Cutler had proposed an option to have games played in every city. As

stated by Judge James C. Dever III ruling 16MAY2020 there is NO PANDEMIC

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EXZEMPTION IN THE CONSTITUTION. The news media in concert with
individuals in the DEMOCRATIC party have and some that pretend to be
REPUBLICANS have conspired to impact the UNITED STATES. Mr. Cutler filed a
complaint with the OIG of PBS/NPR on 10SEP2020 for 18 USC § 653-MISUSE OF
FEDERAL FUNDS FOR NOT REPORTING THIS STORY OR CASE. THIS IS
A CRIMINAL MATTER. The NEWS MEDIA AND OAGs ARE AIDING
AND ABETTING in concealing the MURDER of a BLACK FEDERAL
EMPLOYEE just like Cecily Aguilar, 22 has been charged (and they are violating
18 U.S.C. § 3 Accessory after the Fact MURDER of Jonthan Luna). The Employee
is Jonathan Luna <ref> https://en.wikipedia.org/wiki/lonathan Luna </ref> and Beranton
Whisenant <ref> https://en.wikipedia.org/wiki/Beranton Whisenant </ref> Justin Zemser and
Sean Suitter. The recent murder of Roy Den Hollander in New York for challenging
the news media (case 1:16-cv-06624) is just another crime concealed from the
public. That case is included by reference and joined to this one. The crime-fraud
exception was first recognized in the United States over one hundred years ago, and
the policy behind it is well-defined. (The crime-fraud exception was first recognized
in the United States in Alexander v. U.S., 201 U.S. 117, 121 (1906).) The legal
community does not deem discussions concerning future wrongdoings, such as
fraud, that occur during an attorney-client communication worthy of protection. Id.
at 562-63. While the practice of law encourages full and frank communications

between the attorney and client, only communications concerning past wrongdoings

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are protected. Mr. Cutler had previously been elected to Public Office as the TAX
COLLECTOR of East Lampeter Township, Lancaster County Pennsylvania, based
on an Election in November 2013. and took the Oath of OFFICE prior to his first
day on the job, on 06JAN2014. Mr. Cutler filed his first lawsuit on 31DEC2013
regrding violations of Religious Freedom as case number 1:13-cv-02066. He was
granted the right to challenge OBAMACARE in Appeal as case 14-5183 on
14AUG2015 for violations of the ESTABLSHMENT CLAUSE. Mr. Cutler was
removed from Office after 27 months based on PERJURED TETIMONY, and a
CONSPIRACY TO COMMIT MAIL FRAUD and BANK ROBBERY. In
Manhiem township Patricia Kabel (elected the same year as Mr. Cutler) was
harrased in a similar manner was equally harrased in court and the township spent

about 160,000 of taxpayer money to make her leave office. <ref>
https://lancasteronline.com/news/local/commonwealth-court-denies-manheim-township-school-districts-appeal-in-

long-running-tax-collector-case/article_127508cc-c2e5-11ea-864a-8b754638d23f.html </ref>Based on these
actions Mr. Cutler investigated the parrties involved and tried to have a FEDERAL
JURY TRIAL to clear his name. Since he found no law firm would represent him
based on contacts with the FBI or law enforcemnt. The lancaster county treasurer
was apponted to replace Mr. Cutler in the collection of taxes and never had a surety

bond until 18JU L2018 <ref> https://lancasteronline.com/news/local/lancaster-county-treasurer-without-

insurance-for-millions-in-tax-dollars/article_efSb90bc-89d5-11¢8-8ace-77712e721cba.html </ref> No Prosection

of the treasurer was ever instituted, a clear violation of EQUAL TREATMENT

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On 20MAY2020. Mr. Cutler won a motion for reconsideration in the court based
on EQUAL TREATMENT under the law in this court (case # 1:17-cv-01740

06NOV2017), but the judge failed to award any compensation as requested and the

clerks removed one defendant from the case an tampered with the document.

Pennsylvania has previously had a number notorious crimes of public employees
<ref> https://en.wikipedia.org/wiki/Kids_for_cash_scandal </ref> (including judges Mark Ciavarella &
Michael Conahan) convicted of federal crimes that resulted in convictions. Mr.
Cutler filed for an IMMEDIATE INJUNCTION PENDING APPEAL FOR
ALL juridictions of the United States, based on the ruling in case # 4:20-cv-00081
in the United States District Court for the Eastern Ditrict of North Carolina on
16MAY2020 by Judge James C. Dever III. Since Governor Roy Cooper has made
public statements that he does not intend to appeal, this is settled law. Mr. Cutler
had filed a Petition to DENY the Motion For Summary JUDGEMENT and to
consolidte related cases of religious discrimination by the government in case USCA
20-1805 on 14MAY2020 and the document and was not put online until
20MAY2020. The document filed by Brian L. Calistri on May 8, 2020 contains
some perjured statements and since it was sent by mail constitues Mail Fraud and
Perjury (18 USC § 1001) and constitutes a CONSPIRACY to conceal the murder
of a Federal Employee found on 04DEC2003 (Jonathan Luna) , by persons in the
governments (both federal and state) and also the murder of five children on May

13, 1985 as a form of Eviction with the aid of persons in the FBI, by furnishing the

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bombs. Mr. Cutler had stated that he believed that the MURDER of JONATHAN
LUNA was carried out by the KLU KLUX KLAN, and concealed with help of the
FBI. The judge dismissed the case even though 5 parties defaulted and were
properly served. Based on ECF #5 in case # 2:17-cv-00984 by the late Thomas
O’Neill, Mr. Brian L.Calistri’s motion failed to notify the parties that have
defaulted in this case and therefore should have been DENIED. Mr. Cutler had
made a complaint by mail to the DA office in Lancaster County, Pennsylvania and

York, County Pennsylvania. Mr. Cutler had also filed a motion to intervene on

22SEP2019 in the case of Tami Levin in federal court case 2:19-cv-03149 (ECF 5)

which named DA Larry Krasner as a Defendant in the case. Mr. Cutler also filed a
response to the motion filed in oppoition on 25SEP2019. Even though the document
filed on 25SEP2019 contained evidence of OBSTRUCTION OF JUSTICE and
VIOLATIONS of EQUAL PROTECTION, Judge Eduardo C. Robreno issued an
order on 090CT2019 which not only denied Mr. Cutler’s right to intervene but also
violated the United States Constitution Ammend 1, by making a THREAT BY
MAIL if Mr. Cutler filed any additional motions in the case, limiting Mr. Cutler’s
right to PETITION THE GOVERNMENT FOR REDRESS OF
GRIEVIENCES. Tami Levin was replaced by Movita Johnson-Harrell who
pleaded guilty to the theft of approximtely half million dollars. Mr.Cutler had filed
objections to limit the power of the Tom Wolf to classify that religion as a NOT a

LIFE SUSTAINING activity in the Commonwealth of Pennsylvania. Mr. Cutler

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filed his first lawsuit on 31DEC2013 regrding violations of Religious Freedom as

case number 1:13-cv-02066. He was granted the right to challenge OBAMACARE
in Appeal as case 14-5183 on 14AUG2015 for violations of the ESTABLSHMENT
CLAUSE. To this end Mr. Cutler filed documents in case 4:18-cv-00167-0 to
transfer it to Pennsylvania, but it was DENIED 21JAN2020. Mr. Cutler filed an
Appeal for the order on 04FEB2020 in the United States Court of Appeals Fifth
Circuit. When that was illegally ignored. Mr. Cutler filed documents in
Pennsylvania. Mr. Cuttler had requested that district court case number 4:20-cv-
0064 in the United States District Court for the Northern District of Mississippi
[TEMPLE BAPTIST CHURCH et al. v. CITY OF GREENVLLE et al.], and
case number 1:20-cv-00323 in the United States District Court for the Western
District of Michigan [KIMBERLEY BEEMER et al. v. GRETCHEN WHTMER
et al.] and case number 1:20-cv-01130 (Mr. Cutler had a typing error and
previously wrote 1:20-cv-01120) in the United States District Court for the District
of MARYLAND, BALTIMORE DIVISION [ANTIETAM BATTLEFIELD KOA
et al. v. LAWRENCE J. HOGAN et al.] are also cases that should be part of this
consolidation. All charges in each case should be included by reference for all civil
cases as if they are filed with this filing, for JUDICIAL EFFICIENCY. Judge
Catherine C. Blake of Maryland had one of the documents returned, obstructed
justice, and violated 18 U.S.C. § 3 Accessory after the Fact MURDER of Jonthan

Luna, on 03JUN2020 (birthday of Jefferson Davis after it was stamped in on

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01JUN2020) after the office of AG in Maryland had responded to Mr. Cutler. Mr.
Cutler has previously called Mr. Wolf a member of the KLU KLUX KLAN in
documents related to this case in federal court. <ref> https://forward.com/fast-
forward/444442/nj-man-accused-of-ordering-attacks-on-synagogues-released-from-jail/ </ref>Despite Mr.
Cutler filing a request with the state prior to the end of the WAIVER deadline that
ALL BUSINESSES in Pennsylvania be considered LIFE SUSTAINING , Mr.
Cutler has never heard back about his request until 12MAY2020. Mr. Wolf also
NOW has a NEW group to TRACK everyone in PENNSYLVANIA that has the
COVID-19 virus or other secrect police duties. Based on the case of the aids law
project tracking people that have one type of virus is unconstitutional, and exposing
their idenity is equally unconstitutional. The concept of EQUAL PROTECTION
UNDER the LAW is a cornerstone of both the United States Constitution and the
Commonwealth of Pennsylvnia. Based on the story about Mike Du Toit of South
Africa <ref> hitps://www.dailymail.co.uk/news/article-2478889/White-supremacist-Mike-du-Toit-plotted-kill-
Nelson-Mandela-jailed.html </ref> the BOEREMAG was just another name for KLU
KLUX KLAN. Also Tom Wolf made statements that said that people cannot be
evicted until July yet in there are 6 pges of Legal Notices in the Inquirer on
O7MAY2020 that use WRIT OF EXECUTION to sieze property. Recently in
New York white police officers were beating a BLACK MAN for failing to practice
social distncing (neither police officer was wearing a mask), and they should be

prosecuted for violating the same law that they were alledgely enforcing. It is

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notable that Wikipedia has SCRUBBED Mike Du Toit from their records

(effectively trying to rewrite history). Taiwan is about 100 miles from CHINA, yet
has less than ten deaths and 500 confirmed cases. In the Appeals for the Fifth
Circuit the Order from the United States Northern District of Texas dated January
16, 2020 denying Plaintiff's MOTION FOR RECONSIDERATION OF MOTION
TO CHANGE VENUE FOR CASE 4:18-cv-00167-0 FROM STATE OF TEXAS
TO PENNSYLVANIA AND COMBINE CASE WITH 5:19-cv-00834 , and the
motion denying Plaintiff's motion of December 30, 2019. The current order from
that court is in error since the USCA order of December 18, 2019, remanded the
case back to District Court and for further disposition and was unopposed and is still
unopposed. Mr. Cutler had previously filed a document by MAIL on March 1, 2019
but it was illegally discarded. He then filed on 07MAR2019 in person (Document
00514863727) , and it was put online March 7, 2019. The office of the clerk
decided it would be ignored. Mr. Cutler filed a NOTICE OF APPEAL on
27JAN2020, (Document 00515289904 International Holocaust Remembrance Day),
and it was only put online when Mr. Cutler informed the Deputy Clerk Mary
Francis Yeager that she was violating Mr. Cutler’s civil rights. It was put online
January 29, 2020. A violation of EQUAL PROTECTION by employee of the
federal government, which treated the two documents differently and potentially hid
the document from the review of the judges considering an ENBANC review. Mr.

Cutler subsequently filed a PETITION FOR ENBANC HEARING AND TO

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TRANSFER RESIDUAL CASE TO PENNSYLVANIA AND COMBINE WITH

CASE 5:19-cv-00834, this document was put online as document number

00515298284 on 04FEB2020, the same date it was filed in court. In the case both

Deputy Clerk Mary Francis Yeager and Deputy Clerk Roeshawn Johnson
denied the petition. This violated the United States Constitution Ammend 1 and 5.
It also also violates Mr. Cutler’s rights under the Sixth Amendment of the
Constitution. Mr. Cutler then on 04MAR2020 filed a 380 page document in this
case (2:19-cr-00367). Within 24 hours of the filing Mr. Cutler got a threat by phone
from an unidentified individual about the filing. On 06MAR2020 Mr. Cutler filed a
nine page correction to the document previously filed. When the document was
downloaded from the federal pacer system it was devoid of any markings. On
12MAR2020 Mr. Cutler filed a MOTION TO VACATE ORDER DENYING
ORDER OF RECONSIDERATION — ON 04MAR2020 FOR IMPROPER
SERVICE — BRADY VIOLATION AND COMBINE WITH CASE NUMBER
2:20-cv-00735 (GRANT v. PHILADELPHIA) AND 4:18-cv-00167-0 FROM THE
NORTHERN DISTRICT OF TEXAS AND DEFAULT JUDGEMENT. At that
time Mr. Cutler used the terminal in the Federal Courthouse to view some dockets.
In case 2:19-cr-00367 Mr. Cutler noticed the copy of the document (ECF 99) NOW
was properly marked. Based on this Mr. Cutler printed a second copy of the
document. Based on Elouise Pepion Corbel et al. v. Gale v. Norton, et al. (03-5262,

03-5314). Mr. Cutler requested the district court cases be consolidated in

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Pennsylvania and deliberations allowed on an expedited basis since they both
involve related issues and the Supreme Court previously has indicated they will not

consider the case this term, even though oral arguments were already made. This

court had allowed the House of Representatives to be an Intervenor. The petitioner,

Jeffrey Cutler, acting pro se, respectfully previously identified that the speaker of the
house of representaives, in her official capacity, as the speaker of the House of
Representatives (and former resident of Baltimore, Maryland).

This is the same city that Johnathan Luna on 03DEC2003 (a black federal
employee) left his office at approximately 11 PM and was found dead the next
morning (04DEC2003)in Lancaster County, Pennsylvania with 36 stab wounds,
neck back and genitals, but the cause of death was drowning as per the Medical
Examiners. The FBI tried to force two Medical Examiners to say the MURDER
was a Suicide. Sean Suiter a Baltimore Police officer died from a MURDER that
was later classified a suicide during a special arrest, 1 day before he was to testify.
Other individuals have died unexpectedly, possibly of murder including Beranton
Whisenant Jr. (also a federal prosecuter), and Kobe Bryant. Mr. Cutler’s cousin
Robert Needle, (who died unexpectenly in May 2017) may have previously contacted
Mr. Beranton Whisenant, who died on or about 25MAY2017. The medical records
of Jonathan Luna have finally resurfaced and are currently trying to be
sealed/hidden by the current DA in Lancaster County. Mr. Cutler had stated in

public documents that he believes Mr. Luna was murdered by the KLU KLUX

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KLAN. Mr. Cutler also now believes that THOMAS C. WALES was also

MURDERED by the KLU KLUX KLAN 110CT2001.<ref>
httos://www.fox43.com/article/news/jonathan-luna-murder-mystery-2003/521-22296272-9355-4308-8163-

506440862577 </ref><ref>

 

https://lancasteronline.com/news/local/Inp-county-clash-over-newly-discovered-records-in-jonathan-
luna/article_01ba656a-483b-1 lea-86ed-43533b224839,htmi </ref><ref>

httos://lancasteronline.com/news/local/lancaster-county-judgae-gives-prosecutor-days-to-say-why-
jonathan/article 66aa5086-49ec-1 lea-8d57-37ffalb9ed27.him! </ref><ref>

hitos://www.waal.com/article/newly-discovered-documents-are-related-to-investigation-into-death-of-
federal-ptosecutorjonathan-luna/30783745 </ref><ref>

httos://www.pennlive.com/news/2020/02/re-discovery-of-records-on-mysterious-death-of-federal-prosecutor-
prompts-fight-between-da-news-media.him! </ref><ref>

 

httos://www.youtube.com/watch@v=cLAIdUHDwi8 </ref> <ref>
hitos://www.nbcnews.com/news/us-news/disgraced-bailtimore-police-officer-says-detective-who-was-killed-
testifying-n844831

</ref> <ref> httos://www.cnn.com/2018/08/29/us/baltimore-police-detective-sean-suiter-
suicide/index.html </ref>

Nancy Pelosi made a false statement in court via her lawyer (Mr Donald B. Verilli
Jr.) stated “[N]o one would be hurt and the greater justice would be attained” and
violated (18 USC § 1001) on 03JAN2019 on page 24 of the filing that was made in
case 4:18-cv-00167-0, a significant federal crime. It is interesting that the law firm of
DLA Piper (Kamala Harris’ husband works for this firm and was part of the case
against Mr. Cutler and also filed a motion on this same date against him because he
dared to continue to challenge the ACA . During a speech at the National
Association of Counties’ annual Legislative Conference on 9 March 2010, in

Washington D.C. <ref> hitos://www.youtube.com/watch?v=QV7dDSgbaQo </ref>

she stated “We have to pass the bill to find out what is in it”. The petitioner “found

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out what was in it” and filed a Pro se lawsuit 31DEC2013 in Wasington, DC case
1:13-cv-2066. He also via lawyers hired had previously filed a Writ of Certiorari
for the Supreme Court of the United States (15-632) and inserted that same writ in
United States Court of Appeals case 17-2709, page 314A, via district court case
number 2:17-cv-00984 page 10. Since the individual mandate of the Affordable
Care Act is now null and void based on the rulling of the USCA and the other
provisons of the bill should also be eliminated to preserve the constitution. Mr.
Cutler paid the docketing fee for the appeal in case 14-1449 to preserve the right of
appeal of Mr. Johnson. His lawyer previously made a false statement to the court
in his request to withdraw, based on the documents filed by Mr. Johnson (ECF
100-103) a significant crime (18 USC § 1001). The current orders of Tom Wolf in
Pennsylvania violate GMP procedures and allows the commonwealth to track
every individual on the Pennsylvania Turnpike. (See history of IBP recalls of beef
procedures that using a delivery ADDS RISK TO EXPOSING EVERYONE.) Mr.
Cutler had worked for multiple pharmaceutical and food compnaies including,
HEINZ, CAMPBELLS, MERCK, GSK, BAXTER and others. Mr. Cutler was
previously in charge of coordinating the Y2K and putting together the contingency
plan for MERCK Inc., West Point site. It is Mr. Cutler’s belief COVID-19 is
actually an excuse for MASS GENOCIDE against individuals that are deemed

undesirable including Jewish and black Individuals and to discontinue pensions via

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MURDER (see <ref> https://en.wikipedia.org/wiki/Joyce_ Gilchrist </ref>. It is very easy to
Bribe, coerce or pay individuals to bear false witness against another individual and
violate THALL SHALL NOT BEAR FALSE WITNESS and 18 USC § 1001. The
orders Thomas Wolf and other leaders have issued effectively allows the
governments in the United States to discontinue religion in and in the State

of Pennsylvania, by a member of the KLU KLUX KLAN or related organization.

Other members of the KLU KLUX KLAN in the United States and the World, are

all organized to take on the HOAX. This was previously called Agenda 21. As of

16MAR2020 Canada was still allowing flights from CHINA and those persons
could be carrying hazardous bio material simply enter the United States from
Canada. When Mr. Cutler was working for Merck as a contractor some individuals
were caught stealing trade secrects by security at the West Point site. It has

been known China has been effectively using live people for transplants for years.
Mr. Ellyahoo has stated the word in HUNGARY for SIN is pronounced VIRUS.
The closing of all CASINOS in the STATE is to get 100% of all gambling

revenue, to have a total monopoly on all sources of payment organized for a
complete Klu Klux Klan takeover. Jeffrey Smiles has told Jeffrey Cutler that the
Allentown Federal Courthouse contains NAZI insigna in the tile work in the building
(pending supreme court case # 19-8538 ), and there is a seven acre compound in
Southern Lancaster county that is owned by the Klu Klux Klan. Mr. Smiles has

corrected Mr. Cutler’s statement that the insigna is actually in the Post Office tile

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across from the courthouse. This all may have a connection of Joe Biden to China and

the transfer of technology to them that has violated the world’s civil rights, except

Taiwan with less than 10 deaths as of today. Joe Biden an Bill Cosby are named in
the same federal lawsuit supposedly about stolen art (USCA 17-1770). Also Based.
on case # 19-cv-2407 in the Southern District of California, by Cyrus A. Parsa which

should be included by reference these claims are true and correct and the book

Bloody Harvest <ref> https://www.bookdepository.com/Bloody-Harvest-David-Matas/9780980887976
</ref>

Based on Mr. Cutler’s experience, Engineering Experience, and the case of Joyce
Gilchrist <ref> httos://en.wikipedia.org/wiki/Joyce Gilchrist </ref> persons in Federal
government may have violated the Logan Act Stat. 613, 18 U.S.C. § 953 with
China. Since Mr. Wolf’s order is illegal, all the Insurance companies have
conspired to not pay BUSINESS INTERUPTION CLAIMS based on the order of
Tom Wolf, just like 2 different insurance companies failed to compensate Mr.
Cutler for his loss (Erie and State Farm Insurance) and conspired to Commit Mail
Fraud even though Josh Shapiro was served as part of the lawsuit naming the PA
insurance department. Mr. Wolf’s order also violates the Federal Voting law Voting
Rights Act of 1965, which prohibits any jurisdiction from implementing a "voting
qualification or prerequisite to voting, or standard, practice, or procedure ... ina
manner which results in a denial or abridgement of the right ... to vote on account

of race," color, or language minority status. Based on the recent unsealed pleadings

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of Judge Domenick Demuro (press release 20-472) , voter fraud has been in
Pennslvania a long time. The use of ABSENTEE ballots that are collected by
individuals denies the minor protection of MAIL FRAUD, usually asociated with
this type of voting. Mr. Cutler has attached a handicap placard P15703J renewal that
also may be voter fraud in Philadelphia and Mail Fraud. Since that person never
lived at that adress. Mr. Cutler had formally notified the court of voter fraud in
Pennsylvania as of 13DEC2016 in case # 2:16-cv-06287. The DOJ announced the

guilty plea of a judge of elections in Philadelphia 21MAY2020, the day after Mr

Cutler filed an Injunction Pending Appeal in case 20-1449, that prohibits ANY

JURISDICTION in the UNITED STATES from specifyin HOW TO PRAY. Mr.
Cutler also notifies this court that the failure of the Dams in the state of

Michigan may be the result of a deliberate act to prevent and obscure the lawsuit of
governor Gretchen Witmer’s unlawful act from being persued in federal court case
1:20-cv-00323. DR. FAUCCI, KRISTEN WELKER and Persons of the CDC have
LIED about an Approved Vaccine to Stop COMPLICATIONS from the FLU &
COVID-19 <ref>nttps:/www.futuremedicine.com/doi/10.2217/fea-2020-0082</ref>. They are called
PNEUMOVAX23 and Prevnar13 which are the PRIME COMPLICATION TO THE
COVID-19 that result in DEATH from pneumococcal disease <ref>
https://www.diabetes.org/diabetes/medication-management/flu-and-pneumonia-shots </ref>. KRISTEN

WELKER’S HUSBAND IS A MARKETING EXECUTIVE FOR MERCK. Based

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on Tigers in the Bronx zoo and Goririllas in San Diego zoo being diagnosed with
COVID-19, as well as one million mink in the Netherlands there is ZERO

evidence that the tigers, Goririllas ever failed to practice social distancing, because
the person would be called LUNCH. HIV has NO VACCINE. This
INVALIDATES ALL THE MODELS being used to justify the restrictions. Mr.
Cutler based on standard engineering concepts the death of Philadelphi Police
Lieutenant James Walker, Seth Rich, Bre Payton, Edgar Rosenberg, Lorna Breen,
Ellen Greenberg, and others may be MURDERS of the KLU KLUX KLAN, and 1-
2% of all law enforcement in the United States may be members or share their views.
Also some elected Officials and persons in the military all branches. An 8 year old
was raped in Bryant elementary school and his parents were denied the ability to sue
because they waited six months. Based on this the charges against William Henry
Cosby should be vacated. George Soros and other persons similarly situated may be
trying to destroy the United States economy and the Dollar by bad sharing of
information, just like on 23MAY1979 American Airlines Flight 191 DC-10,

crashed based on not sharing data. Mr. Cutler was trying to fly to Philadelphia that
day from Chicago. My friend Daria from Russia, stated that collapse of the dollar
was a Stated goal of persons. Even in case, 1:20-cv-01130 that the document legally
filed is RETURNED for failing to file a motion to intervene PRIOR to filing the
actual document, violating equal protection under the law and the United States

Constitution Ammend 5 and Ammend 1 by denying the ability for redress of

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grievances. Also based on conflicting death reports, declaring a MURDER a

SUICIDE is one way to conceal MURDERS by POLICE or ELECETED officials
with the aid of News Outlets. Previous corruption in the United States based out of
Illinois called project GREYLORD was a 3.5 year activity. Mr. Cutler lived in
Illinois during some of this time frame and the joke voting saying was VOTE
EARLY AND OFTEN and JUST BECAUSE YOU ARE DEAD IS NO REASON

NOT TO VOTE <ref> https://en.wikipedia.org/wiki/Operation_Greylord </ref>

<ref> https://www.chicagotribune.com/nation-world/chi-chicagodays-greylord-story-story.html </; ref> <ref>
httos://www.latimes.com/archives/la-xom-1987-12-10-mn-28034-story.html </ref> <ref>

https://fbistudies.com/wp-content/uploads/2017/04/FBI-Grapevine-Operation-Greylord-Hake.pdf </; ref>

It was RECENTLY announced that Rabbi Yisroel Goldstein was charged,

SENTENCED , while the individual that MURDRED Lori Gilbert-Kaye is still

awaiting trial (John Timothy Earnest) and Jeffrey Lyons is out on bail awaiting to

start his SENTENCE for a 55 MILLION DOLLR FRAUD <ref>

hitos://www.nbcsandiego.com/news/local/rabbi-shot-in-poway-synanogue-attack-pleads-guilty-
to-tax-fraud-docs/2365089/ </ref> <ref>
https://en.wikipedia.org/wiki/Poway_synagoque shooting </ref>

CHINA BREAKING THE AGREEMENT WITH HONG KONG IN 23 YEARS
MEANS THEY WILL BREAK ANY AGREEMENT INCLUDING THE USE OF
BIO-WARFARE. The attacks on the USS McCain, Fitzgerald, Bonhomme
Richard and effects in TAIWAN are evidence of cooridinated attacks on the
United States which are being hidden from the general population like the civil

case against Nancy Pelosi. China has been bribing CIA employees and others for

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years. There is no reason what Joe Biden did should be ignored. <ref>
https://thehill.com/policy/national-security/5 12385-former-cia-officer-charged-with-selling-us-secrets-to-china

</ref> <ref> httos://www.bbc.com/news/world-us-canada-48319058 </ref>
<ref> httos://www.bbe.com/news/world-us-canada-50520636 </ref> <ref>
hitos://www.nytines.com/2019/09/24/us/china-intelligence-sentence.himl </ref>

The Story <ref> https://www.mercurynews.com/2017/06/14/james-hodgkinson-shooting-
facebook-republicans/ </ref>

James Hodgkinson may have had KKK support, because he was using SKS rifle
with FIXED 10 ROUND MAGAZINE and FBI COVERED FOR OTHER
SHOOTERS BEHIND HIM!!! The rifle James Hodgkinson was using required
loading with STRIPPER CLIPS!! It uses the SAME 7.62 round as the AK-47
VARIANT. HE fired 200 rounds in 2 minutes while WALKING AND
SHOOTING and it was COVERED UP!! NBC BROADCAST ON THE
BOTTOM SCROOL CAPTION AT THE TIME and stated by Senator RAND
PAUL!!! The NEWS MEDIA IS AIDING AND ABETTING in concealing the
MURDER of a BLACK FEDERAL EMPLOYEE just like Cecily Aguilar, 22 has
been charged. The Employee is Jonathan Luna <ref>
httos://en.wikipedia.org/wiki/Jonathan_Luna </ref> and Beranton Whisenant <ref>
https://en.wikipedia.org/wiki/Beranton_Whisenant </ref>, Sean Suiter from the BPD .

<ref> https://blackthen.com/black-mysteries-unsolved-death-jonathan-luna/ <ref>

For Years there has appers to have been a KLU KLUX KLAN serial rapist in

East Lampeter Township, Pennsylvania. This included Lisa Michelle Lambert and

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possibly currently Linda Stoltzfoos and previous possible MURDER of JERRY

MURPHY of WI1105 and covered up by the MEDICAL EXAMINER <ref>
httos://lancasteronline.com/news/local/da-maintains-autopsy-i

remain-sealed/article _ca83b358-c éde-] lea-a3eb-67597e2be2cf.himl

</ref> <ref> httos://redistricting.lls.edu/files/PA%20corman%2020180724%20brief.odt </ref>
East

Lampeter previous LAWSUITS, theft of PROPERTY <ref>

https://law.justia.com/cases/federal/district-courts/FSupp2/17/394/2488681/ </ref> $ 540,000
theft

of LIFE savings and sent to PRISON 2008 case Levi Lapp Stoltfoos (MAYBE

RELIGIOUS FREEDOM) <ref> https://dockets.justia.com/docket/circuit-courts/ca3/17-
1772

</ref> On 18SEP2020 Justice Ruth Bader Ginsburg died on Rosh Hashanah, the

Jewish New Year. Also on September 18, 2020 at 2:48 pm Jeffrey Cutler filed a 324

page MOTION TO RECONSIDER MOTION TO INTERVENE AND COMBINE
CASES FOR JUDICIAL EFFICIENCY AND OBSTRUCTION OF JUSTICE AND
CONSPIRACY TO COMMIT MAIL FRAUD AND OTHER CRIMES AND
SUMMARY JUDGEMENT in case #1:20-cr-00165, United States v. Kevin
Clinesmith in Washington DC. The previous document was destroyed by the clerk or
Judge in the case. Watch https://www. youtube.com/watch?v=mgCle8F_zUk for more

information and read comments sorted newest first. Also see <ref>

hitos://www.americanfreedomlawcenter.org/case/jeffrey-cutler-v-u-s-dept-of-health-
human-services/ </ref> and <ref> https://www.brennancenter.org/legal-work/corman-v-torres

</ref><ref> htips://redistricting.lls.edu/files/PA%20corman%2020180724%20brief.pdf </ref><ref>

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httos://www.pacermonitor.com/public/case/27231978/CUTLER_v_PELOSI et_al </ref> As an Official

Whistle Blower in the Commonwealth of Pennsylvania, Jeffrey Cutler declares the

actions Mr. Krasner, the Mayor of Philadelphia, and the Governor were a concerted
effort to legally Murder Jews and Blacks. Mr. Cutler ran for governor as a Pro Se
candidate against Thomas Wolf and had an advertisement in the METRO paper on
240CT2018 page 15 :titled “SAVE BILL COSBY”. The government cannot tell you
how to PRAY enforced by RELIGIOUS POLICE!!! The DEMONCRATS are using
FEAR and JUNK science to try and bring back CONCENTRATION CAMPS just
like EXECUTIVE ORDER 9066 by FDR. The ORDER was never declared
UNCONSTITUTIONAL, just SUSPENDED, revoked by Ford when he was
president. On 04SEP2020 at 10:14 PM a [[FEC]] <ref>

https://en.wikipedia.org/wiki/Federal Election Commission#First Amendment issues </ref>
complaint

was filed against [[Youtube]] for illegal edits of comments as an "IN KIND"
contribution to [[Joe Biden]], [[Nancy Pelosi]], and MISUSE OF FEDERAL FUNDS |
(18 U.S.C. § 653) involving [[NPR]] and [[PBS]] networks and also AIDING AND
ABETTING in concealing the MURDER of [[Jonathan Luna]] <ref>
hitps://en.wikipedia.org/wiki/Jonathan Luna </ref> and [[Beranton Whisenant]] <ref>

httos://en.wikipedia.org/wiki/Beranton_Whisenant </ref>. This is documented in federal
court

case 5:19-cv-00834 filed 26FEB2019 in [[Philadelphia]] against [[Nancy Pelosi]]

called (CUTLER v. PELOSI, et al.) and later against [[Kevin Clinesmith]]. On

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20MAY2020 at 4:10 PM Jeffrey Cutler filed an INJUNCTION PENDING appeal in
USCA case 20-1449 to REQUIRE EVERY JURISDICTION in the UNITED
STATES unrestricted PRAYER! On 12JAN2021 Jeffrey Cutler filed a MAIL
FRAUD complaint against AMAZON and Jeffrey Bezos and on 11JAN2021 filed a
MAIL FRAUD complaint against TWITTER and Jack Dorsey. The MAIL FRAUD
complaints are based on being an INVESTOR in both companies and the ANNUAL
REPORTS OF BOTH COMPANIES that are MAILED to Mr. Cutler and other

investors and statements in those reports.

On 11JAN2021 Jeffrey Cutler FILED A MAIL FRAUD COMPLAINT AGAINST

TWITTER for statements in their ANNUAL REPORT that is MAILED. TWITTER
CLAIMS THAT THEY DO GOOD AND DECIDED THAT DONALD TRUMP'S
ACCOUNT IS BANNED FOR LIFE EVEN THOUGH THERE IS TIME
STAMPED PROOF OF ELECTORAL FRAUD IN PENNSYLVANIA,
ORIGINALLY FILED IN FEDERAL COURT 200CT2020 PAGE 169 OF CASE

20-2936 PAGE 9 OF THE LINK BELOW !!<ref>

https://www.courtlistener.com/recap/gov.uscourts.pamd. 127057/gov.uscourts.pamd. 127057.181.0.pdf </ref>

THE DROP BOXES IN PENNSYLVANIA FAILED TO HAVE HARD COPY
RECEIPT AVAILABLE DESPITE ORDER FROM TORRES ON 12APR2018 TO
THE CONTRARY. It is almost comical that AMAZON helped RIG VOTING with
expanded MAIL IN BALLOTS, in the election, AMAZON is REQUESTING IN

PERSON voting in a UNION selection vote in COURT DOCUMENTS. ASHLI

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BABBITT WAS ACTING AS A CITIZEN JOURNALIST AND SHE HEARD
THE CONSPIRACY WITH KKK/ANTIFA around her with the POLICE, and
THAT IS WHY SHE WAS MURDERED!! EVEN IN CHINA THEY

JUST PUT CITIZEN JOURNALISTS IN PRISON, NOT MURDER THEM, PER

STORY PAGE A3 PHILADELPHIA INQUIRER 29DEC2020 BY LILY KUO.

PER USCA CASE 17-1770 JOE BIDEN WAS PART OF A GROUP HELPING TO

SMUGGLE STOLEN NAZI ART INTO THE UNITED STATES AND BILL
COSBY FOUND OUT. AMAZON FOUNDER JEFFREY BEZOS ENDED
PARLER and WILLFULLY DESTROYED PARLER AND THEIR LAWSUIT
2:21-cv-00031 in the Western District of Washington should be fully compensated.
Nancy Pelosi led a vote to IMPEACH DONALD J. TRUMP a second time on
13JAN2021 allowing for no FACTS or EVIDENCE to be provided, and she
conspired with others to insite violence on multple occaisions. Mr. Cutler filed

a 231 page document that is time stamped 2021 JAN 13 P 4:10 in case 20-1422 (the
first 69 pages are attached in the addendum) in the USCA third circuit in
Philadelphia and on page 62 of that document is a letter

from Nancy Pelosi to Ted Wheeler (the mayor of Portland, Oregon) conspiring

to INSITE VIOLENCE AND BLAME TRUMP, with the aid of the media to aid
China engage in biological war fare against the world and weaken the United States.
Despite the RUSH to IMPEACH TRUMP A SECOND TIME , THE ARTICLES

of IMPEACMENT have been sent to the SENATE as of this date. Chuck

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Schummer had said on the floor of the Senate it was really for inciting an
ERECTION. Based on the email with an attachment of a letter from Nancy Pelosi
on 10JAN2021 at 5:33 PM, Jeffrey Cutler got an email with a letter to Portland
Mayor by Nancy Pelosi to Ted Wheeler dated August 27, 2020. Jeffrey Cutler

filed it on page 62 of the document he filed in USCA case 20-1422 on 13JAN2021
AT 4:10 PM and it also VANISHED, copies were sent to over 200 news outlets. The
Police have also tried to intimidate Mr. Cutler by trying to pick him up for traffic
violations all based on the fruit of the poisonus tree. This case should be moved to
FEDERAL COURT and Combined with this case for Judicial Efficiency. Persons

from stores such as Wegmans, the police in Marple Townsip, and [[FBI]] in

Newtown Square, PA may all be acting in a CONSPIRACY to track Mr. Cutler and

incarcerate him for identifying the previous conspiracy to hide the MURDER of
Jonathan Luna 04DEC1993 and TRY TO TERMINATE THE LIFE OF MR.
CUTLER WITH TRAFFIC CITATION C6598201-1. Vehicle registration was
reported as postponed.

<ref> https://www.pennlive.com/news/2020/05/penndot-extends-deadlines-for-
vehicle-registrations-inspections. html </ref>

and vehicle renewal registration was NOT received by mail.
Thus Pursuant to Title 18, United States, Code § 4, Plaintiff, Mr. Jeffrey
Cutler, formally notifies the court of ongoing criminal acts and conspiracy

involved with this civil rights action and requests the court to notify the DOJ

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Office immediately, and any other criminal justice authorities the court deems
necessary, to effect and insure the prompt investigation and prosecution of crimes
involved with this case which includes mail Fraud (18 U.S. Code § 1341), the
murder of a federal employee (18 U.S. Code § 1114), seditious conspiracy

(18 U.S. Code § 2184), activiies affecting the armed forces (18 U.S. Code §

2187), Obstruction of Justice, Bank Ruptcy Fraud in case number 19-11466
Philadelphia Accademic Health System and Title 18, Section 871. The

civil rights action is case # 5:19-cv-00834, case # 1:20-cv-01130 District Court
Maryland, and 1:17-cv-05228 in the Eastern District of New York (The State of New
York. et al. v. DONALD J. TRUMP, et al.). The courts have affirmed, it must
“afford a liberal reading to a complaint filed by a pro se plaintiff,” particularly

when the plaintiff has no formal legal training or education. Klayman v.
Zuckerberg, 753 F.3d 1354, 1357 (D.C.Cir. 2014); see also Erickson v. Pardus,

551 U.S. 89, 94 (2007) (“A document filed pro se is to be liberally construed, and a
pro se complaint, however inartfully pleaded, must be held to less stringent
standards than formal pleadings drafted by lawyers.”) (internal quotations and
citations omitted). The current election for president may be just like 2 Star Trek

Episodes combined. <ref> htips://en.wikipedia.org/wiki/Bread_and Circuses (Star Trek: The Original Series)

</ref> and <ref> hitps://en.wikipedia.org/wiki/What_Are Little Girls Made_Of%3F_ </ref> and like

the movie <ref> https://en.wikivedia.org/wiki/Moon over Parador </ref> or the original

unpublished short story entitled "Caviar for His Excellency" by Charles G. Booth

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there may be an actor portraying Joe Biden right now. As per Bell Atlantic Corp. v.
Twombly, 550 U.S. 544, 589 (2007) the court must accept the foregoing information
as true.

WHEREFORE, for all the foregoing reasons, petitioner respectfully requests

the Petion For INJUNCTIVE RELIEF be granted as well as Summary Judgement
and all votes via DROP BOXES BE STRICKEN in Pennsylvania and the count be
recalculated, and based on Marks v. Stinson Donald J. Trump be declared the winner
<ref> https:/www.leagle.com/decision/199489219f348731759 </ref> of the Presidential vote in
Pennslvania, and by reference North Carolina, Wisconsin, Nevada and Arizona.
Mr. Cutler has never met Donald J. Trump, and was not paid or compensated in any
way for this action. Mr. Cutler did give Mike Pemce a TSHIRT prior to him getting

elected Vice President at the hotel previously known as the Host Farm, but has since

been renamed. Mr. Cutler gave a similar TSHIRT to both Senators from Pennsylvania

Judge Stickman wrote in the case “but even in an emergency, the authority

of government is not unfettered” in the case of County of Butler v Wolf. This court
should also declare the entire Affordable Care Act (Obamacare) law and the
executive order signed in 1942 as Executive Order 9066 by FDR
UNCONSTITUTIONAL, during an immediate ENBANC review of this case when
combined with the writ from case 15-632, and the writ filed by the WHITE HOUSE
as 19-840, 19-1019 also have the government CANNOT SPECIFY HOW TO

PRAY enforced by Religious POLICE, either LOCAL, STATE, or FEDERAL.

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The MURDER of a BLACK man and 15 year old boy should NOT be Considered
MOOT as per order from the Judge ECF 203 and the clerk. This USCA case
number 1:17-cv-05228, 20-3371, 20-1805, 20-1449, 20-1422, 19-1622, 18-3693,
case number 20-5143 in the USCA DC CIRCUIT SHOULD, 2:21-cv-00031
Northern District of Washington, plus this case 21-4001 ALL BE

COMBINED FOR JUDICIAL EFFICIENCY and “GOOD TROUBLE” as per John
Lewis and stop 5171 years of persecution of Jewish Individuals. Not GETTING
EXPOSED IN A LIE IS NOT THE SAME AS TELLING THE TRUTH!!!

ASHLI BABBITT WAS THE START OF KRISTALNAHT UNITED STATES
<ref> https://en.wikipedia.org/wiki/Night_of the Long Knives </ref>”

YOU CAN DESTROY THE EVIDENCE, BUT YOU CANNOT DESTROY THE
TRUTH. At least Four different federal courts have conspired to deny Mr. Cutler the
right to Petition the government for redress of grievances as part of the FIRST
AMENDMENT, in conjunction with the media, elected and non-elected officials
Based on payments inside and outside the United States. IMPEACHING ANYONE
should demand the FULL ATTENTION OF THE COURTS AND THE
CONSTITUTION, and there should be NO SHORTCUTS ALLOWED, if the
chief judge of the Supreme Court or a Judge of the Supreme court does not preside

in his place then the entire activity is fraud on the court.

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Respectfully submitted,

DATE: 27 JAN2021 /s/ Jeffrey Cutler

Jeffrey Cutler, pro se
215-872-5715 (phone)

eltaxcollector@gmail.com

P.O. Box 2806
York, PA 17405

CERTIFICATE OF SERVICE

I hereby certify that on JANUARY 27, 2021, I filed
the foregoing with the Clerk of the Court for the
United States District Court for the Western District
of Washinton via United States Mail or in person.
Participants in the case who are registered CM/ECF
users will be served by the appellate CM/ECF
system. I further certify that all of the other

participants or their lawyers in this case are
registered CM/ECF users except as follows and they
are served by mail or email .

/s/ Jeffrey Cutler
Jeffrey Cutler

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PLAINTIF’S PROPOSED ORDER FOR SUMMARY JUDGEMENT

AND NOW, this day of , 2020 upon consideration Plaintifs Motion for Default

 

Judgment and for good cause shown, it is hereby ORDERED the Motion is GRANTED. SO ORDERED.

[1] .Per Marks v. Stinson, <ref> https:/Avww.leagie.com/decision/199489219f3d8731759 </ref>, Donald J. Trump be
sworn in as President, with Mike Pence by removing Joe Biden, and Kamala Harris, if for no other reason he can be
removed from office with OFFICIAL TRIAL as demanded by NANCY PELOSI, SPEAKER OF THE HOUSE and all
EXECUTIVE ORDERS SIGNED BY Joe Biden be declared NULL and VOID.
Order the SUMMARY JUDGEMENT against aii defendants be granted and made FINAL at one million dollars per
day or as a neotiated amount.
ORDER ALL BALLOTS THAT WERE CAST ILLEGALLY IN VIOLATION OF THE ORDER OF 12APR2018 BY MR.
TORRES BE DISCARDED AND TURNED OVER TO THE FBI FOR PROSECUTION .
Order that ELECTORAL FRAUD is counterfeit ballots and also under the PURVIEW of the SECRET SERVICE.
Order Tom Wolf, Josh Shapiro and others be charged with conspiracy to commit MAIL FRAUD in connection with
the voting in Pennsylvania and mailing the vote tally to CONGRESS.
Order the order of Judge Margret Miller made March 17, 2017 against Jeffrey Cutler vacated, the order by Judge
Margaret Miller against Jammal Harris vacated and order by Judge Lawrence Stengel against Lisa Michelle Lambert
vacated and all persons similarly situated (William Henry Cosby, Joe Johnson, Jeffrey Smiles, Emily Weinman,
David Sommers, Mr. William H. McMichael, Stan Caterbone, Claire Risoldi, Rufus Seth Williams, Budd Dwyer,
Stepen T. Kirchner (1873 MDA 2018), Scott Capps, General Flynn, Mr. Popodopolis, Ari Goldstein, charges against
Roger Stone and Eric Snowden, prison sentences of MAC PHIPPS in LOUISIANNA, Julias Jones in Oklahoma;
etc.), for violations of equal protection. All prosecutions of Robert Mueller as special prosecutor vacated because his
appointment was based on perjured testimony, which is verfied by Mr. Steele in a foreign court.
Order the summary and default judgment of all other cases filed by Mr. Cutler in every court also be granted, and all
judgements against Mr. Cutler by every Judge vacated including traffic violations for expired inspection in York, PA
East Lampeter Township and Haverford, PA.
Order ECF 103, 104, 105 & 106 be denied USCA case 20-1805.

[9] Order Nancy Peiosi and Adam Schiff to resign from their elected. positions based on crimes identified in this

document, or from their leadership positions and pay ‘million dollars per day fine until they agree.

[10] Order Judge Barry Bloss, Judge Cynthia Rufe, Judge Eduardo Robreno, Judge Denise Commins, Judge

Nicholas G. Garaufis, Judge Midge Rendel, and Judge Catherine Blake pay twice their daily salary each day to

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the innosense project , until they resign.

[11] Order Tom Wolf, Jim Kenny to resign for interference in interstate commerce and misuse of Federal Funds.

[12] Order all vandalism perpetuated against Mr. Cutler and Mr. Krieger to be compensated, and listed.

[13] Provide documentation to the court of how much all court costs and legal fees have been to date, and list cost or
legal hours and ALL LEGAL FIRMS used to try to change the outcome of a certified election, of Jeffrey Cutler and
Donald Trump in all future actions with the court by East Lampeter Township Lancaster County. Legal fee
documentation should start with the actions of the solicitor on and East Lampeter Township starting in O5NOV2013.

[14] Order East Lampeter Township to reveal all persons or individuals that have expressed interest in this case,
especially any officials of the United States Government, and all payments by any George Soros organization.

[15] Order a one million dollar a day penalty per named defendant, until Mr. Cutler's reputation and credit are restored or
individual agreements are reached with each party.

[16] Order Susan Peipher Esquire, East Lampeter Township, Lancaster County Courts and unnamed others show cause
why they should not be charged with violations of the RICCO ACT, both 18 U.S.C. §§ 1961-1968. RICO. violations,
and 18 U.S.C. § 1964, Civil RICCO Act.

[17] Order Susan Peipher Esquire, Christina Hausner, East Lampeter Township, East Lampeter Township Police,
Lancaster County Courts, Ralph Hutchinson, Judge Margaret Miller, Scott Martin, Elam Herr, all named defendants
in this case and unnamed others show cause why they should not be charged with violations of 18 U.S.C. § 2113
(bank robbery) and electoral fraud.

[18] Order Fulton Financial to return all money for accounts ending with 8603 and 8612 with penalties.

[19] Order Fulton Financial to compensate the plaintiffs for cases 5:18-cv-00987 and case 2:17-cv-02763 as demanded
in their respective lawsuits.

[20] Order Wikimedia foundation and all media outlets specified to provide space and corrections as provided by the
plaintiff and his designated representative for fake news and PROGRAMMED CENSORSHIP!!

[21] Order Summary Judgement be awarded for all other cases Mr. Cutler has been denied due process be awarded.

[22] Other remedies the court deems appropriate.

[23] Order the Democratic National Committee to also show why they are not a party to Religious discrimination.

[24] Order Nancy Pelosi to resign from her position for the false statement (18 USC § 1001) made through her lawyer.

[25] The primary election in Pennylvania held June 2, 2020 should be redone because of unequal treatment of voters

throughout the state.

[26] Order of GAVIN NEWSOME, GOVERNOR OF CALIFORNIA be vacted because it is obstruction of free
exercise of religious beliefs and violates Matthew Shepard and James Byrd Jr. Hate Crimes _

Prevention Act.

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[27] Order CHINA to allow the residents of Hong Kong to vote on become a territory of the United
States for attacking the United States,

[28] Order that Taiwan be allowed the residents to vote on becoming a territory of the United States
for their part in help in attacking the United States.

[28] Combine cases 5:21-cv-00299,20-1805, 20-1449, 20-1422 from USCA third circuit and 20-5143
from the USCA DC CIRCUIT and 21-40001 Fifth Circuit, and 1:17-cv-05228 from the Eastern District
of New York and TRAFFIC CITATION C6598201-1

[30] Order Broadcasters to make available at NO COST their AUX CHANNELS for teaching grades K-

12,

[31] Order Susan Peipher Esquire and other lawyers guilty of similar activites, to be barred from participation in the
Federal Court CM/ECF system.

[32] Order that all public broadcasting stations be charged with VIOLATIONS 18 U.S.C. § 653, misuse of federal funds,
or on the alternate be charged with 18 U.S.C. § 666 for Censoring Mr. Cutler's activity.

[33] Order the money that Mr. Bloomberg sent to the DNC plus pledged funds be held for his employees that worked on
his presidential bid that took the jobs based on contracts he made to be distributed by Mr. Cutler.

[34] Order GOOGLE LLC with violations of the ELECTION CAMPAIGN contributions by editing Mr. Cutler’s comments
on youtube videos and other destruction of phone use to pay a fine for each occurence not to exceed one billion per
instance.

[35] Order the CDC to recommend mass Pneumonia vacinations to STOP COMPLICATIONS of COVID-19 and FLU

[36]. Order the STATE SCHOOLS to REQUEST BIDS FOR ONSITE TEACHING ON A CONTRACT BASIS 10, 30, 100
STUDENTS, etc.

[37] Although there is no amount of money that can bring back BREONNA TAYLOR, from the dead, the store chain
LORD AND TAYLOR could be brought back as LORD AND BREONNA TAYLOR as a fixed reminder to her death
and combined with CENTURY 21.

[38] Based on the reply on 27SEP2020, Mike Carter and the Seattle Times should be charged with aiding and abetting
the coverup of the murder of Jonathan Luna 04DEC2003 after the fact (18 U.S.C. § 3 Accessory After the Fact
MURDER of Jonthan Luna)

[39] Order CITIBANK pay three times the amount they allowed to be stolen via fmail fraud from Jeffrey Cutler and
Marilyn Cutler, and document how much they spend on lawyers to support their conspiracy to commit mail fraud.

[40] The constitution should be ammended to allow all citizens of voting age in any prison the right to vote for a

representative in congress and president of the United States just like Washington, DC., and 1 electorial vote. The

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total prison population shall be added to the census for the country. No additional seats shall be added to the
house.

[41] The constitution should be ammended to allow all citizens of voting age native born in any territory the right to vote
for a representative in congress and president of the United States just like Washington, DC., and 1 electorial vote.
The total population shall be added to the census for the country. No additional seats shall be added to the house.

[42] The government shall establish a set of specifications for the minimum features a health plan shall contain to be
called copper, silver, gold platinum, etc., and failure to deliver these features shall be considered mail fraud.

[43] The intentional termination of life by any third party for money for all individuals from 84 months old after conseption
to 30 months old after conseption shall be considered a crime.

[44] A replacement for obamacare would allow any United States interstate company offer their group health plan to not
only their employees, but their suppliers and customers at any pricing they choose with a stated customer charge
and individual charge.

[45] The request for the stay of the order of 14SEP2020 BY THE OFFICE OF ATTORNEY GENERAL SHOULD BE
DENIED because it should be an injunction pending Appeal.

[46] Every jurisdiction in the United States MUST allow UNRESTRICTED PRAYER NOT ENCUMBERED BY any local
specifications specifying the correct way to pray, enforced by RELIGIOUS POLICE.

[47] Judge Rendell should recuse herseif because of her involvement with this case, dating to 13MAY1985 and her
current spouse involvement with the Insurance industry.

[48] Mark Trundos be compensated for criminal activity regarding 2:19-cv-05846 .

[49] Jeffrey Cutler be allowed to get Medicare Part B as equtiable release based on PANDEMIC provisions put in place
by the president of the United States.

[50] All ballots collected in remote collection boxes where the voter was not offered a HARD COPY of their vote be
segragated (violating 18 U.S.C. § 653, misuse of federal funds and Equal Treatment Under the law Ammend 14) and
if they cannot be segraated all votes where they are mixed should be discarded.

[51] Order Tami, Charity Welch (case 5:20-cv-04842), Pavel Resnick, Stacty Gonzalez (case 2:18-cv-05028), Ken
Krieger be compensated at a minimum of $250,000 dollars

[52] Mr. Noviho (5:15-cv-03151) be compensated at a minimum of $250,000 dollars because he should have won on
03SEP2015, but the lawyer George Reihner failed to protect Mr. Noviho.

[53] Order everyone mentioned in this case that is victim of the KKK or FBI be awarded a minimum of $250,000 dollars,
including both children of Budd Dwyer and the individual Mr. Smiles identied as “K” living in his car via email to Mr.
Cutler.

[54] Order Wikipedia to reveal the Name, Address, and Email of AmandaNP, RAVENSFIRE, and PROLOG and

Government sources used to SPY & CENSOR on Mr. Cutler and pay him an appropriate payment of at least 10% of

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their NET WORTH.

[55] A law should be passed that allows JEFFYBONDS be used to make sure every POLICE vehicle is a 2 man car
because like computers, POLICE CAN NEVER HAVE TOO MUCH BACKUP and they be used instead of CARES
act money to balance the Pennsylvania Budet

[56] Seth Williams should get his law license restored just like Ernie Preate, plus awarded 250,000 dollars

[57] Mr. Michael Grant and Mr. Noviho (5:15-cv-03151) be compensated at a minimum of 250,000 dollars

[58] Jeffrey A Dellinger be compensated at a minimum of 250,000 dollars for being directed he must goto church on
Sunday

[59] Mr. Jammal Harris be compensated at a minimum of 250,000 dollars

[60] Survivors of Sean D. Williams (18-2773) be awarded a minimum of 250,000 dollars, as well as Duncan Hunter, and
Dion Williams.

[61] Order Andrew Cuomo, Gavin Newsome and Leticia James resign for violations of the right to PRAY, and testify
under OATH.

[62] Order Traveller's Insurance, Citibank and others to pay into the fund or face criminal prosecution.

[63] Order every employee at PBS/NPR especially BRIAN NAYLOR, to dedicate 10% portion of their pension or
paycheck to a fund or face prosecution for 18 U.S.C. § 3, 18 U.S.C. § 653- ACCESSORY TO MURDER AFTER

THE FACT, MISUSE OF FEDERAL FUNDS, MAIL FRAUD, AND OTHER CRIMES.

[64] GOOGLE is guilty of violating 47 U.S. Code § 230 via their Youtube division and recently with
<ref> https://www.youtube.com/watch#?v=XqngkJolrBk </ref>>

[65] | GOOGLE is guilty of violating 47 U.S. Code § 230 via their Youtube division and recently with
<ref> <ref>htips://www.youtube.com/watchév=Coxy7gXOJiA </ref>

[66] | GOOGLE is guilty of violating 47 U.S. Code § 230 via their Youtube division and recently with

<ref> https://www.youtube.com/watch?v=DJOB2DINNsY </ref>

[67] GOOGLE is guilty of violating 47 U.S. Code § 230 via their Youtube division and recently with

<ref> https://www.youtube.com/watch?@v=7-w5NZYUICO </ref>

[68] GOOGLE is guilty of violating 47 U.S. Code § 230 via their Youtube division and recently with
<ref> httos://www.youtube.com/watch?v=WQfOw B-k7yQ </ref>

[69] GOOGLE is guilty of violating 47 U.S. Code § 230 via their Youtube division and recently with
<ref> https://www.youtube.com/watch?v=xNdTBw7z_aw </ref>

[70] . GOOGLE is guilty of violating 47 U.S. Code § 230 via their Youtube division and recently with

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<ref> https://www. youtube.com/watch?@v=DV-92HMNGuY </ref>

[71] GOOGLE is guilty of violating 47 U.S. Code § 230 via their Youtube division and recently with <ref>
https://www.youtube.com/watch?v=ONc7g3PqtOM </ref>

[72] GOOGLE is guilty of violating and in conjunction with every other news media including ABC, CBS,
NBC is guilty of violating 18 U.S.C. § 3 Accessory After the Fact MURDER of Jonthan Luna and others.

[73] Kara N. Templeton, Christopher Leppler, Judge Nicholas G. Garaufis, Judge B. Denise Commins have

conspired to violate 18 U.S.C. § 3 Accessory After the Fact MURDER of Jonthan Luna and pay a fine equal to their
pension for 10 years.

[74] Dr. Levine and other PUBLIC health officials should SURRENDER their MEDICAL LICENSE for FAILURE to
RECOMMEND INCREASED PNEUMONIA vaccinations including Dr. Deborah Birx and be investigated for any
payments made to them, and pay the equivalent of Social Security Death payment for everyone that died in
Pennsylvania and the United States, as well as all media organizations that also participated in the deaths
(APPROXIMATELY 1.5 MILLION 255 * 5493) EACH.

[75] Based on case 10011 Boeing should create a project to bring back the L-1011 Aircraft from the dead with engines
from the 737-MAX to provide new aircraft to the fleets that would soak up excess production engines and provide
new capacity to the Airline Industry Worldwide and Engineering jobs and capacity.

[76] ORDER THAT CARTER PAGE LAWSUIT BE INCORPORATED INTO THIS ACTION AND AT MINIMUM BE
AWARDED § 250,000

[77] Order all individuals that have contributed to the Pandemic Destroy America Fund pay twice the amount paid into
the fund and Jeffrey Bezos, Jack Dorsey, Tim Cook, Bill Gates, Michael Bloomberg, George Soros pay 10% of their
net worth as a fine for trying to destroy the United States and electoral fraud and the constitution as well as all
similarly situated.

[78] Order all Government employees that paticipated in any of the mentioned crimes pay 10% of their pension into a
fund to allow equal justice as well as Karie Couric for her support for camps for reprogramming. <ref>
https:/Avww.thequardian.com/world/2021 /jan/12/uighur-xinjiang-re-education-camp-china-quibahar-haitiwaji_ </ref>

[79] Besides the conspiracy of Amazon, Twitter, it should also include Wikipedia, Google and others not identified, for
frying to elininate GOD.

[80] Mr. Bezos should be incarcerated until Parler has been made whole, and he pays everyone in the United States that
lost money $ 2,000 , along with the president of ABC Channing Dungey, and James Comey(Approximately 400
billion)

[81] Order the United States Government to stop collecting or accessing penalties FOR FAILURE to comply with

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UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF WASHINGTON
AT SEATTLE

PARLER LLC,
Plaintiff, CASENO. = 2:21-cv-0031-BJR

ORDER DENYING MOTION FOR
PRELIMINARY INJUNCTION

V.
AMAZON WEB SERVICES, INC.,
Defendant.

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I. INTRODUCTION
This matter comes before the Court on a Motion for Temporary Restraining Order

(“TRO”), filed by Plaintiff Parler LLC (“Parler”). Dkt. No. 2. Parler is seeking to have the Court

order Defendant Amazon Web Services, Inc. (“AWS”) to reinstate AWS’s web-hosting services

that AWS provided Parler under the parties’ Customer Services Agreement. Parler initially filed
the motion as one requesting a TRO, but after the Court ordered Parler to serve AWS notice,
ordered additional briefing, and held a hearing, the parties agree that the motion has been
converted to one for a preliminary injunction.

In its Complaint, Parler asserts three claims: (1) for conspiracy in restraint of trade, in

violation of the Sherman Act, 15 U.S.C. § 1; (2) for breach of contract; and (3) for tortious

 

 
 

 

 

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interference with business expectancy. AWS disputes all three claims, asserting that it is Parler,
not AWS, that has violated the terms of the parties’ Agreement, and in particular AWS’s
Acceptable Use Policy, which prohibits the “illegal, harmful, or offensive” use of AWS services.
It is important to note what this case is not about. Parler is not asserting a violation of any
First Amendment rights, which exist only against a governmental entity, and not against a private
company like AWS. And indeed, Parler has not disputed that at least some of the abusive and
violent posts that gave rise to the issues in this case violate AWS’s Acceptable Use Policy. This
motion also does not ask the Court to make a final ruling on the merits of Parler’s claims. Asa
motion for a preliminary injunction, before any discovery has been conducted, Parler seeks only
to have the Court determine the /ikelihood that Parler will ultimately prevail on its claims, and to

order AWS to restore service to Parler pending a full and fair litigation of the issues raised in the

Complaint. Having reviewed the briefs filed in support of and opposition to the motion, and

having heard oral argument by videoconference, the Court finds and rules as follows.
Il. BACKGROUND

Parler was founded in 2018, and describes itself as “a conservative microblogging
alternative and competitor to Twitter.” CompL, ¢ 1. Parler—like Twitter, Facebook, and other
social media entities referenced in this action—is an online platform that allows third-party
users, Sometimes anonymously, to express thoughts and ideas for other users to read and
comment on. Parler takes a laissez faire or “reactive” approach to moderation of its users’
speech. See, e.g., Parler’s December 4, 2020 Community Guidelines, Decl. of Ambika Doran,
Ex. B (“We prefer that removing community members or member-provided content be kept to
the absolute minimum.”). At the time of the filing of its Complaint, Parler claims to have had 15

million end-user accounts and a million downloads of its app per day. Decl. of John Matze, { 3.

 

 
 

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AWS, an Amazon.com, Inc. company, offers “computing services for businesses,
nonprofits, and government organizations globally.” Decl. of Amazon Exec. 2, J 3 (“Exec. 2
Decl.”). According to Parler, “AWS is the world’s leading cloud service providers [sic],
capturing a third of the global market.” Compl., J 11. In June 2018, Parler entered into a
Customer Services Agreement (“CSA” or “Agreement”) with AWS for the latter to provide “the
cloud computing services Parler needs for its apps and website to function on the internet.”
Compl., #9 12, 13; see CSA, Exec. 2 Decl., Ex. A.

In recent months, Parler’s popularity has grown rapidly, and around the time of the 2020
presidential election, according to Parler, millions of users were abandoning Twitter and
migrating to the Parler platform. See CompL, § 17. During this same time period, AWS claims
that it received reports that Parler was failing to moderate posts that encouraged and incited
violence, in violation of the terms of the CSA and AWS’s Acceptable Use Policy (“AUP”).
Exec. 2 Decl., ¢ 4; Ex. C (AUP). The AUP proscribes, among other things, “illegal, harmful, or

offensive” use or content, defined as content “that is defamatory, obscene, abusive, invasive of

privacy, or otherwise objectionable.” AUP at 1. AWS claims that in recent weeks, it repeatedly

communicated with Parler its concerns about third-party content that violated the terms of the
CSA and AUP, and that Parler failed to respond to those concerns ina timely or adequate
manner. /d., J 5.

AWS has submitted to the Court multiple representative examples, reflecting content
posted on Parler during this period, that AWS claims violated the terms of the AUP and the
parties’ Agreement.' See Opp. Br. at 3-4. Parler has not denied that these posts are abusive or

that they violate the Acceptable Use Policy. Parler does claim, however, that AWS knew Parler

 

' The Court will not dignify or amplify these posts by quoting them here.
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was attempting “to address content moderation challenges,” and that AWS appeared to be
willing to cooperate in Parler’s efforts. Matze Decl. §] 6, 7 (asserting “AWS’s actions and
communications led Parler’s corporate officers to believe that, far from being concerned about
remaining in a contractual relationship with Parler, AWS wished to expand that contractual
relationship”).

On January 6, 2021, supporters of President Donald Trump, seeking to overturn the
results of the presidential election, marched on Congress, resulting in a violent and deadly riot at
the U.S. Capitol. See Doran Decl, Ex. F. On January 8, Twitter and Facebook banned President
Trump from their platforms. Compl., { 18. Parler claims that in response to speculation that the
President would move to Parler, there was a mass exodus of users from Twitter to Parler and a
355% increase in installations of Parler’s app. /d., f§ 2, 8. Parler also claims that the surge during
this time was responsible for its failure to deal with a backlog of some 26,000 posts that it
acknowledges “potentially encouraged violence” in violation of the AUP. See Rep. Br. at 4
(acknowledging “backlog of 26,000 instances of content that potentially encouraged violence”).

On January 9, 2021, AWS notified Parler that it intended to “suspend all services” as of
11:59 p.m. Sunday, January 10. Ex. 1 to CompL, January 9, 2021 email from AWS to Parler
(“It’s clear that Parler does not have an effective process to comply with the AWS terms of
service. ... Given the unfortunate events that transpired this past week in Washington, D.C.,
there is serious risk that this type of content will further incite violence. ... Because Parler
cannot comply with our terms of service and poses a very real risk to public safety, we plan to
suspend Parler’s account effective Sunday, January 10th, at 11:59PM PST.”). At some time

during the night between January 10 and 11, AWS suspended its services and Parler went dark.

 
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On the morning of January 11, Parler filed its Complaint and the instant motion, seeking
ex parte a TRO from this Court prohibiting AWS from suspending services. Parler failed,
however, to provide the certification required under the Federal Rules, verifying that its counsel
made an effort to serve AWS notice of the motion, or in the alternative, why notice should not be. |
required. See Fed. R. Civ. P. 65(b)(1)(B); LCR 65. The Court therefore ordered Parler to provide

notice of its motion to AWS. Further, the Court set a briefing schedule. As directed, AWS filed

its opposition on January 12, and Parler filed a reply on January 13. On January 14, 2021, the

Court held a hearing on the motion by videoconference. The Court and the parties agree that the
motion for a temporary restraining order is now essentially one for a preliminary injunction, and
is ripe for this Court’s consideration.
Il. DISCUSSION

A. Standard for Issuance of Preliminary Injunction

As courts have repeatedly emphasized, an injunction represents an “extraordinary
remedy” that is never awarded as a matter of right. See Winter v. Natural Res. Def. Council, 555
US. 7, 22 (2008). For a preliminary injunction to issue, the moving party has the burden of
demonstrating all four of the following elements: (1) that it is likely to succeed on the merits; (2)
that it is likely to suffer irreparable harm in the absence of preliminary relief; (3) that the balance
of equities tips in its favor; and (4) that an injunction serves the public interest. Winter, 555 U.S.
at 20.

In the wake of Winter, in which the Supreme Court narrowed the path to an injunction,
the Ninth Circuit has maintained that a preliminary injunction “may also be appropriate if a
movant raises ‘serious questions going to the merits’ and the ‘balance of hardships tips sharply

towards’ it, as long as the second and third Winter factors are satisfied.” Disney Enters., Inc. v.

 

 
 

 

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VidAngel, Inc., 869 F.3d 848, 856 (9th Cir. 2017) (quoting A/l. for the Wild Rockies v. Cottrell,
632 F.3d 1127, 1134-35 (9th Cir. 2011)). Further, in the Ninth Circuit, “the elements of the
preliminary injunction test are balanced, so that a stronger showing of one element may offset a
weaker showing of another.” Hernandez v. Sessions, 872 F.3d 976, 990 (9th Cir. 2017)

(quotation omitted).

B. Likelihood of Success on the Merits

Parler’s motion asserts three distinct claims. The Court reviews each in turn.
1. Sherman Act Claim

Parler alleges that AWS’s termination of services is “apparently designed to reduce
competition in the microblogging services market to the benefit of Twitter,” and therefore
violates Section | of the Sherman Act. Mot. at 3; 15 U.S.C. § 1 (prohibiting “[e]very contract,
combination in the form of trust or otherwise, or conspiracy, in restraint of trade or commerce”).
To prove a violation of Section 1, Parler must show: “(1) the existence of an agreement, and (2)
that the agreement was in unreasonable restraint of trade.” Fed. Trade Comm'n v. Qualcomm
Inc., 969 F.3d 974, 989 (9th Cir. 2020) (citing, inter alia, Am. Needle, Inc. v. Nat'l Football
League, 560 U.S. 183, 189-90 (2010)).

At this stage in the proceedings, Parler has failed to demonstrate that it is likely to
succeed on the merits of its Sherman Act claim. While Parler has not yet had an opportunity to
conduct discovery, the evidence it has submitted in support of the claim is both dwindlingly
slight, and disputed by AWS. Importantly, Parler has submitted no evidence that AWS and
Twitter acted together intentionally—or even at all-—in restraint of trade. See Bell Atlantic Corp.

v. Twombly, 550 U.S. 544, 127 (2007)(“[A]n allegation of parallel conduct and a bare assertion

 

 
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of conspiracy will not suffice.”). In contrast, AWS has submitted the sworn declaration of an
AWS executive, explicitly denying the existence of any such agreement:

To my knowledge, AWS and Twitter have never discussed, much less agreed upon,

any policy, practice, or act directed at Parler. To the contrary, we have an internal

policy never to discuss matters involving one customer with another customer.

Nobody in my organization would be authorized to discuss Parler with Twitter

without my authorization, knowledge, or involvement. I have not authorized any

AWS employee to discuss Parler with Twitter, and I have not been involved

personally in any such discussion.

Decl. of Amazon Exec. 1, (“Exec. 1 Decl.”), J 8.

Indeed, Parler has failed to do more than raise the specter of preferential treatment of
Twitter by AWS. The sum of its allegation is that “by pulling the plug on Parler but leaving
Twitter alone despite identical conduct by users on both sites, AWS reveals that its expressed
reasons for suspending Parler’s account are but pretext.” Compl. J 26. But Parler and Twitter are
not similarly situated, because AWS does not provide online hosting services to Twitter. Parler’s
unsupported allegation that “AWS provides online hosting services to both Parler and Twitter” is
explicitly denied in a sworn declaration by an AWS executive. See Exec. 1 Decl., {9 5, 6
(“Twitter’s principal social-media service (the “Twitter Feed”) does not run on AWS.... On
December 15, 2020, AWS announced that it signed an agreement with Twitter for AWS to begin
servicing the Twitter Feed for the first time... . We do not yet service the Twitter Feed, and I am
not aware of any particular timeline for doing so.”). Thus, as AWS asserts, “it could not have
suspended access to Twitter’s content” because “it does not host Twitter.” Opp. Br. at 7; see
Exec. 1 Decl., {9 5, 7 (“Because the Twitter Feed does not run on AWS, the Twitter Feed (and

any tweets on the Twitter Feed) are not subject to, and thus cannot violate, Amazon’s Acceptable

Use Policy.”).

 
 

 

 

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In short, Parler has proffered only faint and factually inaccurate speculation in support of
a Sherman Act violation. AWS, in contrast, has submitted sworn testimony disputing Parler’s
allegations. Parler therefore has failed to demonstrate at this stage a likelihood of success on its
Sherman Act claim.
2. Breach of Contract Claim

The gravamen of Parler’s breach of contract claim is that AWS terminated the Agreement

without providing Parler 30 days to cure any alleged material breach.* Mot. at 9. Parler claims it

is entitled to the 30-day cure period based on a provision in the CSA that provides “[e]ither party
may terminate this Agreement for cause if the other party is in material breach of this Agreement
and the material breach remains uncured for a period of 30 days from receipt of notice by the
other party.” CSA § 7.2(b)(i). As noted above, Parler alleges that AWS notified Parler that the
latter was in material breach, for the first time, only hours before suspending or terminating
services. See Matze Decl., § 10.

AWS responds that it is Parler, not AWS, that has breached the Agreement. In particular,
AWS claims that Parler breached Section 4.2 of the CSA, which requires Parler to “ensure that
[Parler’s] Content and [Parler’s] and End Users’ use of [Parler’s] Content . . . will not violate any
of the Policies,” including AWS’s Acceptable Use Policy. That AUP, as noted above, proscribes
“activities that are illegal, that violate the rights of others, or that may be harmful to others, our
operations or reputation” and “content that is defamatory, obscene, abusive, invasive of privacy,
or otherwise objectionable.” AUP, Exec. 2 Decl., Exs. A, C; see CSA § 14; Opp. Br. at 6-7.

AWS cites multiple examples of content posted on Parler’s site that undeniably meet this

 

? AWS denies that it “terminated” Parler’s account, claiming it merely “suspended” its services. Opp. Br. at 6. As
discussed below, the distinction is not material to Parler’s claim at this stage, however, as the CSA grants AWS the
authority to take either action under the same circumstances. See CSA, §§ 6, 7.2(b)(ii).

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definition. See AWS Opp. Br. at 3-4 (citing Exec. 2 Decl., 4 5; Ex. E at 1-3, 6-7, 13, 17, 28, 32,

49, 53-54).

Parler has not denied that content posted on its platform violated the terms of the CSA
and the AUP; it claims only that AWS failed to provide notice to Parler that Parler was in breach,
and to give Parler 30 days to cure, as Parler claims is required per Section 7.2(b)(i). However,
Parler fails to acknowledge, let alone dispute, that Section 7.2(b)(ii)—the provision immediately
following—authorizes AWS to terminate the Agreement “immediately upon notice” and without
providing any opportunity to cure “if [AWS has] the right to suspend under Section 6.” And
Section 6 provides, in turn, that AWS may “suspend [Parler’s or its] End User’s right to access
or use any portion or all of the Service Offerings immediately upon notice” for a number of
reasons, including if AWS determines that Parler is “in breach of this Agreement.” In short, the
CSA gives AWS the right either to suspend or to terminate, immediately upon notice, in the
event Parler is in breach.

Parler has not denied that at the time AWS invoked its termination or suspension rights
under Sections 4, 6 and 7, Parler was in violation of the Agreement and the AUP. It has therefore
failed, at this stage in the proceedings, to demonstrate a likelihood of success on its breach of
contract claim.

3. Intentional Interference with Business Expectancy Claim

Under Washington law, in order to establish a tortious interference claim, Parler must
prove: (1) the existence ofa valid contractual relationship or business expectancy; (2) that
defendants had knowledge of that relationship; (3) an intentional interference inducing or
causing a breach or termination of the relationship or expectancy; (4) that defendants interfered

for an improper purpose or used improper means; and (5) resultant damage. See Leingang v.

 

 
 

 

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Pierce Cty. Med. Bureau, Inc., 131 Wn. 2d 133, 157 (1997); Pleas v. City of Seattle, 112 Wn.2d
794, 800 (1989). Exercising in good faith one’s legal interests is not improper interference.
Leingang, 131 Wn. 2d at 157.

Parler has failed to allege basic facts that would support several elements of this claim.
Most fatally, as discussed above, it has failed to raise more than the scantest speculation that
AWS’s actions were taken for an improper purpose or by improper means. Conversely, AWS has
denied it acted improperly, justifying its actions as a lawful exercise of rights it had pursuant to
either the suspension or the termination provisions of the CSA. Further, for the reasons outlined
supra, §§ III.B.(1) & (2), Parler has failed to demonstrate the likelihood that AWS breached the
CSA. To the contrary, the evidence at this point suggests that AWS’s termination of the CSA
was in response to Parler’s material breach. Parler has therefore not demonstrated a likelihood of
success on this claim.

C. Irreparable Injury

Because likelihood of success is a threshold inquiry, when “a plaintiff has failed to show
the likelihood of success on the merits, the Court “need not consider the remaining three Winter
elements.” Garcia v. Google, Inc., 786 F.3d 733, 740 (9th Cir. 2015)(internal citation omitted).
Given the gravity of the issues presented, the Court nevertheless will do so. As noted above, a
plaintiff seeking a preliminary injunction must establish that it is likely to suffer irreparable harm
in the absence of preliminary relief; importantly, a showing of a mere “possibility” of harm is not

enough. See Winter, 555 U.S. at 20, 22 (“[T]he Ninth Circuit’s “possibility” standard is too

lenient.”). Irreparable injury is traditionally defined as harm for which there is no adequate legal

remedy, such as an award of damages. See Rent—A—Ctr., Inc. v. Canyon Television & Appliance

Rental, Inc., 944 F.2d 597, 603 (9th Cir.1991).

 

 
 

 

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In support of its claim to irreparable injury, Parler alleges that AWS’s suspension or
termination renders Parler unable to deliver the services it promises its users, and “entirely
unable to function online.” Mot. at 5. Furthermore, Parler claims, the actions are a direct blow to
its mission and reputation, and has caused a loss of user loyalty, advertising revenue, and the
ability to raise capital. In short, Parler alleges, these actions have threatened it with “extinction.”
Rep. Br. at 11.

The injuries Parler alleges in its Complaint and its motion may be irreparable. See hiQ
Labs, Inc. v. LinkedIn Corp., 938 F.3d 985, 993 (9th Cir. 2019)(“The threat of being driven out
of business is sufficient to establish irreparable harm.”)(citing Am. Passage Media Corp. v. Cass
Commce'ns, Inc., 750 F.2d 1470, 1474 (9th Cir. 1985)). But in Winter, the Supreme Court
explicitly rejected the “possibility” of irreparable harm as “too lenient” to support a preliminary
injunction, and in the hearing the Court held on this motion, AWS vigorously disputed that

Parler has shown that its extinction is “likely” in the absence of an injunction. See Winter, 555

USS. at 22; Trans. 1/14/21 Hrg., Dkt. No. 33, 15:8-23. The Court makes no finding on this issue,

but notes that Parler’s claims to irreparable harm are substantially diminished by its admission
“that much of that harm would be compensable by damages.” Rep. Br. at 11.

Parler’s showing of a likelihood of irreparable injury, particularly in light of its failure to
demonstrate a likelihood of success on the merits, is insufficient to support a preliminary
injunction.

D. “Serious Questions Going to the Merits” and “Balance of Hardships”

In the Ninth Circuit, a plaintiff may alternatively be awarded an injunction where it has
raised “serious questions” going to the merits of its claims, and the balance of hardships, as

between the two parties, “tips sharply” in its favor. See Cottrell, 632 F.3d at 1134-35 (“A

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Case 2:21-cv-00031-BJR Document 39 Filed 01/27/21 Page 62 of 194
Case 2:21-cv-00031-BJR Document 34 Filed 01/21/21 Page 12 of 14

preliminary injunction is appropriate when a plaintiff demonstrates that serious questions going
to the merits were raised and the balance of hardships tips sharply in the plaintiff's favor.”). This
analysis does not, however, aid Parler’s cause. First, as discussed above, the likelihood of Parler
prevailing on its claims is not a close call. Parler’s allegations at this time are both inaccurate and
unsupported, and are disputed by evidence submitted by AWS. Thus, its motion does not, on this
record, raise “serious questions” going to the merits of its claims.

Second, while the “balance of hardships” may fall heaviest on Parler in the form of
potential monetary loss, AWS has convincingly argued that forcing it to host Parler’s users’
violent content would interfere with AWS’s ability to prevent its services from being used to
promote—and, as the events of January 6, 2021 have demonstrated, even cause—violence. Opp.
Br. at 11; Exec. 2 Decl. Ex. F. It cannot be said, therefore, that the balance of hardships “tips
sharply” in Parler’s favor.

E. The Balance of Equities and the Public Interest

“In exercising their sound discretion, courts of equity should pay particular regard for the
public consequences in employing the extraordinary remedy of injunction.” Winter, 555 U.S. at
24. Parler argues that the public interest favors the consistent enforcement of contractual
obligations, and lies “in fair and robust market competition.” Mot. at 7-8. But Parler has not at
this stage demonstrated a likelihood that it will prevail on its breach of contract, Sherman Act, or
tortious interference claims. It therefore necessarily follows that the claims do not support a
finding that the public interest weighs in favor of granting the injunction.

On the other hand, AWS argues that an injunction forcing it to continue hosting the Parler
platform would pose a risk to public safety. Opp. Br. at 11; Exec. 2 Decl. Ex. F. Parler attempts

to discount this interest by claiming that at the time AWS cut off its services, Parler was “already

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Case 2:21-cv-00031-BJR Document 34 Filed 01/21/21 Page 1 14

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taking steps” to develop a more effective content moderation system. Rep. Br. at 12. There is no
debate, however, that forcing AWS to reinstate its services now, before such system can be
implemented, would result in the continued posting of the kind of abusive, violent content that
caused AWS to shut Parler down in the first place.

The Court explicitly rejects any suggestion that the balance of equities or the public
interest favors obligating AWS to host the kind of abusive, violent content at issue in this case,
particularly in light of the recent riots at the U.S. Capitol. That event was a tragic reminder that
inflammatory rhetoric can—more swiftly and easily than many of us would have hoped—turn a
lawful protest into a violent insurrection. The Court rejects any suggestion that the public interest
favors requiring AWS to host the incendiary speech that the record shows some of Parler’s users
have engaged in. At this stage, on the showing made thus far, neither the public interest nor the
balance of equities favors granting an injunction in this case.

IV. CONCLUSION

Parler has failed to meet the standard set by Ninth Circuit and U.S. Supreme Court
precedent for issuance of a preliminary injunction. To be clear, the Court is not dismissing
Parler’s substantive underlying claims at this time. Parler has fallen far short, however, of
demonstrating, as it must, that it has raised serious questions going to the merits of its claims, or
that the balance of hardships tips sharply in its favor. It has also failed to demonstrate that it is
likely to prevail on the merits of any of its three claims; that the balance of equities tips in its
favor, let alone strongly so; or that the public interests lie in granting the injunction.

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For these and the remaining reasons articulated above, Parler’s motion for a preliminary

injunction is DENIED.

Dated this 21st day of January, 2021.

A

Barbara Jacobs Rothstein
U.S. District Court Judge

 

 

 
 

Case 2:21-cv-00031-BJR. Document 39 . Filed 01/27/21 Page 65 of 194

 

 

 

UNITED STATES —
CAT) 84-4718

 

 

 

 

 

 

 

 

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Case 2:21-cv-00031-BJR Document 39 Filed 01/27/21 Page 66 of 194

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We ask you to keep all original documents related to your complaint. We will contact you ONLY if more information is

 

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G.S. Bouse of Representatives
Committee on the Judiciary
Plashington, BC 20515-6216
One Hundred Sixteenth Congress
July 8, 2020

Mr. John Matze

Chief Executive Officer

Parler, LLC

209 South Stephanie Street, B135
Henderson, NV 89012

Dear Mr. Matze:

Since its founding in 2018, Parler has amassed approximately 1.5 million users, with a
significant portion of those users joining in recent days as Parler has gained widespread
awareness among the American public.’ Parler advertises itself as an alternative to social
networks, such as Twitter, that aggressively—and discriminatorily—censor their users’ speech.”
While Parler does have rules and policies concerning the use of its platform by users, you have
said that Parler is “a public square” that does not “censor or editoridize” and that “only...
weed[s] out . . . pornography, threats of violence against someone, and obscene material.”

Congress is currently examining the size, competitiveness, and role of social media
companies in our society through the lens of antitrust law, which is rightfully restricted to
analyzing the welfare of consumers relative to price and market dynamics.* Because social media
platforms generally offer their services to users for free, companies compete on matters other
than price, such as quality and other features.°

Parler appears to be competing with other social media companies in precisely this
manner. Because the social media market is filled predominantly with companies that offer their
services to users for free, Parler is generally unable to offer a lower price to users than its

 

' See, e.g. Brian Flood, Parler CEO John Maize provides Twitter Alternative: ‘People are sick of cancel culture,
constant judgment’, Fox News (Jul. 2, 2020), https://Awww.foxnews.com/media/parler-ceo-john-matze-provides-
twitter-alternative-people-are-sick-of-cancel-culture-constant-judgement; see also Ari Levy, Trump fans are flocking
to the social media app Parler—its CEO is begging liberals to join them, CNBC (Jun. 28, 2020),
https:/Awww.cnbe.com/2020/06/27/par ler-ceo- wants-liberal-to-join-the-pro-trump-crowd-on-the-app. html.

See, e.g., About Us, PARLER, https://home.parler.com/about/ (stating that “ Parler is a non-biased free speech driven
entity” that “accepts your right to express your thoughts, opinions, and ideals online.” ).

> Community Guidelines, PARLER, https://legal parler.com/documents/guidelines.pdf Flood, supra note 1.

* See,e.g., Press Release, House Committee on the Judiciary, House Judiciary Committee Launches Bipartisan
Investigation into Competition in Digital Markets (Jun. 3, 2019),

hitps://judiciary. house. gov/news/documentsingle.aspx?DocumentID=2051.

> See, e.g., Makan Delrahim, Assistant Attorney General for the Antitrust Division, Dep’ t of Justice, Keynote
Address at the University of Colorado Law School Silicon Flatirons Annual Technology Policy Conference: “I’m
Free”: Platforms and Antitrust Enforcement in the Zero-Price Economy (Feb. 11, 2019) (“Firms in zero-price
markets often compete on quality and innovation, which can benefit consumers.” ).

 
 

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Mr. John Matze
July 8, 2020
Page 2

competitors. Therefore, Parler differentiates itself on the quality and features of its platform—
namely, its commitment to not “censor or editorialize, share or sell user data.”® This commitment
positions Parler in stark contrast to Twitter, which has made increasingly clear in recent weeks
and months that only users who refrain from expressing certain unfavored political beliefs are
welcome to fully participate on its platform. In turn, Parler’s commitment to free expression
takes the place of price as an incentive driving consumer behavior.

As the Committee continues to evaluate the size, competitiveness, and role of social
media companies in our society, the perspective of Parler would significantly inform and
advance the Committee’ s work. At atime and in a medium that are mutually convenient, we ask
that you arrange to provide the Committee with Parler’s views on the value it offers to
consumers, its competitive practices, and how it views the state of competition in social media.

If you have any questions regarding this request, please contact Committee staff at (202)
225-6906. Thank you for your attention to this matter.

Sincerely,

Jim Jofdan James Sensenbrenner, Jr.
ing Member
committee on Antitrust,
Commercial and Administrative Law

Rankfng Member

The Honorable Jerrold L. Nadler, Chairman

The Honorable David N. Cicilline, Chairman, Subcommittee on Antitrust, Commercial
and Administrative Law

 

6 Flood, supra note 1.

 
 

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investor Code of Business Conduct and Ethics

Re i at j a go Ss In performing their job duties, Amazon.com employees should always act lawfully, ethically,
ae . ‘ and in the best interests of Amazon.com. This Cade of Business Conduct and Ethics {the
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O1 Annual reports, their conduct or the conduct of their coworkers complies with the Code of Conduct should
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noncompliance as provided in the Legal Department's reporting guidetines referred to in
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Employees may not discuss prices or make any formal or informal agreement with any
competitor regarding prices, discounts, business terms, or the market seqments and
channets in which the Company competes, where the purpose or result of such
discussion or agreement would be inconsistent with applicable antitrust laws. if you
have any questions about this section or the applicable antitrust laws, please contact the
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Employees may not bribe anyone for any reason, whether in dealings with governments
or the private sector. The US. Foreign Corrupt Practices Act, and similar laws in other
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understandable disclosure as required by law. The Company's financial, accounting and
fegal groups are responsible for procedures designed to assure proper internal and
disclosure controls, and all employees should cooperate with these procedures.

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Board of Directors

Waivers of this Code of Conduct may be made only in a manner perrnitted by law.

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Case 2:21-cv-000S SSO" BECIIRE HT SoemieeseH2 721 Page 70 of 194

Date filed: 01/11/2021
Date of last filing: 01/21/2021

History

 

Dates Description

4 [Filed & Entered: 01/21/2021 | Order on Motion for Temporary Restraining Order
Filed & Entered: 01/20/2021 |@ Notice of Filing of Official Transcript
Filed & Entered: 01/18/2021 |} Notice of Supplemental Authority
2 Filed & Entered: 01/18/2021 |@ Sealed Unredacted Document
Filed & Entered: 01/15/2021 |@ Transcript Order Form
Filed & Entered: 01/15/2021 |@ Motion to Seal
Filed & Entered: 01/15/2021 |) Sealed Unredacted Document
Filed & Entered: 01/14/2021 }9 TRO Hearng
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27 |Filed & Entered: 01/14/2021 |B Transcript Order Form
Filed & Entered: 01/13/2021 |@ Set/Reset Hearings
Filed & Entered: 01/13/2021 |@ Receipt
Filed & Entered: 01/13/2021 \9 Notice of Filing Paper or Physical Materials
Filed & Entered: 01/13/2021 |Q Corporate Disclosure Statement

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1 [Filed & Entered: 01/13/2021 \B Reply to Response to Motion

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General Docket
Third Circuit Court of Appeals

 

 

Court of Appeals Docket #: 20-1422 Docketed: 02/27/2020 |
Nature of Suit: 15890 Other Statutory Actions Termed: 01/12/2021
USA v. Safehouse, et al i
Appeal From: United States District Court for the Eastern District of Pennsylvania

Fee Status: NA

 

 

 

Case Type Information:
1} chil
2} United States as party
3) Other civil

 

 

| Originating Court Information:

District: 0373-2 : 2-19-cv-00519

Trial Judge: Gerald A. McHugh. U.S. District Judge

Date Filed: 02/05/2013

Date Order/Judgment: Date Order/Judgment EOD: Date NOA Filed:
02/26/2020 02/26/2020 02/26/2020

 

 

 

 

 

 

 

11/16/2020 147 CLERK'S LETTER to counsel written at the direction of the Court. At the direction of the court, counsel are hereby
directed to file a transcript of oral argument by Monday, November 30, 2020 in the above entitled case. Liaison
counsel should immediately advise the Clerk's Office of the Court Reporter or agency handling the Transcription of
oral argument. The Government is to bear the cost of the preparation of the transcript. (Please see letter attached
for full text) (PM) [Entered: 11/16/2020 03:20 PM]

14/30/2020 ECF FILER: Transcript of oral argument on 11/16/2020 prepared at the direction of the Court. [20-1422] (FEL)
fEntered: 11/30/2020 02:54 PM]

12/08/2020 MOTION filed by Proposed Intervenor Jeffrey Cutler titled “Petition for Injunctive Relief.” Certificate of Service dated
12/03/2020. Service made by US mail. (LMR) [Entered: 12/09/2020 10:53 AM]

12/11/2020 ORDER (AMBRO, BIBAS and ROTH, Circuit Judges} The foregoing Motion filed by Proposed Intervenor Jeffrey
Cutler titled “Petition for injunctive Relief is denied. AMBRO, Authoring Judge. (LMR) (Entered: 12/11/2020 03:54
PM]

1262020 MOTION filed by Propased Intervenor Jeffrey Cutler to Reconsider Order dated 12/11/2020, with a request for
rehearing en banc under 3d Cir 1.0.P. 10.3.3.. Certificate of Service dated 12/16/2020. Service made by US mail.
(LMR) [Entered: 12/30/2020 02:23 PM]

{2/22/2020 AMENDED MOTIGN filed by Proposed intervenor Jeffrey Cutler to Reconsider Order dated 12/11/2020, with a
request for rehearing en banc under 3d Cir |.O.P. 10.3.3. Certificate of Senice dated 12/22/2020. Service made by
US mail. (LMR) Entered: 12/30/2020 02:26 PM]

01/06/2021 ORDER (AMBRO. Circuit Judges) The foregoing Motion filed by Proposed Intervenor Jeffrey Cutler titled “Amended
Petition for Rehearing En Banc and injunctive Relief because of Crimes (18 U.S. Code § 1519 — Destruction,
alteration, or falsification or records) and Mail Fraud and to Combine Cases for Judicial Eficiency and Summary
Affirmation” are denied. AMBRO, Authoring Judge. (LMR) (Entered: 01/05/2021 08:38 AM]

01/12/2021 4154 PRECEDENTIAL OPINION. Coram: AMBRO, BIBAS and ROTH, Circuit Judges. Total Pages: 62. Judge: BIBAS
Authoring, Judge. ROTH Dissenting. (LMR) (Entered: 01/12/2021 09:32 AM}

01/12/2021 155 JUDGMENT, REVERSED and REMANDED. Costs will be taxed against Appellees —[Edited 01/12/2021 by CND]
(LMR) Entered: 01/12/2021 09:33 AM]

O1/12/2021 3156 Archived PDF of website(s) cited in opinion. (SB) (Entered: 01/21/2021 09:42 AM]

 

 

 

 

 

 

 

 

 

 

 

 

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Case 2:21-cv-00031-BJR Document 39 Filed 01/27/21 Page 72 of 194

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General Docket

 

 

 

Court of Appeals Docket #: 18-3693 Doecketed: 12/12/2018
Nature of Suit: 3370 Other Fraud

Jeffrey Cutler v. Alan Schnitzer, et al

Appeal From: United States District Court for the Eastern District of Pennsylvania

Fee Status: Paid

 

 

 

Case Type Information:
Tj civil
2) private
3) Federal question

 

 

 

 

 

 

 

 

 

 

Originating Court Information:
District: 0313-2 : §-17-cv-05025
Trial Judge: Jeffrey L. Schmehl, U.S. District Judge
Date Filed: 11/06/2017
Date Order/Judgment: Date Order/ Judgment EOD: Date NOA Filed:
VIN42018 1114/2018 12/07/2018

 

 

 

 

 

 

 

04/26/2019 COMPLIANCE RECEIVED. Motion received from Pro Se Appellant Jeffrey Cutler. (MCW) (Entered: 04/30/2019 01:21
PM]

05/07/2018 ORDER {Clerk} denying Appellant's Petition to file Amended Brief and Appendix as presented. The reply briefs filed on
: April 10, 2019 and April 11, 2019 are hereby stricken. Appellant may, within 14 days of the date of this order, file one
reply brief addressing all 6 of the Appellees’ briefs filed in this case. SEE ORDER FOR COMPLETE TEXT, filed. (JK)
jEntered: 05/07/2019 01:27 PM]

05/21/2019 MOTION filed by Appellant Jeffrey Cutler titled Petition to Expand Record to Include Evidence of Perjury. Response
due on 06/03/2049. Certificate of Service dated 05/21/2019. Service made by ECF, US mail. SEND TO MERITS
PANEL -[Edited 06/07/2019 by JK] UK) (Entered: 05/22/2019 10:56 AM]

05/21/2018 PRO SE REPLY BRIEF (with Addendum) on behalf of Appellant Jeffrey Cutler, filed. Pages: 6. Certificate of Service
dated 05/21/2019 by US mail. (SJB) [Entered: 05/28/2019 10:20 AM]

06/03/2019 ECF FILER: Response filed by Appellee Alan Schnitzer to motion. Certificate of Senice dated 06/03/2019. SEND TO
MERITS PANEL. [18-3693]-[Edited 06/07/2019 by JK] (NPH) [Entered: 06/03/2019 05:54 PM]

06/07/2019 ORDER (Clerk} referring the Appellant’s Motion to Expand Record and Appellee’s Response to the merits panel, filed.
(JK) [Entered: 06/07/2019 11:39 AM]

O7M5/2019 CALENDARED for Thursday, 08/01/2019. {TL} [Entered: 07/15/2019 03:33 PM]

| 07/25/2019 MOTION filed by Appellant Jeffrey Cutler titled Petition to Alter Panel and Allow Oral Argument. Response due on
08/05/2019. Certificate of Senice dated 07/25/2019. Senice made by ECF. (JK) (Entered: 07/26/2019 02:07 PM]

08/01/2079 SUBMITTED (Pro Se - 3rd Cir. LAR 344 (a)} on Thursday, August 1, 2019. Panel: McKEE, COWEN and RENDELL,
Circuit Judges. (TLG) (Entered: 08/01/2019 08:09 AM]

08/07/2019 ORDER (RENDELL, Circuit Judge) denying motion for recusal filed by Appellant Jeffrey Cutler, filed. RENDELL,
Authoring Judge. (JK} (Entered: 08/07/2019 03:51 PM]

 

 

 

 

 

 

 

 

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Case 2:21-cv-00031-BJR Document 39 Filed 01/27/21 Page 74 of 194

In The 21 JAN 13 Pu FO
Gnited States Court of Appeals

TSAC-EDDA
7m A

for the Third Circutt

20-1422

UNITED STATES of AMERICA,
Plaintiff-Appellees

JEFFREY CUTLER
Intervenor Plaintiff-Appellee

Vv.

SAFEHOUSE INC., et al.
Defendants-Appellants

Appeal from the Order/Judgment entered February 25, 2020 in the United States District
Court for the Eastern District of Pennsylvania at No. 2:19-cv-00519

AMMENDED & CORRECTED EMERGENCY EXPEDITED

PETITION FOR HEARING ENBANC AND INJUNCTIVE

RELIEF BECAUSE OF CRIMES (18 U.S. Code § 1519 -

Destruction, alteration, or falsification of records) & MAIL FRAUD
AND TO COMBINE CASES FOR JUDICIAL EFFICIENCY AND

SUMMARY AFFIRMATION

ORAL ARGUMENTS REQUESTED

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Here comes Jeffrey Cutler, Paintiff-Intervenor in this case based on the United States
Constitution Ammend 1, for Redress of Grievances and preservation of the
Establishment Clause, Mr. Cutler files THIS AMMENDED & CORRECTED
EMERGENCY EXPEDITED PETITION FOR HEARING ENBANC AND
INJUNCTIVE RELIEF BECAUSE OF CRIMES (18 U.S. Code § 1519 -
Destruction, alteration, or falsification of records) & MAIL FRAUD AND TO
COMBINE CASES FOR JUDICIAL EFFICIENCY AND SUMMARY
AFFIRMATION, to correct for new crimes and OBSTRUCTION of JUSTICE
discovered, originally filed 14DEC2020 and hidden. The previous document in case

21-40001 was altered by persons unknown to protect the CRIMES of the FBI/CIA

and KLU KLUX KLAN. It also shows BIAS and MALICIOUS intent to violate

EQUAL TREATMENT under the law, a violation of the United States Constitution
Ammend 5. Jeffrey Cutler has STANDING and it was granted by the USCA in DC
on 14AUG2015 for case 14-5183 , and ORDER does not EXPIRE. Mr. Cutler was
granted the RIGHT to challenge the ESTABLISHMENT CLAUSE by the court
and has been trying to pursue his first ammendment right to PETTION THE
COURT FOR REDRESS OF GRIEVANCES. Recently in case # 1:17-cv-05228
Judge Nicholas G. Garaufis (Eastern District of New York) SIMPLY STATED MR.
CUTLER IS NOT PART OF THE CASE AND VIOLATED EQUAL
PROTECTION UNDER THE LAW AND HAD THE DOCUMENT RETURNED

WITH NO RECORD ON THE DOCKET EVEN THOUGH JOSH SHAPIRO (a

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Sonderkommando, elector for Joe Biden and the current Attorney General of
Pennsylvania) IS ON THE DOCKET. Mr. Cutler is being denied MEDICARE part
B coverage while the order in this case grants that coverage immediately to NON-
CITIZENS even though when DACA was set up the president OBAMA publically
stated the program was ILLEGAL. These persons are being GRANTED EXTRA
RIGHTS. Mr. Cutler a natural born citizen presently 66 years old and second
generation American and JEWISH, eligable to be President or Speaker of the
House. In case 20-2936 ECF 29 page 169 Mr. Cutler filed a copy of the order from
Mr. Torres dated 12APR2018 that all voting methods must have a HARD COPY
RECORD AVAILABLE filed 200CT2020, as part of funding from the FEDERAL
GOVERNMENT!! The laws were altered in Pennsylvania to provide DROP
BOXES that failed to have this provision. Mr. Cutler had stated these ballots
violated the states OWN order, and a judge should decide their they are ILLEGAL,
just like the term that may presently describe the sick bird Philadelphia football team
ILL EAGLE. The Citizens of the State of New York and may have been violated

by equal protection 03JAN2021 based on possible bribes or collusion to LOOSE the

football game due to substitution of the Quarterback, so the GIANTS were not able to

be in the playoffs. On 22JUN2020 a PETITION FOR IMMEDIATE INJUNCTION
PENDING APPEAL was finally put online in case 20-1449 even though it was
actually filed on 20MAY2020 at 4:10 PM.. The case is called the UNITED STATES

OF AMERICA v. JOESEPH JOHNSON. The office of the president responded to

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this by 21MAY2020. The president gave a short NEWS CONFERENCE on
22MAY2020 demanding all places of worship be allowed to open. Employees of the
federal government and others have been involved in a criminal conspiracy to
OBSTRUCT JUSTICE and damage the United States. In case #20-5143 DC USCA
Nancy Dunn obstructed documents mailed and sent to <ref>
prosefilings@cadc.uscourts.gov </ref> Mr. Cutler had sent a 330 page document on
17JUL2020 but that document vanished, just like the white bunny HARVEY, who is
invisible in the picture of Mke Pence with his bunny Marlon Bundo on 16NOV2020

on the front page of the Philadelphia Inquirer. The USPS tracking number 9510

8141 4908 0199 0615 60 is not reporting results. The lawyers in sending Mr. Cutler

the letters by MAIL makes them all a party to the CONSPIRACY to INTERFERE
IN INTERSTATE COMMERCE and MAIL FRAUD.

On 30SEP2020 at 12:42 PM (RESTAMPED 050CT2020) Jeffrey Cutler filled a 571
Page PETITION TO COMBINE CASES FOR JUDICIAL EFFICIENCY

BECAUSE OF CRIMES (18 U.S.C. § 653 MISUSE OF FEDERAL FUNDS, MAIL
FRAUD, AND OTHER CRIMES), AND SUMMARY AFFIRMATION USCA
CASE 20-2936.

On 150CT2020 at 12:42 PM Jeffrey Cutler filled a 194 Page AMENDED
PETITION TO COMBINE CASES FOR JUDICIAL EFFICIENCY BECAUSE OF
CRIMES (18 U.S.C. § 653 MISUSE OF FEDERAL FUNDS, MAIL FRAUD, AND

OTHER CRIMES), AND SUMMARY AFFIRMATION USCA CASE 20-2936

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On 190CT2020 Jeffrey Cutler filled a 244 Page ERATTA FOR AMENDED
PETITION TO COMBINE CASES FOR JUDICIAL EFFICIENCY BECAUSE OF
CRIMES (18 U.S.C. § 653 MISUSE OF FEDERAL FUNDS, MAIL FRAUD, AND
OTHER CRIMES), AND SUMMARY AFFIRMATION USCA CASE 20-2936
On 280CT2020 at 1:38 PM Jeffrey Cutler filled a PETITION FOR ENBANC
REVIEW of PETITION TO COMBINE CASES FOR JUDICIAL EFFICIENCY
BECAUSE OF CRIMES (18 U.S.C. § 653 MISUSE OF FEDERAL FUNDS, MAIL
FRAUD, AND OTHER CRIMES), AND SUMMARY AFFIRMATION AND
PEREMTORY DISQUALIFICATION OF ALL JUDGES OF THE THIRD
CIRCUIT AND MOVE TO FIFTH CIRCUIT.

On 12NOV2020 at 3:56 PM Jeffrey Cutler filled a PETITION TO COMBINE

ADDITIONAL CASES BEFORE ENBANC REVIEW BECAUSE OF

ADDITIONAL CRIMES (18 U.S. Code § 1519 - Destruction, alteration, or

falsification of records) FOR JUDICIAL EFFICIENCY in USCA case 20-2936

On 23NOV2020 AT Jeffrey Cutler filed al199 page PETITION FOR INJUNCTIVE
RELIEF BECAUSE OF CRIMES (18 U.S. Code § 1519 - Destruction, alteration, or
falsification of records) AND TO COMBINE CASES FOR JUDICIAL
EFFICIENCY AND SUMMARY AFFIRMATION IN CASE 20-3371 IN PERSON
IN PHILADELPHIA AT 3:45 PM. THIS IS the appeal of DONALD J. TRUMP FOR
PRESIDENT INC., et al. v. KATHY BOOKVAR, et al. case 4:20-cv-02078. Mr.

Cutler filed a 322 MOTION TO DECLARE DONALD J. TRUMP, INC.

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VICTORIOUS FOR INJUNCTIVE RELIEF BECAUSE OF CRIMES (18 U.S.C. §
1519 — Destruction, alteration, or falsification of records, MAIL FRAUD, AND
OTHER CRIMES), COMBINE CASES FOR JUDICIAL EFFICIENCY AND
SUMMARY JUDGEMENT and it is time stamped 19NOV2020 case case number
4:20-cv-02078. Even though it is on 322 page document it was put on the DOCKET

as ECF 180 and ECF 181. Both of these documents are available via the internet at

<ref> https:/Avww.courtlistener.com/recap/gov.uscourts.pamd.127057/gov.uscourts.pamd.127057.180.0.pdf </ref>

<ref> https:/Avww.courtlistener.com/recap/gov.uscourts.pamd.127057/gov.uscourts.pamd.127057.181.0.pdf </ref>

Mr. Cutler has written in the document that COVID-19 is BIO-WARFARE FROM
CHINA AIDED BY BRIBES AND CORRUPTION AROUND THE WORLD. A
COPY WAS EMAILED TO OVER 200 PERSONS AND NEWS
ORGANIZATIONS, INCLUDING RUDY. BASED ON MR. CUTLER'S
VALIDATION EXPERIENCE HE THINKS THAT THE TESTING
COMPONENTS MAY BE TAINTED and actually causing increase in COVID-19.
This is based on PREVIOUS actions by CHINA.
<ref>nttos:/www.govinfo.gov/content/pkg/CHRG-110hhrg53183/html/CHRG-110hhrg53183.htm </ref> <ref>
https:/www.nytimes.com/2008/03/06/health/O6heparin.htmi</ref>
<ref>nttps:/www.latimes.com/archives/la-xom-2008-mar-20-na-fda20-story.htmi</ref>

<ref>https://en.wikipedia.org/wiki/2007 pet food recalls </ref>

18 U.S. Code § 1519 - Destruction, alteration, or falsification of records involving

ECF 33 filed 280CT2020. Mr. Cutler believes the same technique used in the VW

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EMISSIONS SCANDAL WAS USED TO ALTER VOTES and possibly by the same
programmers <ref>
https:/Awww.nytimes.com/interactive/2015/business/international/vw-diesel-emissions-scandal-explained.htmi</ref>

<ref>https://www.ydr.com/story/news/politics/elections/2019/1 1/06/how-pa-fix-paper-ballot-voting-problems-before-

2020-presidential-election/2507101001/</ref> PER USCA CASE 17-1770 JOE BIDEN IS

 

INVOLVED IN DEALING IN STOLEN NAZI ART FROM WWII THE 199 PAGE

DOCUMENT FILED 23NOV2020 AT 3:45 PM VANISHED IN FEDERAL
COURT!!

On 31DEC2020 Jeffrey Cutler at 11:11 AM he filed a 383 PAGE MOTION FOR
SUBSTITUTION OF JUDGE AND MOTION FOR RECONSIDERATION AND
INJUNCTIVE RELIEF BECAUSE OF CRIMES (18 U.S. Code § 1519 -
Destruction, alteration, or falsification of records) & MAIL FRAUD AND TO
COMBINE CASES FOR JUDICIAL EFFICIENCY AND SUMMARY
JUDGEMENT in the UNITED STATES DISTRICT COURT OF THE EASTERN
DISTRICT OF NEW YORK CASE #1:17-cv-05228 (STATE OF NEW YORK v.
DONALD J. TRUMP) AS AN INTERVENOR DEFENDANT.On page 46&47 of
USCA case 20-2936 filed 12NOV2020 (55 & 56 of ECF 181 case 4:20-cv-02078) is
documented evidence of (18 U.S. Code § 1519 - Destruction, alteration, or
falsification of records) involving ECF 33 filed 2830CT2020. Mr. Cutler believes the -
same technique used in the VW EMISSIONS SCANDAL WAS USED TO ALTER

VOTES and possibly by the same programmers <ref>

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https://www.nytimes.com/interactive/201 5/business/international/vw-diesel-emissions-scandal-explained.htmI</ ref>

<ref>nttps://www.ydr.com/ story/news/politics/elections/2019/1 1/06/how-pa-fix-paper-ballot-voting-problems-before-2020-

presidential-election/2507101001/</ref> PER USCA CASE 17-1770 JOE BIDEN IS
INVOLVED IN DEALING IN STOLEN NAZI ART FROM WWIL. Mr. Cutler
previously had filed copies of documents from case 19-11466 (Bankruptcy of
PHILADELPHIA ACCADEMIC HEALTH SYSTEM- HAHNEMANN HOSPITAL
), in ECF 66 case 5:19-cv-00834 filed 14AUG2020 ( documents vanished, see pages
23, 53 & 60). Mr. Cutler had desired to keep the hospital open since he had been a
previous grad of DREXEL UNIVERSITY. In fact he had talked to 2 of the bidders
for the Hospital that wanted to KEEP IT OPEN as a running HOSPITAL and offered
funds from the DEFAULT JUDGEMENT FROM BRIAN SIMMS. Tom Wolf, the
mayor of Philadelphia, and Brian Simms all gave speeches that were covered by the
media, but everything Mr. Cutler did was censored. Mr. Cutler was prevented from
atteding hearings at the law office of Saul Ewing while reporters were allowed to
attend at the law office of Saul Ewing (he was asked to leave by security, and
Philadelphia Police). Mr. Cutler previously had contested the states order that they
could redistrict (USCA Case 18-1816) via a method that gave the court this power
even though it VIOLATED THE PENNSYLVANIA CONSTITUTION and
allowed it to be ammended in 10 days, <ref> nhtps:/www.brennancenter.org/legal-work/corman-v-torres
</ref><ref> hups://redistricting.Ils.edu/files/PA%20corman%2020180724%20brief pdf </ref> and conceal the

MURDER of employee of the Federal Government with the aid of the [[FBI]]. Mr.

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Cutler a former ELECTED TAX COLLECTOR in November 2013 and has been
trying to clear his name based on PERJURED testimony 18 U.S.C. § 1001, bank
robbery by others, insurance fraud on 17MAR2017 and a challenge to
OBAMACARE on 31DEC2013 (case 1:13-cv-2066 in Washington, DC). Mr. Cutler
was granted the right to challenge OBAMACARE by the USCA in Washington, DC
on 14AUG2015. Mr. Cutler has filed in many cases and has caught persons
obstructing justice like in case 20-5143 (USCA Washington, DC), Nancy Dunn
stated she discarded all the documents and OBSTRUCTED JUSTICE. Many cases
involve unopposed motions. Priority mail tracking number #9510 8066 2091 0225

1534 23. A document sent to the Supreme court on 30NOV2020 at 4:28 PM used

Express Mail, tracking number EJ5050342510S and vanished also, just like previous

documents in federal court. In case #ON 07DEC2020 JEFFREY CUTLER FILED
VIA NEXT DAY MAIL (EJ505033021US) A 315 PAGE MOTION FOR
RECONSIDERATION AND INJUNCTIVE RELIEF BECAUSE OF CRIMES (18
U.S. Code § 1519 - Destruction, alteration, or falsification of records) AND TO
COMBINE CASES FOR JUDICIAL EFFICIENCY AND SUMMARY
JUDGEMENT IN CASE 1:17-cv-05228 (STATE OF NEW YORK v. DONALD J.
TRUMP AS A Intervenor Defendant. [[DACA CASE CITING EQUAL
TREATMENT UNDER THE LAW- first 59 pages of 315 attached in the
Addendum]] ON PAGE 67 IS EVIDENCE OF ELECTORAL FRAUD AND

DONALD TRUMP VICTORY IN PENNSYLVANIA. ORIGINALLY FILED AS

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PAGE 169 (p320) USCA CASE 20-2936 (COUNTY OF BUTLER, et al. v. THOMAS
WOLF, et al.). Even though the document IN CASE 1:17-cv-05228 was recieved on
08DEC2020 AT 10:56 AM, it has yet to be put on the DOCKET, despite multiple
claims by the clerks. Josh Shapiro (a SONDERKOMMANDO) is part of the case in
New York, and a MAIL FRAUD complaint has been submitted for his previous
actions and BASED ON A STORY ON PAGE B2 09DEC2020 PHILADELPHIA
INQUIRER, AG SHAPIRO IS GUILTY OF MAIL FRAUD BASED ON
RESPONSE AND FILINGS OF LETTER SENT JUNE 20, 2017 PAGE 59 OF A
315 PAGE MOTION FOR RECONSIDERATION. Since he is part of the
ELCTORAL COLLEGE in Pennsylvania, his vote for Joe Biden will also be a
CONSPIRACY to commit MAIL FRAUD with the other electors and is also

AIDING AND ABETTING in concealing the MURDER of a BLACK

FEDERAL EMPLOYEE (and they are violating 18 U.S.C. § 3 Accessory after the

Fact MURDER of Jonthan Luna). In a previous case in Pennsylvania Judge
Clarence C. Newcomer ruled that the Democratic campaign of William G. Stinson
had stolen the election from Bruce S. Marks in North Philadelphia's Second
Senatorial District through an elaborate fraud in which hundreds of residents were
encouraged to vote by absentee ballot, a form of MAIL FRAUD. On many of the
ballots, they used the names of people who were living in Puerto Rico or serving time

in prison, and in one case, the voter had been dead for some time.

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"Substantial evidence was presented establishing massive absentee ballot fraud,
deception, intimidation, harassment and forgery," Judge Newcomer wrote in a
decision made public. <ref> hups:/www.teagle.com/decision/19948921913d8731759 </ref>,

<ref> https:/www.nytimes.com/1994/02/19/us/vote-fraud-ruling-shifts-pennsylvania-senate.html </ref>. Even
though the judge is named as part of the complaint filed for case #1:20-cr-00165 for
MAIL FRAUD, someone else could be the real culprit. Judge Jeffrey Schmehl in
case 2:17-cv-00984 (Appeal 17-2709) specifically ruled that FAILURE TO SERVE
was a reason to deny ALL motions by Mr. Cutler. It was established that ALL
parties FAILED TO EVEN ATTEMPT TO SERVE ALL PARTIES. The same
judge has shown BIAS and MALICIOUS intent to violate EQUAL TREATMENT
under the law, a violation of the United States Constitution Ammend 5, in an effort
to violate Mr. Cutler’s right to redress of grievances and as a violation of 18 U.S.C. §
3 accessory after the Fact MURDER of Jonthan Luna (a BLACK employee of the
FEDERAL GOVERNMEMT). The same persons that MURDERED Luna based on
the injuries may be the same individuls in a Louisiana town of Baldwin that are
responsible for the death of Quawan "Bobby" Charles. A mail fraud complaint has
been filed against Judge Schmehl for his opinion in the case, for making

PERJURED STATEMENTS BY MAIL, (18 USC § 1001) and an effort to protect

parties that defaulted as well as both insurance companies and their lawyers making

false statements by mail in denying claims. Mr. Cutler believes he should be

included in this case because the Safehouse activity would lower the property values

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all over Philadelphia and Pennsylvania and allow illegal drugs to become even more
readily available. This would set a standard for CHINA to attack the United States
even further. The DemoNcrats have pushed for the lowest common demoninater of
activity and depavity to destroy this Republic, and destruction of GOD in favor of the
STATE. This WORLDWIDE attack based on payments and corruption this court
MUST deny them the chance to succeed and promote DRUG DENS in Philadelphia.
On 13MAY1985, then district attorney Ed Rendel allowed FIVE CHILDREN to be
CREMATED ALIVE, based on BOMBs furnished by the [[FBI]], as a form of
eviction. Midge Rendel has failed to RECUSE from 18-3693.

Statements by Jason Confair (Manhiem Township) and Robert DiDominicis
(Haverford Police) fail to serve Mr. Cutler in their latest filing (ECF 41 and ECF 50).
Mr. Cutler believes this constitutes a CONSPIRACY to conceal the murder of a
Federal Employee found on 04DEC2003 (Jonathan Luna) , by persons in the
governments (both federal and state) and also the murder of five children on May 13,
1985 as a form of Eviction with the aid of persons in the FBI. Mr. Cutler had stated

that he believed that the MURDER of JONATHAN LUNA was carried out by the

KLU KLUX KLAN, and concealed with help persons of the FBI. Mr. Cutler based

on his past jobs & training that the COVID-19 pandemic is BIO-WARFARE against
the world from CHINA and CORRUPT OFFICIALS & CORRUPT MEDIA.
Based on his previous contracts in VALIDATION for MERCK , BAXTER, J&J

etc. GMP training and the only 609 cases and 7 deaths in TAIWAN as of

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20NOV2020, THAT THE TESTING COMPONENTS MAY BE TAINTED and
actually causing increase in COVID-19. This is based on PREVIOUS actions by

CHINA. <ref>https:/www.govinfo.gov/content/pkg/CHRG-1 1 Ohhrg53183/html/CHRG-110hhrg53183.htm </ref>

<ref> https:/Avww.nytimes.com/2008/03/06/health/O6heparin.htmi</ref>

<ref>https://www.latimes.com/archives/la-xpm-2008-mar-20-na-fda20-story.html</ref>

<ref>https://en.wikipedia.org/wiki/2007_pet_food_recalls </ref>. Based on these facts, the current non-
binding mandate from the Dr. Levine and others in other STATES may be trying to
increase the number of cases, to HARM the UNITED STATES based on bribes and
TREASON by mostly DemoNcrats and some Republicans posing who are RHINO’s.
Every Public Health official that fails to recommend mass Pneumonia vaccinations
is complicit in the deaths in the United States. Although Thanksgiving is not a
religious holiday, many people say a prayer before the meal and therefore the
restrictions on Thanksgiving is a VIOLATION of the ESTABLISMENT
CLAUSE, also since it tries to limit prayer services in PA., INTERFERENCE IN
INTERSTATE COMMERCE, and the order also violates EQUAL

PROTECTION since commuters are exempt in Pennsylvania. Forced testing
without a court order violates the FIRST Amendment, just like you cannot be forced
to give a DNA sample. Mr. Cutler owns stock in Merck, which manufactures

PNEUMOVAX23, and the actions of Dr. Levine have depressed the value of the

company, and should be prosecuted just like Martha Stewart was charged and put in

prison, but also pushing sales at AMAZON. On 17JUL2020 TOM WOLFE issued a

DECREE that LEBANON COUNTY cannot get about 12.8 million directed to the

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county via the CARES act and VIOLATED 18 U.S.C. § 653, misuse of federal
funds and Equal Treatment Under the law (Ammend 14), since LANCASTER
COUNTY did the exact same thing. <ref>
https://pittsburgh.cbslocal.com/2020/07/22/lebanon-county-sues-governor-tom-wolf/ </ref> On
or about 14AUG2020 Tom WOLF reversed himself but dictated that Lebanon
County MUST use 2.8 million of the CARES act funding for MASK
ADVERTISING in direct support of Joe Biden’s campaign focus <ref>
https://papost.org/2020/08/14/reversing-course-wolf-releases-cares-act-funding-to-lebanon-
county/ </ref>, which is five years since the USCA in Washington ruled Mr. Cutler
had the right to Defend the Establishment clause (case 14-5183) and 75 years since

VJ day of WWII. DR. FAUCCI, KRISTEN WELKER and Persons of the CDC

have LIED about an Approved Vaccine to Stop COMPLICATIONS from the FLU

& COVID-19 <ref>htips://www.futuremedicine.com/doi/10.2217/fea-2020-0082</ref>. They are called
PNEUMOVAX23 and Prevnar13 which are the PRIME COMPLICATION TO
THE COVID-19 that result in DEATH from pneumococcal disease <ref>
https://www.diabetes.org/diabetes/medication-management/flu-and-pneumonia-shots</ref>. KRISTEN
WELKER’S HUSBAND IS A MARKETING EXECUTIVE FOR MERCK. On
22JUN2020 a PETITION FOR IMMEDIATE INJUNTION PENDING APPEAL
was finally put online in case 20-1449 even though it was actually filed on
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v. JOESEPH JOHNSON. The office of the president responded to this by

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21MAY2020. The president gave a shor. NEWS CONFERENCE on 22MAY2020
demanding all places of worship be allowed to open. Employees of the federal
government and others have been involved in a criminal conspiracy to OBSTRUCT
JUSTICE and damage the United States. In case #20-5143 DC USCA Nancy Dunn
obstructed documents mailed and sent to <ref> prosefilings@cadc.uscourts.gov </ref>
Mr. Cutler had sent a 330 page document on 17JUL2020 but that document
vanished, just like the white bunny HARVEY, who is invisible in the picture of Mke
Pence with his bunny Marlon Bundo on 16NOV2020 on the front page of the
Philadelphia Inquirer. The USPS tacking number 9510 8141 4908 0199 0615 60 is
not reporting results. The lawyers in sending Mr. Cutler the letters by MAIL makes
them all a party to the CONSPIRACY to INTERFERE IN INTERSTATE
COMMERCE. Mr. Cutler’s brother FRED had recently got a job as an USHER

for the PHILADELPHIA PHILLES for the 2020 season, but because of the

CONSPIRACY to close the states there will be no live viewing of games this

season. Mr. Cutler’s brother and approximately 69 MILLION other people
(approximate attendence of 2019 baseball season) have been denied the RIGHT of
PURSUIT OF HAPPINESS as is part of the DECLARATION OF
INDEPENDENCE. Thomas Wolf and Jim Kenney have allowed almost
unrestricted protest marches with POLICE escorts, but cancelled other parades and
events. Mr. Cutler had proposed an option to have games played in every city. As

stated by Judge James C. Dever III ruling 16MAY2020 there is NO PANDEMIC

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EXZEMPTION IN THE CONSTITUTION. The news media in concert with
individuals in the DEMOCRATIC party have and some that pretend to be
REPUBLICANS have conspired to impact the UNITED STATES. Mr. Cutler filed a
complaint with the OIG of PBS/NPR on 10SEP2020 for 18 USC § 653-MISUSE OF
FEDERAL FUNDS FOR NOT REPORTING THIS STORY OR CASE. THIS IS
A CRIMINAL MATTER. The NEWS MEDIA AND OAGs ARE AIDING
AND ABETTING in concealing the MURDER of a BLACK FEDERAL
EMPLOYEE just like Cecily Aguilar, 22 has been charged (and they are violating
18 U.S.C. § 3 Accessory after the Fact MURDER of Jonthan Luna). The Employee
is Jonathan Luna <ref> hitps://en.wikipedia.org/wiki/Jonathan Luna </ref> and Beranton
Whisenant <ref> https://en.wikipedia.org/wiki/Beranton Whisenant </ref> Justin Zemser and
Sean Suitter. The recent murder of Roy Den Hollander in New York for challenging

the news media (case 1:16-cv-06624) is just another crime concealed from the

public. That case is included by reference and joined to this one. The crime-fraud

exception was first recognized in the United States over one hundred years ago, and
the policy behind it is well-defined. (The crime-fraud exception was first recognized
in the United States in Alexander v. U.S., 201 U.S. 117, 121 (1906).) The legal
community does not deem discussions concerning future wrongdoings, such as
fraud, that occur during an attorney-client communication worthy of protection. Id.
at 562-63. While the practice of law encourages full and frank communications

between the attorney and client, only communications concerning past wrongdoings

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are protected. Mr. Cutler had previously been elected to Public Office as the TAX
COLLECTOR of East Lampeter Township, Lancaster County Pennsylvania, based
on an Election in November 2013. and took the Oath of OFFICE prior to his first
day on the job, on 06JAN2014. Mr. Cutler filed his first lawsuit on 31DEC2013
regrding violations of Religious Freedom as case number 1:13-cv-02066. He was
granted the right to challenge OBAMACARE in Appeal as case 14-5183 on
14AUG2015 for violations of the ESTABLSHMENT CLAUSE. Mr. Cutler was
removed from Office after 27 months based on PERJURED TETIMONY, and a
CONSPIRACY TO COMMIT MAIL FRAUD and BANK ROBBERY. In
Manhiem township Patricia Kabel (elected the same year as Mr. Cutler) was
harrased in a similar manner was equally harrased in court and the township spent

about 160,000 of taxpayer money to make her leave office. <ref>

https://lancasteronline.com/news/local/commonwealth-court-denies-manheim-township-school-districts-appeal-in-

long-running-tax-collector-case/article_127508cc-c2e5-11ea-864a-8b754638d23f.html </ref>Based on these ~

actions Mr. Cutler investigated the parrties involved and tried to have a FEDERAL

JURY TRIAL to clear his name. Since he found no law firm would represent him

based on contacts with the FBI or law enforcemnt. The lancaster county treasurer
was apponted to replace Mr. Cutler in the collection of taxes and never had a surety
bond until 18JUL2018 <ref> https://lancasteronline.com/news/local/lancaster-county-treasurer-without-

insurance-for-millions-in-tax-dollars/article_ef5b90bc-89d5-11e8-8ace-77712e721cba.htm! </ref> No Prosection

of the treasurer was ever instituted, a clear violation of EQUAL TREATMENT

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On 20MAY2020. Mr. Cutler won a motion for reconsideration in the court based
on EQUAL TREATMENT under the law in this court (case # 1:17-cv-01740
06NOV2017), but the judge failed to award any compensation as requested and the
clerks removed one defendant from the case an tampered with the document.
Pennsylvania has previously had a number notorious crimes of public employees
<ref> https://en.wikipedia.org/wiki/Kids_for_cash_scandal </ref> (including judges Mark Ciavarella &
Michael Conahan) convicted of federal crimes that resulted in convictions. Mr.
Cutler filed foran IMMEDIATE INJUNCTION PENDING APPEAL FOR
ALL juridictions of the United States, based on the ruling in case # 4:20-cv-00081
in the United States District Court for the Eastern Ditrict of North Carolina on
16MAY2020 by Judge James C. Dever III. Since Governor Roy Cooper has made
public statements that he does not intend to appeal, this is settled law. Mr. Cutler
had filed a Petition to DENY the Motion For Summary JUDGEMENT and to
consolidte related cases of religious discrimination by the government in case USCA
20-1805 on 14MAY2020 and the document and was not put online until
20MAY2020. The document filed by Brian L. Calistri on May 8, 2020 contains
some perjured statements and since it was sent by mail constitues Mail Fraud and
Perjury (18 USC § 1001) and constitutes a CONSPIRACY to conceal the murder
of a Federal Employee found on 04DEC2003 (Jonathan Luna) , by persons in the

governments (both federal and state) and also the murder of five children on May

13, 1985 as a form of Eviction with the aid of persons in the FBI, by furnishing the

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bombs. Mr. Cutler had stated that he believed that the MURDER of JONATHAN
LUNA was carried out by the KLU KLUX KLAN, and concealed with help of the
FBI. The judge dismissed the case even though 5 parties defaulted and were
properly served. Based on ECF #5 in case # 2:17-cv-00984 by the late Thomas
O’Neill, Mr. Brian L.Calistri’s motion failed to notify the parties that have
defaulted in this case and therefore should have been DENIED. Mr. Cutler had
made a complaint by mail to the DA office in Lancaster County, Pennsylvania and
York, County Pennsylvania. Mr. Cutler had also filed a motion to intervene on

22SEP2019 in the case of Tami Levin in federal court case 2:19-cv-03149 (ECF 5)

which named DA Larry Krasner as a Defendant in the case. Mr. Cutler also filed a

response to the motion filed in oppoition on 25SEP2019. Even though the document
filed on 25SEP2019 contained evidence of OBSTRUCTION OF JUSTICE and
VIOLATIONS of EQUAL PROTECTION, Judge Eduardo C. Robreno issued an
order on 090CT2019 which not only denied Mr. Cutler’s right to intervene but also
violated the United States Constitution Ammend 1, by making a THREAT BY
MAIL if Mr. Cutler filed any additional motions in the case, limiting Mr. Cutler’s
right to PETITION THE GOVERNMENT FOR REDRESS OF
GRIEVIENCES. Tami Levin was replaced by Movita Johnson-Harrell who
pleaded guilty to the theft of approximtely half million dollars. Mr.Cutler had filed
objections to limit the power of the Tom Wolf to classify that religion as a NOT a

LIFE SUSTAINING activity in the Commonwealth of Pennsylvania. Mr. Cutler

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filed his first lawsuit on 31DEC2013 regrding violations of Religious Freedom as
case number 1:13-cv-02066. He was granted the right to challenge OBAMACARE
in Appeal as case 14-5183 on 14AUG2015 for violations of the ESTABLSHMENT
CLAUSE. To this end Mr. Cutler filed documents in case 4:18-cv-00167-0 to
transfer it to Pennsylvania, but it was DENIED 21JAN2020. Mr. Cutler filed an
Appeal for the order on 04FEB2020 in the United States Court of Appeals Fifth
Circuit. When that was illegally ignored. Mr. Cutler filed documents in
Pennsylvania. Mr. Cuttler had requested that district court case number 4:20-cv-
0064 in the United States District Court for the Northern District of Mississippi
[TEMPLE BAPTIST CHURCH et al. v. CITY OF GREENVLLE et al.], and
case number 1:20-cv-00323 in the United States District Court for the Western
District of Michigan [KIMBERLEY BEEMER et al. v. GRETCHEN WHTMER

et al.| and case number 1:20-cv-01130 (Mr. Cutler had a typing error and

previously wrote 1:20-cv-01120) in the United States District Court for the District

of MARYLAND, BALTIMORE DIVISION [ANTIETAM BATTLEFIELD KOA
et al. v. LAWRENCE J. HOGAN et al.] are also cases that should be part of this
consolidation. All charges in each case should be included by reference for all civil
cases as if they are filed with this filing, for JUDICIAL EFFICIENCY. Judge
Catherine C. Blake of Maryland had one of the documents returned, obstructed
justice, and violated 18 U.S.C. § 3 Accessory after the Fact MURDER of Jonthan

Luna, on 03JUN2020 (birthday of Jefferson Davis after it was stamped in on

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01JUN2020) after the office of AG in Maryland had responded to Mr. Cutler. Mr.
Cutler has previously called Mr. Wolf a member of the KLU KLUX KLAN in
documents related to this case in federal court. <ref>_hitps://forward.com/fast-
forward/444442/nj-man-accused-of-ordering-attacks-on-synagogues-released-from-jail/ </ref>Despite Mr.
Cutler filing a request with the state prior to the end of the WAIVER deadline that
ALL BUSINESSES in Pennsylvania be considered LIFE SUSTAINING , Mr.
Cutler has never heard back about his request until 12MAY2020. Mr. Wolf also
NOW has a NEW group to TRACK everyone in PENNSYLVANIA that has the
COVID-19 virus or other secrect police duties. Based on the case of the aids law
project tracking people that have one type of virus is unconstitutional, and exposing
their idenity is equally unconstitutional. The concept of EQUAL PROTECTION
UNDER the LAW is a cormerstone of both the United States Constitution and the
Commonwealth of Pennsylvnia. Based on the story about Mike Du Toit of South
Africa <ref> https://www.dailymail.co.uk/news/article-2478889/White-supremacist-Mike-du-Toit-plotted-kill-
Nelson-Mandela-jailed,html </ref> the BOKREMAG was just another name for KLU
KLUX KLAN. Also Tom Wolf made statements that said that people cannot be

evicted until July yet in there are 6 pges of Legal Notices in the Inquirer on

O7MAY2020 that use WRIT OF EXECUTION to sieze property. Recently in

New York white police officers were beating a BLACK MAN for failing to practice
social distncing (neither police officer was wearing a mask), and they should be

prosecuted for violating the same law that they were alledgely enforcing. It is

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notable that Wikipedia has SCRUBBED Mike Du Toit from their records
(effectively trying to rewrite history). Taiwan is about 100 miles from CHINA, yet
has less than ten deaths and 500 confirmed cases. In the Appeals for the Fifth
Circuit the Order from the United States Northern District of Texas dated January
16, 2020 denying Plaintiff's MOTION FOR RECONSIDERATION OF MOTION
TO CHANGE VENUE FOR CASE 4:18-cv-00167-0 FROM STATE OF TEXAS
TO PENNSYLVANIA AND COMBINE CASE WITH 5:19-cv-00834 , and the
motion denying Plaintiff's motion of December 30, 2019. The current order from
that court is in error since the USCA order of December 18, 2019, remanded the
case back to District Court and for further disposition and was unopposed and is still
unopposed. Mr. Cutler had previously filed a document by MAIL on March 1, 2019
but it was illegally discarded. He then filed on O7MAR2019 in person (Document
00514863727) , and it was put online March 7, 2019. The office of the clerk
decided it would be ignored. Mr. Cutler filed a NOTICE OF APPEAL on
27JAN2020, (Document 00515289904 International Holocaust Remembrance Day),

and it was only put online when Mr. Cutler informed the Deputy Clerk Mary

Francis Yeager that she was violating Mr. Cutler’s civil rights. It was put online

January 29, 2020. A violation of EQUAL PROTECTION by employee of the
federal government, which treated the two documents differently and potentially hid

the document from the review of the judges considering an ENBANC review. Mr.

Cutler subsequently filed a PETITION FOR ENBANC HEARING AND TO

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TRANSFER RESIDUAL CASE TO PENNSYLVANIA AND COMBINE WITH
CASE 5:19-cv-00834, this document was put online as document number
00515298284 on 04FEB2020, the same date it was filed in court. In the case both

Deputy Clerk Mary Francis Yeager and Deputy Clerk Roeshawn Johnson

denied the petition. This violated the United States Constitution Ammend 1 and 5.

It also also violates Mr. Cutler’s rights under the Sixth Amendment of the
Constitution. Mr. Cutler then on 04MAR2020 filed a 380 page document in this
case (2:19-cr-00367). Within 24 hours of the filing Mr. Cutler got a threat by phone
from an unidentified individual about the filing. On 06MAR2020 Mr. Cutler filed a
nine page correction to the document previously filed. When the document was
downloaded from the federal pacer system it was devoid of any markings. On
12MAR2020 Mr. Cutler filed a MOTION TO VACATE ORDER DENYING
ORDER OF RECONSIDERATION — ON 04MAR2020 FOR IMPROPER
SERVICE — BRADY VIOLATION AND COMBINE WITH CASE NUMBER
2:20-cv-00735 (GRANT v. PHILADELPHIA) AND 4:18-cv-00167-0 FROM THE
NORTHERN DISTRICT OF TEXAS AND DEFAULT JUDGEMENT. At that
time Mr. Cutler used the terminal in the Federal Courthouse to view some dockets.
In case 2:19-cr-00367 Mr. Cutler noticed the copy of the document (ECF 99) NOW
was properly marked. Based on this Mr. Cutler printed a second copy of the
document. Based on Elouise Pepion Corbel et al. v. Gale v. Norton, et al. (03-5262,

03-5314). Mr. Cutler requested the district court cases be consolidated in

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Pennsylvania and deliberations allowed on an expedited basis since they both

involve related issues and the Supreme Court previously has indicated they will not

consider the case this term, even though oral arguments were already made. This
court had allowed the House of Representatives to be an Intervenor. The petitioner,

Jeffrey Cutler, acting pro se, respectfully previously identified that the speaker of the
house of representaives, in her official capacity, as the speaker of the House of
Representatives (and former resident of Baltimore, Maryland).

This is the same city that Johnathan Luna on 03DEC2003 (a black federal
employee) left his office at approximately 11 PM and was found dead the next
morning (04DEC2003)in Lancaster County, Pennsylvania with 36 stab wounds,
neck back and genitals, but the cause of death was drowning as per the Medical
Examiners. The FBI tried to force two Medical Examiners to say the MURDER
was a Suicide. Sean Suiter a Baltimore Police officer died from a MURDER that
was later classified a suicide during a special arrest, 1 day before he was to testify.
Other individuals have died unexpectedly, possibly of murder including Beranton
Whisenant Jr. (also a federal prosecuter), and Kobe Bryant. Mr. Cutler’s cousin
Robert Needle, (who died unexpectenly in May 2017) may have previously contacted
Mr. Beranton Whisenant, who died on or about 25MAY2017. The medical records
of Jonathan Luna have finally resurfaced and are currently trying to be
sealed/hidden by the current DA in Lancaster County. Mr. Cutler had stated in
public documents that he believes Mr. Luna was murdered by the KLU KLUX

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KLAN. Mr. Cutler also now believes that THOMAS C. WALES was also

MURDERED by the KLU KLUX KLAN 110CT2001.<ref>
https://www.fox43.com/article/news/jonathan-luna-murder-mystery-2003/521-2229b272-9355-43a8-8163-506440862577

</ref><ref>

https://lancasteronline.com/news/local/Inp-county-clash-over-newly-discovered-records-in-jonathan-
luna/article_01ba656a-483b-11ea-86ed-43533b224839.htmi </ ref><ref>

httos://lancasteronline.com/news/local/lancaster-county-judge-gives-prosecutor-days-to-say-why-
jonathan/article 66aa5a86-49ec-1 1ea-8d57-37ffa1b9ed27.htm! </ref><ref>

httos:/Avww.wgal.com/article/newly-discovered-documents-are-related-to-investigation-into-death-of-federal-prosecutor-
jonathan-luna/30783745 </ref><ref>

https:/Avww.pennlive.com/news/2020/02/re-discovery-of-records-on-mysterious-death-of-federal-prosecutor-prompts-
fight-between-da-news-media.html </ref><ref>

https:/Awww. youtube.com/watch?v=cL AidUHDwi8 </ref> <ref> https:/Avww.nbcnews.com/news/us-
news/disgraced-baltimore-police-officer-says-detective-who-was-killed-testifying-n844831

</ref> <ref> https:/Avww.cnn.com/2018/08/29/us/baltimore-police-detective-sean-suiter-suicide/index.html </ref>

Nancy Pelosi made a false statement in court via her lawyer (Mr Donald B. Verilli

Jr.) stated “[N]o one would be hurt and the greater justice would be attained” and
violated (18 USC § 1001) on 03JAN2019 on page 24 of the filing that was made in
case 4:18-cv-00167-0, a significant federal crime. It is interesting that the law firm of
DLA Piper (Kamala Harris’ husband works for this firm and was part of the case
against Mr. Cutler and also filed a motion on this same date against him because he
dared to continue to challenge the ACA . During a speech at the National
Association of Counties’ annual Legislative Conference on 9 March 2010, in
Washington D.C. <ref> https:/vww.youtube.com/watch?v=QV7dDSgbago </ref>

she stated “We have to pass the bill to find out what is in it”. The petitioner “found

out what was in it” and filed a Pro se lawsuit 31DEC2013 in Wasington, DC case

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1:13-cv-2066. He also via lawyers hired had previously filed a Writ of Certiorari
for the Supreme Court of the United States (15-632) and inserted that same writ in
United States Court of Appeals case 17-2709, page 314A, via district court case
number 2:17-cv-00984 page 10. Since the individual mandate of the Affordable
Care Act is now null and void based on the rulling of the USCA and the other
provisons of the bill should also be eliminated to preserve the constitution. Mr.
Cutler paid the docketing fee for the appeal in case 14-1449 to preserve the right of
appeal of Mr. Johnson. His lawyer previously made a false statement to the court
in his request to withdraw, based on the documents filed by Mr. Johnson (ECF
100-103) a significant crime (18 USC § 1001). The current orders of Tom Wolf in
Pennsylvania violate GMP procedures and allows the commonwealth to track
every individual on the Pennsylvania Turnpike. (See history of IBP recalls of beef
procedures that using a delivery ADDS RISK TO EXPOSING EVERYONE.) Mr.
Cutler had worked for multiple pharmaceutical and food compnaies including,
HEINZ, CAMPBELLS, MERCK, GSK, BAXTER and others. Mr. Cutler was
previously in charge of coordinating the Y2K and putting together the contingency

plan for MERCK Inc., West Point site. It is Mr. Cutler’s belief COVID-19 is

actually an excuse for MASS GENOCIDE against individuals that are deemed

undesirable including Jewish and black Individuals and to discontinue pensions via

MURDER (see <ref> https://en.wikipedia.org/wiki/Joyce Gilchrist </ref>. It is very easy to

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Bribe, coerce or pay individuals to bear false witness against another individual and
violate THALL SHALL NOT BEAR FALSE WITNESS and 18 USC § 1001. The
orders Thomas Wolf and other leaders have issued effectively allows the
governments in the United States to discontinue religion in and in the State

of Pennsylvania, by a member of the KLU KLUX KLAN or related organization.
Other members of the KLU KLUX KLAN in the United States and the World, are
all organized to take on the HOAX. This was previously called Agenda 21. As of

16MAR2020 Canada was still allowing flights from CHINA and those persons

could be carrying hazardous bio material simply enter the United States from

Canada. When Mr. Cutler was working for Merck as a contractor some individuals
were caught stealing trade secrects by security at the West Point site. It has

been known China has been effectively using live people for transplants for years.
Mr. Ellyahoo has stated the word in HUNGARY for SIN is pronounced VIRUS.
The closing of all CASINOS in the STATE is to get 100% of all gambling
revenue, to have a total monopoly on all sources of payment organized for a
complete Klu Klux Klan takeover. Jeffrey Smiles has told Jeffrey Cutler that the
Allentown Federal Courthouse contains NAZI insigna in the tile work in the building
(pending supreme court case # 19-8538 ), and there is a seven acre compound in
Southern Lancaster county that is owned by the Klu Klux Klan. Mr. Smiles has
corrected Mr. Cutler’s statement that the insigna is actually in the Post Office tile

across from the courthouse. This all may have a connection of Joe Biden to China and

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the transfer of technology to them that has violated the world’s civil rights, except

Taiwan with less than 10 deaths as of today. Joe Biden an Bill Cosby are named in

the same federal lawsuit supposedly about stolen art (USCA 17-1770). Also Based

on case # 19-cv-2407 in the Southern District of California, by Cyrus A. Parsa which
should be included by reference these claims are true and correct and the book
Bloody Harvest <ref> httos:/www.bookdepository.com/Bloody-Harvest-David-Matas/9780980887976 </ref>
Based on Mr. Cutler’s experience, Engineering Experience, and the case of Joyce
Gilchrist <ref> https://en.wikipedia.org/wiki/Joyce Gilchrist </ref> persons in Federal
government may have violated the Logan Act Stat. 613, 18 U.S.C. § 953 with
China. Since Mr. Wolf’s order is illegal, all the Insurance companies have
conspired to not pay BUSINESS INTERUPTION CLAIMS based on the order of
Tom Wolf, just like 2 different insurance companies failed to compensate Mr.

Cutler for his loss (Erie and State Farm Insurance) and conspired to Commit Mail
Fraud even though Josh Shapiro was served as part of the lawsuit naming the PA
insurance department. Mr. Wolf’s order also violates the Federal Voting law Voting
Rights Act of 1965, which prohibits any jurisdiction from implementing a "voting
qualification or prerequisite to voting, or standard, practice, or procedure ... ina
manner which results in a denial or abridgement of the right ... to vote on account

of race," color, or language minority status. Based on the recent unsealed pleadings

of Judge Domenick Demuro (press release 20-472) , voter fraud has been in

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Pennslvania a long time. The use of ABSENTEE ballots that are collected by

individuals denies the minor protection of MAIL FRAUD, usually asociated with
this type of voting. Mr. Cutler has attached a handicap placard P15703J renewal that
also may be voter fraud in Philadelphia and Mail Fraud. Since that person never
lived at that adress. Mr. Cutler had formally notified the court of voter fraud in
Pennsylvania as of 13DEC2016 in case # 2:16-cv-06287. The DOJ announced the
guilty plea of a judge of elections in Philadelphia 21MAY2020, the day after Mr
Cutler filed an Injunction Pending Appeal in case 20-1449, that prohibits ANY
JURISDICTION in the UNITED STATES from specifyin HOW TO PRAY. Mr.
Cutler also notifies this court that the failure of the Dams in the state of

Michigan may be the result of a deliberate act to prevent and obscure the lawsuit of
governor Gretchen Witmer’s unlawful act from being persued in federal court case
1:20-cv-00323. DR. FAUCCI, KRISTEN WELKER and Persons of the CDC have
LIED about an Approved Vaccine to Stop COMPLICATIONS from the FLU &
COVID-19 <ref>ntps://;www.futuremedicine.com/doi/10.2217/fea-2020-0082</ref>. They are called
PNEUMOVAX23 and Prevnar13 which are the PRIME COMPLICATION TO THE
COVID-19 that result in DEATH from pneumococcal disease <ref>
https://www.diabetes.org/diabetes/medication-management/flu-and-pneumonia-shots </ref>. KRISTEN
WELKER’S HUSBAND IS A MARKETING EXECUTIVE FOR MERCK. Based
on Tigers in the Bronx zoo and Goririllas in San Diego zoo being diagnosed with

COVID-19, as well as one million mink in the Netherlands there is ZERO

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evidence that the tigers, Goririllas ever failed to practice social distancing, because

the person would be called LUNCH. HIV has NO VACCINE. This
INVALIDATES ALL THE MODELS being used to justify the restrictions. Mr.
Cutler based on standard engineering concepts the death of Philadelphi Police
Lieutenant James Walker, Seth Rich, Bre Payton, Edgar Rosenberg, Lorna Breen,
Ellen Greenberg, and others may be MURDERS of the KLU KLUX KLAN, and 1-
2% of all law enforcement in the United States may be members or share their views.
Also some elected Officials and persons in the military all branches. An 8 year old
was raped in Bryant elementary school and his parents were denied the ability to sue
because they waited six months. Based on this the charges against William Henry
Cosby should be vacated. George Soros and other persons similarly situated may be
trying to destroy the United States economy and the Dollar by bad sharing of
information, just like on 25MAY1979 American Airlines Flight 191 DC-10,

crashed based on not sharing data. Mr. Cutler was trying to fly to Philadelphia that
day from Chicago. My friend Daria from Russia, stated that collapse of the dollar
was a Stated goal of persons. Even in case, 1:20-cv-01130 that the document legally
filed is RETURNED for failing to file a motion to intervene PRIOR to filing the
actual document, violating equal protection under the law and the United States
Constitution Ammend 5 and Ammend 1 by denying the ability for redress of

grievances. Also based on conflicting death reports, declaring a MURDER a

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SUICIDE is one way to conceal MURDERS by POLICE or ELECETED officials
with the aid of News Outlets. Previous corruption in the United States based out of
Illinois called project GREYLORD was a 3.5 year activity. Mr. Cutler lived in
Illinois during some of this time frame and the joke voting saying was VOTE
EARLY AND OFTEN and JUST BECAUSE YOU ARE DEAD IS NO REASON

NOT TO VOTE <ref> https://en. wikipedia.org/wiki/Operation_Greylord </ref>

<r ef> https://Awww.chicagotribune.com/nation-world/chi-chicagodays-greylord-story-story.html </ ref> <ref>
https:/www.latimes.com/archives/la-xpm-1987-12-10-mn-28034-story.html </ref> <ref> hups://tbistudies.com/wp-

content/uploads/2017/04/FBI-Grapevine-Operation-Greylord-Hake.pdf </ref>

It was RECENTLY announced that Rabbi Yisroel Goldstein was charged,
SENTENCED , while the individual that MURDRED Lori Gilbert-Kaye is still
awaiting trial (John Timothy Earnest) and Jeffrey Lyons is out on bail awaiting to

start his SENTENCE for a 55 MILLION DOLLR FRAUD <ref>

https://www.nbcsandiego.com/news/local/rabbi-shot-in-poway-synanoque-attack-pleads-quilty-to-tax-fraud-
docs/2365089/ </ref> <ref> https://en.wikipedia.org/wiki/Poway synagogue shooting </ref>

CHINA BREAKING THE AGREEMENT WITH HONG KONG IN 23 YEARS
MEANS THEY WILL BREAK ANY AGREEMENT INCLUDING THE USE OF
BIO-WARFARE. The attacks on the USS McCain, Fitzgerald, Bonhomme
Richard and effects in TAIWAN are evidence of cooridinated attacks on the

United States which are being hidden from the general population like the civil

case against Nancy Pelosi. China has been bribing CIA employees and others for

years. There is no reason what Joe Biden did should be ignored. <ref>

https://thehill.com/policy/national-security/5 12385-former-cia-officer-charged-with-selling-us-secrets-to-china

</ref> <ref> httos:/vww.bbc.com/news/world-us-canada-48319058 </ref>

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<ref> https:/Avww.bbc.com/news/world-us-canada-50520636 </ref> <ref>

 

httos:/Avww.nytimes.com/2019/09/24/us/china-intelligence-sentence.htm| </ref>

The Story <ref> https:/www.mercurynews.com/2017/06/14/james-hodgkinson-shooting-facebook-
republicans/ </ref>

James Hodgkinson may have had KKK support, because he was using SKS rifle
with FIXED 10 ROUND MAGAZINE and FBI COVERED FOR OTHER
SHOOTERS BEHIND HIM!!! The rifle James Hodgkinson was using required
loading with STRIPPER CLIPS!! It uses the SAME 7.62 round as the AK-47
VARIANT. HE fired 200 rounds in 2 minutes while WALKING AND
SHOOTING and it was COVERED UP!! NBC BROADCAST ON THE
BOTTOM SCROOL CAPTION AT THE TIME and stated by Senator RAND

PAUL!!! The NEWS MEDIA IS AIDING AND ABETTING in concealing the

MURDER of a BLACK FEDERAL EMPLOYEE just like Cecily Aguilar, 22 has

been charged. The Employee is Jonathan Luna <ref>
https://en.wikipedia.org/wiki/Jonathan_Luna </ref> and Beranton Whisenant <ref>
httos://en.wikipedia.org/wiki/Beranton_Whisenant </ref>, Sean Suiter from the Baltimore
Police department. <ref> https://blackthen.com/black-mysteries-unsolved-death-jonathan-luna/
<ref> For Years there has appers to have been a KLU KLUX KLAN serial rapist in
East Lampeter Township, Pennsylvania. This included Lisa Michelle Lambert and

possibly currently Linda Stoltzfoos and previous possible MURDER of JERRY

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MURPHY of WI105 and covered up by the MEDICAL EXAMINER <ref>

htips://lancasteronline.com/news/local/da-maintains-autopsy-in-luna-murder-mystery-should-remain-
sealed/article_ca83b358-c6de-1 1ea-a3eb-67597e2be2cf.htm!

</ref> <ref> https://redistricting lls.edu/files/PA%20corman%2020180724%20brief.pdf </ref> East
Lampeter previous LAWSUITS, theft of PROPERTY <ref>
https://law.justia.com/cases/federal/district-courts/F Supp2/17/394/2488681/ </ref> $ 540,000 theft
of LIFE savings and sent to PRISON 2008 case Levi Lapp Stoltfoos (MAYBE
RELIGIOUS FREEDOM) <ref> https://dockets.justia.com/docket/circuit-courts/ca3/17-1772
</ref> On 18SEP2020 Justice Ruth Bader Ginsburg died on Rosh Hashanah, the
Jewish New Year. Also on September 18, 2020 at 2:48 pm Jeffrey Cutler filed a 324
page MOTION TO RECONSIDER MOTION TO INTERVENE AND COMBINE
CASES FOR JUDICIAL EFFICIENCY AND OBSTRUCTION OF JUSTICE AND
CONSPIRACY TO COMMIT MAIL FRAUD AND OTHER CRIMES AND
SUMMARY JUDGEMENT in case #1:20-cr-00165, United States v. Kevin
Clinesmith in Washington DC. The previous document was destroyed by the clerk or
Judge in the case. Watch https://www. youtube.com/watch?v=mgCle8F_zUk for more
information and read comments sorted newest first. Also see <ref>

httos:/Awww.americanfreedomlawcenter.org/case/jeffrey-cutler-v-u-s-dept-of-health-

human-services/ </ref> and <ref> https://www.brennancenter.org/legal-work/corman-v-torres
</ref><ref> https://redistricting .lls.edu/files/PA%20corman%2020180724%20brief.pdf </ref><ref>

httos://www.pacermonitor.com/public/case/27231978/CUTLER v PELOSI et_al </ref> As an Official

Whistle Blower in the Commonwealth of Pennsylvania, Jeffrey Cutler declares the

actions Mr. Krasner, the Mayor of Philadelphia, and the Governor were a concerted

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effort to legally Murder Jews and Blacks. Mr. Cutler ran for governor as a Pro Se
candidate against Thomas Wolf and had an advertisement in the METRO paper on
240CT2018 page 15 :titled “SAVE BILL COSBY”. The government cannot tell you
how to PRAY enforced by RELIGIOUS POLICE!!! The DEMONCRATS are using
FEAR and JUNK science to try and bring back CONCENTRATION CAMPS just
like EXECUTIVE ORDER 9066 by FDR. The ORDER was never declared
UNCONSTITUTIONAL, just SUSPENDED, revoked by Ford when he was
president. On 04SEP2020 at 10:14 PM a [[FEC]] <ref>

httos://en.wikipedia.org/wiki/Federal Election Commission#First Amendment issues </ref> complaint

was filed against [| Youtube]] for illegal edits of comments as an "IN KIND"

contribution to [[Joe Biden]], [[Nancy Pelosi]], and MISUSE OF FEDERAL FUNDS
— (8 US.C. § 653) involving [[NPR]] and [[PBS]] networks and also AIDING AND
ABETTING in concealing the MURDER of [[Jonathan Luna]] <ref>
httos://en.wikipedia.org/wiki/Jonathan_ Luna </ref> and [[Beranton Whisenant]] <ref>
httos://en.wikipedia.org/wiki/Beranton_Whisenant </ref>. This is documented in federal court
case 5:19-cv-00834 filed 26FEB2019 in [[Philadelphia]] against [[Nancy Pelosi]]
called (CUTLER v. PELOSI, et al.) and later against [[Kevin Clinesmith]]. On
20MAY2020 at 4:10 PM Jeffrey Cutler filed an INJUNCTION PENDING appeal in
USCA case 20-1449 to REQUIRE EVERY JURISDICTION in the UNITED

STATES unrestricted PRAYER! On 12JAN2021 Jeffrey Cutler filed a MAIL

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FRAUD complaint against AMAZON and Jeffrey Bezos and on 11JAN2021 filed a

MAIL FRAUD complaint against TWITTER and Jack Dorsey. The MAIL FRAUD
complaints are based on being a INVESTOR in both companies and the ANNUAL
REPORTS OF BOTH COMPANIES that are MAILED to Mr. Cutler and other
investors and statements in those reports.

On 11JAN2021 Jeffrey Cutler FILED A MAIL FRAUD COMPLAINT AGAINST
TWITTER for statements in their ANNUAL REPORT that is MAILED. TWITTER
CLAIMS THAT THEY DO GOOD AND DECIDED THAT DONALD TRUMP'S
ACCOUNT IS SUSPENDED EVEN THOUGH THERE IS TIME STAMPED
PROOF OF ELECTORAL FRAUD IN PENNSYLVANIA, ORIGINALLY FILED
IN FEDERAL COURT 200CT2020 PAGE 169 OF CASE 20-2936

PAGE 9 OF THE LINK BELOW !!<ref>
https://www.courtlistener.com/recap/gov.uscourts.pamd. 127057/gov.uscourts.pamd.127057.181.0.pdf </ref>

THE DROP BOXES IN PENNSYLVANIA FAILED TO HAVE HARD COPY
RECEIPT AVAILABLE DESPITE ORDER FROM TORRES ON 12APR2018 TO
THE CONTRARY. ASHLI BABBITT WAS ACTING AS A CITIZEN
JOURNALIST AND SHE HEARD THE CONSPIRACY WITH KKK/ANTIFA
AND THE POLICE, THAT IS WHY SHE WAS MURDERED!! IN CHINA THEY
JUST PUT CITIZEN JOURNALISTS IN PRISON, NOT MURDER THEM, PER
STORY PAGE A3 PHILADELPHIA INQUIRER 29DEC2020 BY LILY KUO.

PER USCA CASE 17-1770 JOE BIDEN WAS PART OF A GROUP HELPING TO

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SMUGGLE STOLEN NAZI ART INTO THE UNITED STATES AND BILL
COSBY FOUND OUT.

Thus Pursuant to Title 18, United States, Code § 4, Plaintiff, Mr. Jeffrey

Cutler, formally notifies the court of possible ongoing criminal acts and conspiracy
involved with this civil rights action and requests the court to notify the DOJ
Office immediately, and any other criminal justice authorities the court deems
necessary, to effect and insure the prompt investigation and prosecution of crimes
involved with this case which includes mail Fraud (18 U.S. Code § 1341), the

murder of a federal employee (18 U.S. Code § 1114), Obstruction of Justice, Bank

Ruptcy Fraud in case number 19-11466 Philadelphia Accademic Health System and

Title 18, Section 871. The civil rights action is case # 5:19-cv-00834 and this case
# 1:20-cv-01130 District Court Maryland. The courts have affirmed, it must
“afford a liberal reading to a complaint filed by a pro se plaintiff,” particularly

when the plaintiff has no formal legal training or education. Klayman v.
Zuckerberg, 753 F.3d 1354, 1357 (D.C.Cir. 2014); see also Erickson v. Pardus,
551 U.S. 89, 94 (2007) (“A document filed pro se is to be liberally construed, and a
pro se complaint, however inartfully pleaded, must be held to less stringent
standards than formal pleadings drafted by lawyers.”’) (internal quotations and
citations omitted). The current election for president may be just like 2 Star Trek

Episodes combined. <ref> hups://en.wikipedia.org/wiki/Bread_and_Circuses (Star Trek: The Original Series

</ref> and <ref> httos://en.wikipedia.org/wikiWhat Are Little Girls Made_Of%3F </ref> and like the

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movie <ref> httos://en.wikipedia.org/wiki/Moon_over Parador </ref> or the original unpublished
short story entitled "Caviar for His Excellency" by Charles G. Booth there may be an
actor portraying Joe Biden right now.

WHEREFORE, for all the foregoing reasons, petitioner respectfully requests

the Petion For INJUNCTIVE RELIEF be granted as well as Summary Affirmation
and all votes via DROP BOXES BE STRICKEN in Pennsylvania and the count be
recalculated, and based on Marks v. Stinson Donald J. Trump be declared the winner
<ref> hutps://www.leagle.com/decision/1994892191348731759 </ref> of the Presidential vote in
Pennslvania, and by reference North Carolina, Wisconsin, Nevada. Mr. Cutler has

never met Donald J. Trump, and was not paid or compensated in any way for this

action. Mr. Cutler did give Mike Pemce a TSHIRT prior to him getting elected Vice

President at the hotel previously known as the host farm, but has since been renamed.
Judge Stickman wrote in the case “but even in an emergency, the authority

of government is not unfettered” in the case of County of Butler v Wolf. This court
should also declare the entire Affordable Care Act (Obamacare) law and the
executive order signed in 1942 as Executive Order 9066 by FDR
UNCONSTITUTIONAL, during an immediate ENBANC review of this case when
combined with the writ from case 15-632, and the writ filed by the WHITE HOUSE
as 19-840, 19-1019 also have the government CANNOT SPECIFY HOW TO
PRAY enforced by Religious POLICE, either LOCAL, FEDERAL OR STATE.

The MURDER of a BLACK man and 15 year old boy should NOT be Considered

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MOOT as per order from the Judge ECF 203 and the clerk. This USCA case

number 1:17-cv-05228, 20-3371, 20-1805, 20-1449, 20-1422, 19-1622, 18-3693,
case number 20-5143 in the USCA DC CIRCUIT SHOULD, 21-4001 ALL BE
COMBINED FOR JUDICIAL EFFICIENCY and “GOOD TROUBLE” as per John
Lewis and stop 5171 years of persecution of Jewish Individuals. Not GETTING
EXPOSED IN A LIE IS NOT THE SAME AS TELLING THE TRUTH!!!

ASHLI BABBITT WAS THE START OF KRISTALNAHT UNITED STATES
<ref> https://en.wikipedia.org/wiki/Night_of_the Long Knives </ref>”

YOU CAN DESTROY THE EVIDENCE, BUT YOU CANNOT DESTROY THE
TRUTH. Based on EQUAL TREATMENT UNDER THE LAW, IF IN PERSON
VOTING IS REQUIRED FOR ELECTING THE, SPEAKER THEN SECURITY
AND IMPEACHING A PRESIDENT BY PHONE SHOULD NOT BE ALLOWED.

AND CONSIDERED UNCONSTITUTIONAL.

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Respectfully submitted,

DATE: 13JAN2021 /s/ Jeffrey Cutler

Jeffrey Cutler, pro se
215-872-5715 (phone)

eltaxcollector@qmail.com

P.O. Box 2806
York, PA 17405

CERTIFICATE OF SERVICE

I hereby certify that on JANUARY 13, 2021, I filed
the foregoing with the Clerk of the Court for the
United States Court Appeals for the THIRD Circuit
via United States Mail or in person. Participants in
the case who are registered CM/ECF users will be
served by the appellate CM/ECF system. I further
certify that all of the other participants or their
lawyers in this case are registered CM/ECF users
except as follows and they are served by mail or
email .

/s/ Jeffrey Cutler
Jeffrey Cutler

CERTIFICATION OF COMPLIANCE

This brief complies with the type-volume limitations of Fed. R. AP. P. 35(b)(2) and
Circuit Rule 40-1 because this brief contains no more than # of pages allowed by
ECF 17 USCA CASE 20-2936, excluding the parts of the brief exempted by Fed. R.
AP. P. 32.

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PLAINTIF’S PROPOSED ORDER FOR SUMMARY AFFIRMATION

AND NOW, this day of , 2020 upon consideration Plaintifs Motion for Default

Judgment and for good cause shown, it is hereby ORDERED the Motion is GRANTED. SO ORDERED.

[1] Order the SUMMARY AFFIRMATION against all defendants be granted and made FINAL at one million dollars per
day or as a neotiated amount.

[2] ORDER ALL BALLOTS THAT WERE CAST ILLEGALLY IN VIOLATION OF THE ORDER OF 12APR2018 BY MR.
TORRES BE DISCARDED AND TURNED OVER TO THE FBI FOR PROSECUTION

[3] Order that ELECTORAL FRAUD is counterfeit ballots and also under the PURVIEW of the SECRET SERVICE.
Order Tom Wolf, Josh Shapiro and others be charged with conspiracy to commit MAIL FRAUD in connection with
the voting in Pennsylvania and mailing the vote tally to CONGRESS.
Order the order of Judge Margret Miller made March 17, 2017 against Jeffrey Cutler vacated, the order by Judge
Margaret Miller against Jammal Harris vacated and order by Judge Lawrence Stengel against Lisa Michelle Lambert
vacated and all persons similarly situated (William Henry Cosby, Joe Johnson, Jeffrey Smiles, Emily Weinman,
David Sommers, Mr. William H. McMichael, Stan Caterbone, Claire Risoldi, Rufus Seth Williams, Budd Dwyer,
Stepen T. Kirchner (1873 MDA 2018), Scott Capps, General Flynn, Mr. Popodopolis, Ari Goldstein, charges against
Roger Stone and Eric Snowden, prison sentences of MAC PHIPPS in LOUISIANNA, Julias Jones in Oklahoma,
etc.), for violations of equal protection. All prosecutions of Robert Mueller as special prosecutor vacated because his
appointment was based on perjured testimony, which is verfied by Mr. Steele in a foreign court.
Order the summary and default judgment of all other cases filed by Mr. Cutler in every court also be granted, and all
judgements against Mr. Cutler by every Judge vacated including traffic violations for expired inspection in York, PA
East Lampeter Township and Haverford, PA.
Order ECF 103, 104, 105 & 106 be denied USCA case 20-1805.
Order Nancy Pelosi and Adam Schiff to resign from their elected positions based on crimes identified in this
document, or from their leadership positions and pay 1million dollars per day fine until they agree.
Order Judge Barry Bloss, Judge Cynthia Rufe, Judge Eduardo Robreno, Judge Denise Commins, Judge Nicholas
G. Garaufis, Judge Midge Rendel, and Judge Catherine Blake pay twice their daily salary each day to the
innosense project , until they resign.

(10] Order Tom Woif, Jim Kenny to resign for interference in interstate commerce and misuse of Federal Funds.

[11] Order ail vandalism perpetuated against Mr. Cutler and Mr. Krieger to be compensated, and listed.

[12] Provide documentation to the court of how much ail court costs and legal fees have been to date, and list cost or

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legal hours and ALL LEGAL FIRMS used to try to change the outcome of a certified election, of Jeffrey Cutler and
Donald Trump in all future actions with the court by East Lampeter Township Lancaster County. Legal fee
documentation should start with the actions of the solicitor on and East Lampeter Township starting in O5NOV2013.

[13] Order East Lampeter Township to reveal all persons or individuals that have expressed interest in this case,
especially any officials of the United States Government, and all payments by any George Soros organization.

[14] Order a one million dollar a day penalty per named defendant, until Mr. Cutler's reputation and credit are restored or
individual agreements are reached with each party.

[15] Order Susan Peipher Esquire, East Lampeter Township, Lancaster County Courts and unnamed others show cause
why they should not be charged with violations of the RICCO ACT, both 18 U.S.C. §§ 1961-1968. RICO violations,
and 18 U.S.C. § 1964, Civil RICCO Act.

[16} Order Susan Peipher Esquire, Christina Hausner, East Lampeter Township, East Lampeter Township Police,
Lancaster County Courts, Ralph Hutchinson, Judge Margaret Miller, Scott Martin, Elam Herr, all named defendants
in this case and unnamed others show cause why they should not be charged with violations of 18 U.S.C. § 2113
(bank robbery) and electoral fraud.

[17] Order Fulton Financial to return all money for accounts ending with 8603 and 8612 with penalties.

[18] Order Fulton Financial to compensate the plaintiffs for cases 5:18-cv-00987 and case 2:17-cv-02763 as demanded
in their respective lawsuits.

[19] Order Wikimedia foundation and all media outlets specified to provide space and corrections as provided by the
plaintiff and his designated representative for fake news and PROGRAMMED CENSORSHIP!!

[20] Order Summary Judgement be awarded for all other cases Mr. Cutler has been denied due process be awarded.

[21] Other remedies the court deems appropriate.

[22] Order the Democratic National Committee to also show why they are not a party to Religious discrimination.

[23] Order Nancy Pelosi to resign from her position for the false statement (18 USC § 1001) made through her lawyer.

[24] The primary election in Pennylvania held June 2, 2020 should be redone because of unequal treatment of voters
throughout the state.

{25] Order of GAVIN NEWSOME, GOVERNOR OF CALIFORNIA be vacted because it is obstruction of free exercise
of religious beliefs and violates Matthew Shepard and James Byrd Jr. Hate Crimes Prevention Act.

[26] Order CHINA to allow the residents of Hong Kong to vote on become a territory of the United States for
attacking the United States,

[27] Order that Taiwan be allowed the residents to vote on becoming a territory of the United States for their
part in help in attacking the United States.

[28] Combine cases 20-1805, 20-1449, 20-1422 from USCA third circuit and 20-5143 from the USCA DC

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CIRCUIT and 21-40001 Fifth Circuit, and 1:17-cv-05228 from the Eastern District of New York.

[29] Order Broadcasters to make available at NO COST their AUX CHANNELS for teaching grades K-12.

[30] Order Susan Peipher Esquire and other lawyers guilty of similar activites, to be barred from participation in the
Federal Court CM/ECF system.

[31] Order that all public broadcasting stations be charged with VIOLATIONS 18 U.S.C. § 653, misuse of federal funds,
or on the alternate be charged with 18 U.S.C. § 666 for Censoring Mr. Cutler’s activity.

[32] Order the money that Mr. Bloomberg sent to the DNC plus pledged funds be held for his employees that worked on
his presidential bid that took the jobs based on contracts he made to be distributed by Mr. Cutler.

[33] Order GOOGLE LLC with violations of the ELECTION CAMPAIGN contributions by editing Mr. Cutler's comments
on youtube videos and other destruction of phone use to pay a fine for each occurence not to exceed one billion per
instance.

[34] Order the CDC to recommend mass Pneumonia vacinations to STOP COMPLICATIONS of COVID-19 and FLU

[35] Order the STATE SCHOOLS to REQUEST BIDS FOR ONSITE TEACHING ON A CONTRACT BASIS 10, 30, 100
STUDENTS, etc.

[36] Although there is no amount of money that can bring back BREONNA TAYLOR, from the dead, the store chain
LORD AND TAYLOR could be brought back as LORD AND BREONNA TAYLOR as a fixed reminder to her death
and combined with CENTURY 21.

[37] Based on the reply on 27SEP2020, Mike Carter and the Seattle Times should be charged with aiding and abetting
the coverup of the murder of Jonathan Luna 04DEC2003 after the fact (18 U.S.C. § 3 Accessory After the Fact
MURDER of Jonthan Luna)

[38] Order CITIBANK pay three times the amount they allowed to be stolen via fmail fraud from Jeffrey Cutler and
Marilyn Cutler, and document how much they spend on lawyers to support their conspiracy to commit mail fraud.

[39] The constitution should be ammended to ailow all citizens of voting age in any prison the right to vote for a
representative in congress and president of the United States just like Washington, DC., and 1 electorial vote. The
total prison population shall be added to the census for the country. No additional seats shall be added to the
house.

[40] The constitution should be ammended to allow all citizens of voting age native born in any territory the right to vote
for a representative in congress and president of the United States just like Washington, DC., and 1 electorial vote.
The total population shall be added to the census for the country. No additional seats shail be added to the house.

{41] The government shall establish a set of specifications for the minimum features a health plan shall contain to be
called copper, silver, gold platinum, etc., and failure to deliver these features shall be considered mail fraud.

[42] The intentional termination of life by any third party for money for all individuals from 84 months old after conseption

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to 30 months old after conseption shall be considered a crime.

[43] A replacement for obamacare would allow any United States interstate company offer their group health plan to not
only their employees, but their suppliers and customers at any pricing they choose with a stated customer charge
and individual charge.

[44] The request for the stay of the order of 14SEP2020 BY THE OFFICE OF ATTORNEY GENERAL SHOULD BE
DENIED because it should be an injunction pending Appeal.

[45] Every jurisdiction in the United States MUST allow UNRESTRICTED PRAYER NOT ENCUMBERED BY any local
specifications specifying the correct way to pray, enforced by RELIGIOUS POLICE.

[46] Judge Rendell should recuse herself because of her involvement with this case, dating to 13MAY1985 and her
current spouse involvement with the Insurance industry.

[47] Mark Trundos be compensated for criminal activity regarding 2:19-cv-05846 .

[48] Jeffrey Cutler be allowed to get Medicare Part B as equtiable release based on PANDEMIC provisions put in place
by the president of the United States.

[49] All ballots collected in remote collection boxes where the voter was not offered a HARD COPY of their vote be
segragated (violating 18 U.S.C. § 653, misuse of federal funds and Equal Treatment Under the law Ammend 14) and
if they cannot be segraated all votes where they are mixed should be discarded.

[50] Order Tami, Charity Welch (case 5:20-cv-04842), Pavel Resnick, Stacty Gonzalez (case 2:18-cv-05028), Ken
Krieger be compensated at a minimum of $250,000 dollars

[51] Mr. Noviho (5:15-cv-03151) be compensated at a minimum of $250,000 dollars because he should have won on
03SEP2015, but the lawyer George Reihner failed to protect Mr. Noviho.

[52] Order everyone mentioned in this case that is victim of the KKK or FBI be awarded a minimum of $250,000 dollars,
including both children of Budd Dwyer

[53] Order Wikipedia to reveal the Name, Address, and Email of AmandaNP, RAVENSFIRE, and PROLOG and
Government sources used to SPY & CENSOR on Mr. Cutler and pay him an appropriate payment of at least 10% of
their NET WORTH.

[54] A law should be passed that allows JEFFYBONDS be used to make sure every POLICE vehicle is a 2 man car
because like computers, POLICE CAN NEVER HAVE TOO MUCH BACKUP and they be used instead of CARES
act money to balance the Pennsylvania Budet

[55] Seth Williams should get his law license restored just like Ernie Preate, plus awarded 250,000 dollars

[56] Mr. Michael Grant and Mr. Noviho (5:15-cv-03151) be compensated at a minimum of 250,000 dollars

[57] Jeffrey A Dellinger be compensated at a minimum of 250,000 dollars for being directed he must goto church on
Sunday

[58] Mr. Jammal Harris be compensated at a minimum of 250,000 dollars

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[59] Survivors of Sean D. Williams (18-2773) be awarded a minimum of 250,000 dollars, as well as Duncan Hunter.

[60] Order Andrew Cuomo, Gavin Newsome and Leticia James resign for violations of the right to PRAY, and testify
under OATH.

[61] Order Traveiler’s Insurance, Citibank and others to pay into the fund or face criminal prosecution.

[62] Order every employee at PBS/NPR to dedicate a portion of their pension or paycheck to a fund or face prosecution
for 18 U.S.C. § 653 MISUSE OF FEDERAL FUNDS, MAIL FRAUD, AND OTHER CRIMES.

[63] GOOGLE is guilty of violating 47 U.S. Code § 230 via their Youtube division and recently with <ref>
https:/Avww. youtube.com/watch?v=XqngkJolrBk </ref>>

[64] GOOGLE is guilty of violating 47 U.S. Code § 230 via their Youtube division and recently with <ref>
<ref>https:/Awww. youtube.com/watch?v=CoXy7gXOuJtA </ref>

[65] GOOGLE is guilty of violating 47 U.S. Code § 230 via their Youtube division and recently with <ref>
https://www. youtube.com/watch?v=DJOB2DiNNSsyY </ref>

[66] GOOGLE is guilty of violating 47 U.S. Code § 230 via their Youtube division and recently with <ref>
https:/Awww. youtube.com/watch?v=7-w5NZYUICO </ref>

[67] GOOGLE is guilty of violating 47 U.S. Code § 230 via their Youtube division and recently with <ref>
https://www. youtube.com/watch?v=W QfOwB-k7yQ </ref>

[68] GOOGLE is guilty of violating 47 U.S. Code § 230 via their Youtube division and recently with <ref>
https://www. youtube.com/watch?v=xNdTBw7z_aw </ref>

[69] GOOGLE is guilty of violating 47 U.S. Code § 230 via their Youtube division and recently with <ref>
https:/Awww. youtube.com/watch?v=DV-92HMNGuYv </ref>

[70] GOOGLE is guilty of violating 47 U.S. Code § 230 via their Youtube division and recently with <ref>
https:/Awww. youtube.com/watch?v=ONc7g3PqtOM </ref>

{71] GOOGLE is guilty of violating and in conjunction with every other news media including ABC, CBS, NBC is
guilty of violating 18 U.S.C. § 3 Accessory After the Fact MURDER of Jonthan Luna and others.

{72} Kara N. Templeton, Christopher Leppier, Judge Nicholas G. Garaufis, Judge B. Denise Commins have conspired
to violate 18 U.S.C. § 3 Accessory After the Fact MURDER of Jonthan Luna and pay a fine equal to their pension for
10 years.

[73] Dr. Levine and other PUBLIC health officials should SURRENDER their MEDICAL LICENSE for FAILURE to
RECOMMEND INCREASED PNEUMONIA vaccinations including Dr. Deborah Birx and be investigated for any

payments made to them, and pay the equivalent of Social Security Death payment for everyone that died in

Pennsylvania and the United States, as well as all media organizations that also participated in the deaths

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(APPROXIMATELY 1.5 MILLION 255 * 5493) EACH.

[74] Based on case 10011 Boeing should create a project to bring back the L-1011 Aircraft from the dead with engines
from the 737-MAX to provide new aircraft to the fleets that would soak up excess production engines and provide
new capacity to the Airline Industry Worldwide and Engineering jobs and capacity.

[75] ORDER THAT CARTER PAGE LAWSUIT BE INCORPORATED INTO THIS ACTION AND AT MINIMUM BE
AWARDED $ 250,000

[76] Order ail individuals that have contributed to the Pandemic Destroy America Fund pay twice the amount paid into
the fund and Jeffrey Bezos, Jack Dorsey, Tim Cook, Bill Gates, George Soros pay 10% of their net worth as a fine

for trying to destroy the United States and electoral fraud and the constitution as well as all similarly situated.

[77] Order the United States Government to stop collecting or accessing penalties FOR FAILURE to comply with

established tenets or teachings of such sect or division of ANY religion in violation of the U.S.
Constitution amendment 1 and declare the ACA unconstitutional , based on the 89 page writ of USCA case 17-
2709 on page 314A, and Supreme court case # 15-632 plus the writ filed by the WHITE HOUSE as 19-840, 19-

1019 and Declare that no jurisdiction of the United States can dictate the proper way to pray.

Dated: , 2021

 

BY THE COURT

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ADDENDUM

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PRECEDENTIAL

UNITED STATES COURT OF APPEALS
FOR THE THIRD CIRCUIT

No. 20-1422

UNITED STATES OF AMERICA
V.
SAFEHOUSE, a Pennsylvania nonprofit corporation;
JOSE BENITEZ, as President and Treasurer of Safehouse

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SAFEHOUSE, a Pennsylvania nonprofit corporation
Vv

U.S. DEPARTMENT OF JUSTICE;
WILLIAM P. BARR, in his official capacity
as Attorney General of the United States; and
WILLIAM M. MCSWAIN, in his official capacity as
U.S. Attorney for the Eastern District of Pennsylvania

United States of America, U.S. Department of Justice,
United States Attorney General William P. Barr, and
the United States Attorney for the Eastern District of

Pennsylvania William M. McSwain,
Appellants

 
 

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On Appeal from the United States District Court
for the Eastern District of Pennsylvania
(D.C. No. 2:19-cv-00519)

District Judge: Honorable Gerald A. McHugh

Argued: November 16, 2020
Before: AMBRO, BIBAS, and ROTH, Circuit Judges
(Filed: January 12, 2021)

William M. McSwain [ARGUED]
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John T. Crutchlow

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Erin E. Lindgren

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Counsel for Appellants

 
 

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Adrian M. Lowe

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Tlana H. Eisenstein [ARGUED]
Courtney G. Saleski

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Case 2:21-cv-00031-BJR Document 39 Filed 01/27/21 Page 124 of 194

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of Virginia

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Case 2:21-cv-00031-BJR Document 39 Filed 01/27/21 Page 125 of 194

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Case 2:21-cv-00031-BJR Document 39 Filed 01/27/21 Page 126 of 194

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Policy Alliance, Foundation for AIDS Research, Harm
Reduction Coalition, National Alliance of State and Terri-
torial AIDS Directors, Network for Public Health, Penn-
sylvania Medical Society, Philadelphia County Medical
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Case 2:21-cv-00031-BJR Document 39 Filed 01/27/21 Page 127 of 194

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mer Department of Justice Official and Leaders

 
Case 2:21-cv-00031-BJR Document 39 Filed 01/27/21 Page 128 of 194

Catherine M. Recker
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Case 2:21-cv-00031-BJR Document 39 Filed 01/27/21 Page 129 of 194

OPINION OF THE COURT

BIBAS, Circuit Judge.

Though the opioid crisis may call for innovative solutions,
local innovations may not break federal law. Drug users die
every day of overdoses. So Safehouse, a nonprofit, wants to
open America’s first safe-injection site in Philadelphia. It fa-
vors a public-health response to drug addiction, with medical
staff trained to observe drug use, counteract overdoses, and of-
fer treatment. Its motives are admirable. But Congress has
made it a crime to open a property to others to use drugs. 21
U.S.C. §856. And that is what Safehouse will do.

Because Safehouse knows and intends that its visitors will
come with a significant purpose of doing drugs, its safe-
injection site will break the law. Although Congress passed
§ 856 to shut down crack houses, its words reach well beyond
them. Safehouse’s benevolent motive makes no difference.
And even though this drug use will happen locally and
Safehouse will welcome visitors for free, its safe-injection site
falls within Congress’s power to ban interstate commerce in
drugs.

Safehouse admirably seeks to save lives. And many Amer-
icans think that federal drug laws should move away from law
enforcement toward harm reduction. But courts are not arbiters
of policy. We must apply the laws as written. If the laws are
unwise, Safehouse and its supporters can lobby Congress to

 
 

 

Case 2:21-Cv-O0031-BJR Document3s9 Filed Ol/2//21 Page 130 of 194

carve out an exception. Because we cannot do that, we will re-
verse and remand.

 

 

 
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Mail Fraud Complaint

Company Name:
* Fust Name:

* Address:

* City:

* State:

* ZIP Code:

= Country:

Cell Phone: (717) 85447 _ API RTZ ETS
Home Phone: _— oe a een

 

 

 

 

 

 

 

 

 

 

 

 

2P Code™

County,

Celt Phone:

Home Phone:

Email Address: .

Website Address: neeps: fag! mmchead quarters com/

 

 

 

 

How Were You Contacte?

How were you contacted? ‘US Mail

On what date were you contacted? o1i072021
Do you have the envelope it was mailed in? = Ores. ONo ae
‘ie :
How Did You Reepondta This Offer? fe ee eee és
How did you respond fo this offér? “US Mail a

Response Mailed to a Different Address: Oves Ono

Do you have:a Tracking Number?
(Catified, insaed or Express Mail}?

Orves @No

oS
HARD COPY OF ANNUAL REPORT :
: a
yout

 

What did you receive?

max site 250 characters

 

 

How did it differ from what you ex n CLAIMS THEY DO NOT DISCRIMINATE AND DO GOOD -

‘max site 250 characters

 

How much did the company ask you to pay ($7120.41
Do you have the item? Oves No
How was it delivered? ‘Qnine

Did you contact the company .

or person about the complaint? Oves @no

=
Reason for Ne Contact: Ainanswered Telephone 3 Ss
ree spi teenage w
Lose Money” @yes ONo nm
Payment Type: : a
Payment Type Other: co
Payment Amount($): Le

Payment Date: ounene2t

Type of Mail Fraud Complaint
Scheme Category:
Scheme Type:

an se 1008 characiess TWITTER CLAIMS THAT THEY DO GOOD AND
DECIDED THAT DONALD TRUMP'S ACCOUNTIS
‘SUSPENDED EVEN THOUGH THERE IS TIME.
STAMPED PROOF OF ELECTORAL FRAUD IN
PENNSYLVANIA, ORIGINALLY FILED IN FEDERAL
COURT 200CT2020 PAGE 169 OF CASE 20-2936
PAGE 9 OF THE LINK BELOW Ii<ref>
‘htips:/Awww.courflistener.comrecap
/igov.uscourts pamd.127057
‘gov.uscourts. pamd.127057.181.0.pdf <ref> THE DROP
BOXES IN PENNSYLVANIA FAILED TO HAVE HARD
COPY RECEIPT AVAILABLE DESPITE ORDER FROM
TORRES ON 12APR2018 TO THE CONTRARY

 

 

Mail Fraud Compiaint form supmiited successfully. 14JAN2024 2:27 PM

Thank you for completing the torm.

The information you provided wid be entered info our national complaint system.

‘The U.S. Postal Inspection Service gathers data on mail-related crime to determine whether a violation has occurred.
White we can't guarantee that we can recover lost money or items, your information can help alert inspectors to problem
areas and possibly prevent other people from being victimized. U.S. Postal Inspectors base their iv ‘on the
number, substance, and pattem of complaints received from the public

We ask you to keép ail original documents related to your complaint. We wil contact you ONLY if more information is
needed

 
 

Case 2:21-cv-00031-BJR Document 39 Filed 01/27/21 Page 132 of 194

litem 9B. = Other information
Disclosure Pursuant to Section 43(r) of the Exchange Act
We elermined that, between Jannary 2012 and December 2019, we processed and delivered onders of consume: products

   

TEE E pa ; g z
information pr vided pursuant to Section 13) of the Exchange Act in Iiem 5 of Part IT of the Company’s Quarterly Reports on
10-Q for the quarters ended March 31, 2019, Fane 30. 2019. and September 30, 2019 is hereby incorporated byreference to
such reports. We are unable to accurately calculate the net profit attributable to these transactions. We do not plan to continue
selling to these accounts in the future. Our review is ongoing and we are enhancing our processes designed to identify

PART II

Item 10. Directors, Executive Officers, and Corporate Governance

Information regarding our Executive Officers required by Item 10 of Part III is set forth in Item 1 of Part 1 “Business —
information About Our Executive Officers,” Information required by Item 10 of Part I regarding our Directors and any
material changes to the process by which security holders may recommend nominees to the Board of Directors is included in
our Proxy Statement relating to our 2020 Annual Meeting of Shareholders, and is incorporated herein by reference. Information
relating to our Code of Business Conduct and E thics and, to the extent applicable. compliance with Section 16(a) of the 1944
Act is set forth in our Proxy Statement relating fo our 2020 Annual Meeting of Shareholders and is imorporated herein by

Item Il. Executise Compensation
Information required by Item 11 of Part III isinctuded in our Proxy Statement relating fo our 2020 Annual Meeting of
Shareholders and is incorporated herein by reference.

Item 12. Security Ownership of Certain Beneficial Owners and Management and Related Shareholder Matters

information required by Item 12 of Part I is included in our Proxy Statement relating to our 2020 Anmal Meeting of
Shareholders and is incorporated herein by reference.

ltem 13. Certain Relationships and Related Transactions, and Director Independence
Information required by Item 13 of Part IIT is included in our Proxy Statement relating to our 2020 Anmal Meeting of
Shareholders and is incorporated herein by reference.

Item 14, Principal Accountant Fees and Services
Information required by Rem 14 of Part I js included in our Proxy Statement relating to our 2020 Anmal Meeting of
Shareholders and is incorporated herein by reference.

3

 
= amazon

Annual reports,
proxies and
shareholder letters

! Quarterly results
SEC filings

Press releases &)

Officers and
directors

Contact us and
request documents

Events

amazon

Code of Business Conduct and Ethics

in performing their job duties, Amazon:com employees should atways act lawfully, ethically,
and inthe best interests of Amazon.com. This Code of Business Conduct and Ethics {the
"Code of Conduct} sets. out basic guiding principles. Employees who are unsure whether
their conduct or the conduct of their coworkers complies with the Code of Conduct should
contact their manager or the Legal Department. Employees may alse report any suspected
noncompliance as provided in the Legal Department's reporting quidetines referred to in
paragraph IX below.

Show Ait

Employees must follow appticabte laws, rules and regulations at all times. Employees
with questions about the applicability or interpretation of any law, rule or regutation,
should contact the Legal Department.

l-Conflicts of interest

HL Insider Trading Polity

Amazon.com provides equal opportunity in all aspects of employment and will not
tolerate any itlegat discrimination or harassment of any kind. For more information, see
the Amazon.com policies on Equal Employment Opportunity and Workplace Harassment
inthe Amazon.com Owner's Manual.

¥. Health and Safety

Employees may not discuss prices or make any formal or informal. agreement with any
competitor regarding prices, discounts, business terms, or the market segments and
channels in which the Company competes, where the purpose or result of such
discussion or agreement would be inconsistent with applicable antitrust taws. if you
have any:questions about this section or the applicable antitrust laws, please contact the
Legal Department.

Employees may not bribe anyone for any reason, whether in dealings with governments
or the private sector. The U.S. Foreign Corrupt Practices Act, and similar laws in other
countries, prohibit offering or giving anything of value, directly or indirectly, to
government officials in order to obtain or retain business. Employees may not make
illegal payments to government officiats themselves or through a third party. Employees
whic are conducting business with the government officials of any country must contact
the Legat Department for quidance on the law governing payments and gifts to
governmental officials.

Amazon.com's books, records, accounts and financial statements must be maintained in
appropriate detail, must property reflect the Company's transactions and must conform
both to applicable law and to the Company's system of internal controls. Further,
Amazon.com's public financiat reports must contain full, fair, accurate, timely.and
understandable disdosure as required by law. The Company's financial, accounting and
tegal groups are responsible for procedures designed to assure proper internal and
disclosure controts, and all employees should cooperate with these procedures.

IX: Questions; Reporting Violations

X. Periodic Certification

Xt Board of Directors.

Waivers of this Code of Conduct may be made only in a manner permitted by law.

ast SEe
AMAZON COM

 
 

Case 2:21-cv-00031-BJR Document 39 Filed 01/27/21 Page 134 of 194

Mail Fraud Comniaint form AMAZON - JEFFREY BEZOS

Mail Fraud Complaint form submitted successtuly.  12JAN2021

Thank you for completing the form.

The information you provided will be entered into our national complaint system.

The U.S. Postal inspection Service gathers data on mail-reiated crime to determine whether a violation has occurred.
While we can't guarantee that we can recover lost money or items, your information can help alert inspectors to problem
areas and possibly prevent other people from being victimized. U.S. Postal inspectors base their investigations on the
number, substance, and pattern of complaints received from the public.

We ask you to keep all original documents related to your complaint. We will contact you ONLY if more information is

 

| f 0° ACCESSIBILTY | FREEDOM OF INFORMATION ACT | PRIVACY POLICY | U.S. POSTAL-SERVICE | 1-377-076-2455

 
Casepleasé Foard this abetit pelosi? = Ft@aew1/27/21 Page 135 of 194

People for life and freedom Jan 10, 2021, 5:33 PM (7 hours ago}
to People +

LOOKS LEGIT BUT UNVERIFIED

Mr. Ted Wheeler

1221 SW 4th Ave

ayo

Portland, OR 97204

Dear Mr. Wheeler:

| have seen your neeponsc to the riots in your city and [am

urging you to stick te the proven Democratic Play book.

I would like to review this with you now.

b Deny there is a Problem, (Press will suppavt this)

2} Refer to everything as peaceful and calm. (Press will help here also)
+: When all bell breaks loose, go on camera and show your support
for anybody breaking the law. (Press will praise you for this,

you will be a new hero, rust me),

4 When you can no longer keep any ander “BLAME TRU MPP

( cannot aver emphasize #4, This hay worked every time we have
used it and again the Pree has told me they will support and

fact check any claim we make? THIS 15 POLITICAL GOLD?)

% Goon Television and Condemn TRUMP and relusc any assistance!
We CANNOT give TRUMP any victory before the election”

 
 

Case 2:21-cv-00031-BJR Document 39 Filed 01/27/21 Page 136 of 194

FROM <ref>https://ruplayers.com/tools/ynur0c-Xen9kgHk/john-dye-tribute.html</ref>

John Portrayed not only the Angel of Death but also Jeff Cutler during his life.
==REMEDY CHALLENGED IN USCA CASE #18-1816 for case 1:18-cv-00443== On
April 12, 2018 Jeffrey Cutler filed an Appeal in the USCA third circuit for case #1:18-cv-
00443 as a Plaintiff Intervenor. Mr. Cutler did this to stop the REMEDY from becoming
a Precedent that allows 4 Judges from unconstitutionally Amend the Pennsylvania
Constitution in 10 DAYS!! Mr. Cutler has a second case in the USCA # 17-2709 which
has been under review by a 3 Judge panel since Feb 15, 2018. It challenges the ability of
a single judge to issue a Remedy which KNOWINGLY violates the Pennsylvania
Constitution based on Perjured information by Brian Hurter, Amber Green Martin, and
Ralph Hutchinson and the FAKE NEWS MEDIA to lie to destroy the reputation of an
individual. Amber Green and Brian Hurter are accused of 190,000 counts of MAIL
FRAUD as part of case 17-2709 and cover-up MURDER of [[Jonathan Luna]] and others
with the aid of the FBI ({[Robert Mueller]], [[James Comey]], [[Andrew McCabe]], and
[[April Brooks]]). Unlike everyone else Mr. Cutler has STANDING which was granted
on August 14, 2015 for case 14-5183 in the DC court of Appeals, argued by [[Robert
Muise]] on May 12, 2015. On April 23, 2018 Mr. Cutler filled an INJUNCTION
PENDING APPEAL for case 18-1816 which is not being reported by any NEWSPAPER,
or other DRIVE-BY media and ACTIVELY censored by [[GOOGLE]] and other search
engines. On page 314A of case 17-2709 is the entire WRIT that went previously to the
Supreme Court to END OBAMACARE based on violations of the [[Establishment
Clause]]. MR. CUTLER HAS BEEN TARGETED JUST LIKE THE PRESIDENT
BASED ON PERJURED INFORMATION!! The [[Corollary]] to MAKE AMERICA
GREAT is GREAT PARENTS, MAKE GREAT KIDS, MAKE A GREAT
PRESIDENT..the way to Make America Great, MAKE MORE GREAT PARENTS!!

On April 23, 2018 Jeffrey Cutler filed an
[Injunction Pending Appeal]] for case # 18-1816. On April 25, 2018 THE USCA for the
third circuit issued an ORDER that specified that the heading for the case be changed to
"JACOB CORMAN in his official capacity as Majority Leader of the Pennsylvania
Senate; MIKE FOLMER;; in his official capacity as Chairman of the Pennsylvania State
Senate Government Committee; LOU BARLETTA; RYAN COSTELLO; MIKE
KELLY; TOM MARINO; SCOTT PERRY; KEITH ROTHFUS; LLOYD SMUCKER;
GLEN THOMPSON; JEFFREY CUTLER is to be listed as an APPELLANT equal to all
other named Appellants in the case. On May 8, 2018 Jeffrey Cutler filed a motion to
dismiss Defendants claims for failure to follow orders of the court. On May 10, 2018
Jeffrey Cutler filed for an En Banc review of the Injunction and Order. The conclusion in
the case states "Plaintiff hereby requests that the court grant his Permanent Injunction and
enjoin the enforcement of the revised voting map, a new election date set using the
previously approved voting districts, bar all Pennsylvania judges from submitting
remedies which knowingly violate the Pennsylvania constitution, bar any further
enforcement of “Obamacare”, remove all penalties from plaintiffs and bar the review of
documents seized and the suspension of further action in NY cases known as 1:18-cv-
03501 and 1:18-mj-03161KMW."

2 Trova Ha3aq

 
 

 

Case 2:21-cv-000s1-BJR Documem oo Filed 01/27/21 Page 127 of 104
Case 2721-40001 Decument 00515505462 Page:1 Date Filed: 012021

In The
United States Court of Appeals

for the Fifth Circuit

21-40601

LOUIE GOHMERT, ct al,,
Piaintiff-Appeliecs

lntervenor Plamtiff-Appelles

Court fr the Eater Diaishet Fone athe banca

 
 

 

Case 2:21-cv-00031-BJR Document 39 Filed 01/27/21 Page 138 of 194

We Have Received Your Message ®

The White House <noreply@contact.whitehouse.gov> Jan 5,2021, 1:25 PM(21 hoursago) 4
lame +

THE WHITE HOUSE
WASHINGTON

Jammary 5, 2021

Thank you for contacting the White House. We are carefully reviewing your message.
President Donald J. Trump believes the strength of our couniry lies in the spirit of the
American people and their willingness to stay informed and get mvolved. President Trump
appreciates your tating the time to reach ont.

Sincerely,

The Office of Presidential Correspondence

Ff ‘you wish to receive ie rapide aoapil updates from the White House, pies Cet es Click Here. You may 5 : a a . :
apie President Trump and the White House on faceboa Ke J n Dither and Youle, oS S eee

"White House Website | Privacy Policy |Contact the White House

 
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Case: 21-40001 Document: 00515695510 Page:1 Date Filed: 01/06/2021

United States Court of Appeals

FIFTH CIRCUIT
OFFICE OF THE CLERK

LYLE W. CAYCE TEL. 504-310-7700
CLERK 600 S. MAESTRI PLACE,
Suite 115
NEW ORLEANS, LA 70130

January 06, 2021

No. 21-40001 Gohmert v. Pence
USDC No. 6:20-CV~-660

Dear Mr. Cutler,

Because you are not a licensed attorney, nor a party within the
case, we cannot accept "Petition for Hearing En Banc”. Accordingly,
we take no action on your filing. We direct your attention to the
decision of this court which held that a non-attorney cannot sign
nor file court documents on behalf of another. See Weber.v. Garza,
570 F.2d 511 (5th Cir. 1978).

Sincerely,

LYLE W. CAYCE, Clerk
Chustina Rachag
By:

Christina C. Rachal, Deputy Clerk
504-310-7651

 

Mr. William Charles Bundren
Mr. John V. Coghlan
Mr. Lawrence John Joseph

 
Case 2:21-cv-00031-BJR Document 39 Filed 01/27/21 Page 140 of 194

 

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Sess Oe ae See a

Contact Us

if you can not find the answers you are ooking for In our Commonly
Asked Question, please use the form below to reach out'to us. Select a

 

question p-down box, click the
‘Submit your

contact.

For Right-to-Know requests, dick here.

Enter Eraail
Phone Number

(717) 854-4718

Questions Concerning *

Questions *
PAGE 9 OF THE LINK BELOW IS TIME STAMPED PROOF OF
ELECTORAL FRAUD, ORIGINALLY FILED IN FEDERAL COURT
2OOCT2020 PAGE 16? OF CASE 20-2936!!<ref>

705;
fgovuscourts pamd.12 7057-181. Gpdf </ref> THE DROP BOXES
IN PENNSYLVANIA FAILED TO HAVE HARD COPY RECEIPT
HAD TO BE AVAILABLE FOR ALL VOTING METHODS. ALL
VOTES VIA DROP BOXES ILLEGAL AND COVERED UP BY

: FEDERAL COURT CLERKS, JUDGES, MEDIA
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THE TESTING KITS ARE TAINTED AND HELPING TO INFECT

| PEOPLE AROUND THE WORLD <refehttps:/Awww.govinio. gov
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fusiness/story/2019-09-18/carcinogen-scare-tainted-
zantac<iref>
DR. EAUCG, KRISTEN WELKER and Persons of the CDC have
LED about an Approved Vaccine to Stop COMPLICATIONS from
the FLU & COVID-29 <ref>httpsi/ www futuremedicine.com

+ (S01/10.2217 fica-2020-0082</ref>. They are calfed
PNEUMOVAX23 and Prevnar 13 which are the PRIME

| COMPLICATION TO THE COVID-49 that resutt in DEATH from
Sreumococcal disease <ref> https:/Avww.diabetes.org/diabetes
redication-management/fu-and-preumonia-shots</ref>.
KRISTEN WELNER'S HUSBAND 1S & MARKETING EXECUTIVE
FOR MERCK. On 2106€2020 Jeffrey Cutler filed 3167 page
AMENDED PETITION FOR REHEARING ENSANC AND =
INUUNCTIVE RELIEF BECAUSE OF CRIMES (18 US. Code § 1519
- Destruction, alteration, or fatsification of records} & MAIL

| FRAUD AND TO COMBINE CASES FOR JUDICIAL EFFICIENCY

| AND SUMMARY AFFIRMATION in USCA case 20-1422 at 2:38

| PM, The PREVIOUS document from 14DEC2020 that Jeffrey
Cutler fded 21.18 page PETITION FOR REHEARING
AND INJUNCTIVE RELIEF BECAUSE OF CRIMES (18 US, Code §

| 1939- Destruction, alteration, or falstfication of records) & MAIL

| FRAUD AND TO.COMBINE CASES FOR JUDICIAL EFFICIENCY
AND SUMMARY AFFIRMATION never made it to the docket. On

| 28DEC2020 Jeffrey Cutler called the CLERK at the USCA and

; ebmplained the document is not on the DOCKET the CLERK

“HONG UP THE PHONE! On page 1177s a copy of the fetter sent
to Josh Shapiro on 20JUN2017. On page 122 is a Mail Fraud
Complaint against Josh Shapiro, On page 121Lis Josh's Press
Release on DACA. Mr. Shapira is called a Sonnderkommando
twloe in the petition of 21DEC2020.

-<ref> https://en.wikipediaorgakl/Samuel Willenberg </ref>

Are youarobot?

o

JOSH SHAPIRO
V¥ERAEL

ATTORNEY Of

Home > Contact Us

Contact Us

if you can not find the answers you are foaking for in our Coramonty
Asked Ciuestion, please use the form below to reach out tous. Select a
topic that Best describes your question from the drop-dawn box, click the
“Submit” button to forward your question/request to the appropriate
contact.

For Right-to-Know requests, dick here.

Thank you for contacting the Office of Attorney General. Your
informations beingreviewed. SUBMITTED 24DEC2020 07:50 AM

Fax: "
FSFTBP-B2A2:
SFTT-IBF II

Prem Office:
PA TEP STA

‘Chile Predtstat

>| BONEIES- 1044:

‘Drugs Ti Line
800-442-8005

Senior Protection - -
Bhd 62H 2197

‘Mitacy snd Valocaris Affairs —
ATO 1948

21S997-ISIS

‘Contact Resources.”

Event requests for the.

ath Floor, Strawberry Square
Hattisioacg, PA 17120
SISTA BIL

* Regional Offsces *
‘Fane
FAT-TB7-B2A2

 
Case 2:21-cv-00031-BJR Document 39. Filed 01/27/21 Page lan or eh
Case 4: 20-cv-12078-MWB Document ial2 Filed 11/19/20

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Case 2.17-v-00SR4-TON Docunend+ Filed OT/LTAT Paga 7 of 12
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Cast 4:18-cy-00187-O Document 274 Filed OL6/20 Page 1of4o PagelD 3693

UNITED STATES GISTRICT COURT

_ FOR THE NORTHERN BISTRICT OF TEXAS,

FORT WORTH DIVISION

. Ca ee a Sexes
meni

 

+

 

TEXAS, et al.

 

*e

JEFFREY CUTLER

CASE NO. 4:18-cv-00167-0

Intervenor-Plalniiff
¥.

“UNITED STATES OF AMERICA, ot al

,
7

NLIFORNIA, of al.

 

MOTION FOR RECONSIDERATION OF MOTION TO CHANGE VENUE
FOR CASE 4:18-cv400167-0 FROM STATE OF TEXAS TO
PENNSYLVANIA |
AND COMBINE CASE WITH 5:19-cv-00834

 

 
 

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In The
Gnited States Court of Appeals

for the fifth Circuit

21-40001

LOUIE GOHMERT, et al.,
Plaintiff-Appellants

JEFFREY CUTLER
Intervenor Plaintiff-Appellant

V.

HONORABLE MICHAEL PENCE.
Defendant-Appellee

Appeal from the Order/Judgment entered January 01, 2021 in the United States District
Court for the Eastern District of Texas at No. 6:20-cv-00660

AMMENDED & CORRECTED EMERGENCY EXPEDITED
PETITION FOR HEARING ENBANC AND INJUNCTIVE
RELIEF BECAUSE OF CRIMES (18 U.S. Code § 1519 -
Destruction, alteration, or falsification of records) & MAIL FRAUD
AND TO COMBINE CASES FOR JUDICIAL EFFICIENCY AND

SUMMARY AFFIRMATION

ORAL ARGUMENTS REQUESTED

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Here comes Jeffrey Cutler, Paintiff-Intervenor in this case based on the United States
Constitution Ammend 1, for Redress of Grievances and preservation of the
Establishment Clause, Mr. Cutler files THIS AMMENDED & CORRECTED
EMERGENCY EXPEDITED PETITION FOR HEARING ENBANC AND
INJUNCTIVE RELIEF BECAUSE OF CRIMES (18 U.S. Code § 1519 -
Destruction, alteration, or falsification of records) & MAIL FRAUD AND TO
COMBINE CASES FOR JUDICIAL EFFICIENCY AND SUMMARY
AFFIRMATION, to correct for new crimes and OBSTRUCTION of JUSTICE
discovered, originally filed 14DEC2020 and hidden. The previous document in this
case 21-40001 was altered by persons unknown to protect the CRIMES of the
FBI/CIA and KLU KLUX KLAN. It also shows BIAS and MALICIOUS intent to
violate EQUAL TREATMENT under the law, a violation of the United States
Constitution Ammend 5. ] effrey Cutler has STANDING and it was granted by the
USCA in DC on 14AUG2015 for case 14-5183 , and ORDER does not EXPIRE.
Mr. Cutler was granted the RIGHT to challenge the ESTABLISHMENT CLAUSE
by the court and has been trying to pursue his first ammendment right to PETTION
THE COURT FOR REDRESS OF GRIEVANCES. Recently in case # 1:17-cv-
05228 Judge Nicholas G. Garaufis (Eastern District of New York) SIMPLY
STATED MR. CUTLER IS NOT PART OF THE CASE AND VIOLATED EQUAL
PROTECTION UNDER THE LAW AND HAD THE DOCUMENT RETURNED

WITH NO RECORD ON THE DOCKET EVEN THOUGH JOSH SHAPIRO (a

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Sonderkommando, elector for Joe Biden and the current Attorney General of
Pennsylvania) IS ON THE DOCKET. Mr. Cutler is being denied MEDICARE part
B coverage while the order in this case grants that coverage immediately to NON-
CITIZENS even though when DACA was set up the president OBAMA publically
stated the program was ILLEGAL. These persons are being GRANTED EXTRA
RIGHTS. Mr. Cutler a natural born citizen presently 66 years old and second

generation American and JEWISH, eligable to be President or Speaker of the

House. In case 20-2936 ECF 29 page 169 Mr. Cutler filed a copy of the order from

Mr. Torres dated 12APR2018 that all voting methods must have a HARD COPY
RECORD AVAILABLE filed 200CT2020, as part of funding from the FEDERAL
GOVERNMENT!! The laws were altered in Pennsylvania to provide DROP
BOXES that failed to have this provision. Mr. Cutler had stated these ballots
violated the states OWN order, and a judge should decide their they are ILLEGAL,
just like the term that may presently describe the sick bird Philadelphia football team
ILL EAGLE. The Citizens of the State of New York and may have been violated
by equal protection 03JAN2021 based on possible bribes or collusion to LOOSE the
football game due to substitution of the Quarterback, so the GIANTS were not able to
be in the playoffs, the coach has since been terminated. On 13JAN2021 at 4:10 PM,
a 321 Page AMMENDED & CORRECTED EMERGENCY EXPEDITED
PETITION FOR HEARING ENBANC AND INJUNCTIVE RELIEF

BECAUSE OF CRIMES (18 U.S. Code § 1519 - Destruction, alteration, or

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falsification of records) & MAIL FRAUD AND TO COMBINE CASES FOR
JUDICIAL EFFICIENCY AND SUMMARY AFFIRMATION in Philadelphia
USCA case 20-1422, which was prior to the vote of the SNAP IMPEACHMENT
with NO abilility of the president to present any witnesses or other

EXCULPATARY evidence This was equivalent of a HIGH TECH LYNCHING
(to quote Clarence Thomas) just like Mr. Cutler was subjected. The comments of the
president were selectively EDITED to remove the word peaceful, and the concept
this speech incited the riot is contradicticted by reports that the FBI knew about
activities for over a month (the document is contained in the Addemdum). This
impeachment as fair was as true and correct as the attack on 11SEP2012 when
[[Susan Rice]] stated “But our current best assessment, based on the information that
we have at present, is that, in fact, what this began as, it was a spontaneous -- not a

premeditated -- response to what had transpired in Cairo. In Cairo, as you know, a

few hours earlier, there was a violent protest that was undertaken in reaction to this

very offensive video that was disseminated.”

On 22JUN2020 a PETITION FOR IMMEDIATE INJUNCTION PENDING
APPEAL was finally put online in case 20-1449 even though it was actually filed on
20MAY2020 at 4:10 PM.. The case is called the UNITED STATES OF AMERICA
v. JOESEPH JOHNSON. The office of the president responded to this by
21MAY2020. The president gave a short NEWS CONFERENCE on 22MAY2020

demanding all places of worship be allowed to open. Employees of the federal

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government and others have been involved in a criminal conspiracy to OBSTRUCT
JUSTICE and damage the United States. In case #20-5143 DC USCA Nancy Dunn
obstructed documents mailed and sent to <ref> prosefilings@cadc.uscourts.gov
</ref> Mr. Cutler had sent a 330 page document on 17JUL2020 but that document
vanished, just like the white bunny HARVEY, who is invisible in the picture of Mke
Pence with his bunny Marlon Bundo on 16NOV2020 on the front page of the
Philadelphia Inquirer. The USPS tracking number 9510 8141 4908 0199 0615 60 is
not reporting results. The lawyers in sending Mr. Cutler the letters by MAIL makes
them all a party to the CONSPIRACY to INTERFERE IN INTERSTATE
COMMERCE and MAIL FRAUD. On 30SEP2020 at 12:42 PM (RESTAMPED
050CT2020) Jeffrey Cutler filled a 571 Page PETITION TO COMBINE CASES
FOR JUDICIAL EFFICIENCY BECAUSE OF CRIMES (18 U.S.C. § 653 MISUSE
OF FEDERAL FUNDS, MAIL FRAUD, AND OTHER CRIMES), AND
SUMMARY AFFIRMATION USCA CASE 20-2936. On 150CT2020 at 12:42 PM
Jeffrey Cutler filled a 194 Page AMENDED PETITION TO COMBINE CASES
FOR JUDICIAL EFFICIENCY BECAUSE OF CRIMES (18 U.S.C. § 653 MISUSE
OF FEDERAL FUNDS, MAIL FRAUD, AND OTHER CRIMES), AND

SUMMARY AFFIRMATION USCA CASE 20-2936 On 190CT2020 Jeffrey Cutler

filled a 244 Page ERATTA FOR AMENDED PETITION TO COMBINE CASES

FOR JUDICIAL EFFICIENCY BECAUSE OF CRIMES (18 U.S.C. § 653 MISUSE

OF FEDERAL FUNDS, MAIL FRAUD, AND OTHER CRIMES), AND

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SUMMARY AFFIRMATION USCA CASE 20-2936 On 280CT2020 at 1:38 PM
Jeffrey Cutler filled a PETITION FOR ENBANC REVIEW of PETITION TO
COMBINE CASES FOR JUDICIAL EFFICIENCY BECAUSE OF CRIMES (18
U.S.C. § 653 MISUSE OF FEDERAL FUNDS, MAIL FRAUD, AND OTHER
CRIMES), AND SUMMARY AFFIRMATION AND PEREMTORY
DISQUALIFICATION OF ALL JUDGES OF THE THIRD CIRCUIT AND MOVE
TO FIFTH CIRCUIT. On 12NOV2020 at 3:56 PM Jeffrey Cutler filled a PETITION
TO COMBINE ADDITIONAL CASES BEFORE ENBANC REVIEW BECAUSE
OF ADDITIONAL CRIMES (18 U.S. Code § 1519 - Destruction, alteration, or
falsification of records) FOR JUDICIAL EFFICIENCY in USCA case 20-2936

On 23NOV2020 AT Jeffrey Cutler filed al99 page PETITION FOR INJUNCTIVE

RELIEF BECAUSE OF CRIMES (18 U.S. Code § 1519 - Destruction, alteration, or

falsification of records) AND TO COMBINE CASES FOR JUDICIAL
EFFICIENCY AND SUMMARY AFFIRMATION IN CASE 20-3371 IN PERSON
IN PHILADELPHIA AT 3:45 PM. THIS IS the appeal of DONALD J. TRUMP FOR
PRESIDENT INC., et al. v. KATHY BOOKVAR, et al. case 4:20-cv-02078. Mr.
Cutler filed a 322 MOTION TO DECLARE DONALD J. TRUMP, INC.
VICTORIOUS FOR INJUNCTIVE RELIEF BECAUSE OF CRIMES (18 U.S.C. §
1519 — Destruction, alteration, or falsification of records, MAIL FRAUD, AND

OTHER CRIMES), COMBINE CASES FOR JUDICIAL EFFICIENCY AND

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SUMMARY JUDGEMENT and it is time stamped 19NOV2020 case case number
4:20-cv-02078. Even though it is on 322 page document it was put on the DOCKET

as ECF 180 and ECF 181. Both of these documents are available via the internet at

<ref> https://www.courtlistener.com/recap/gov.uscourts.oamd,. 127057/qov.uscourts.oamd.127057.180.0.pdf
</ref>
<ref> https://www.courtlistener.com/recap/gov.uscourts.pamd.127057/qgov.uscourts.oamd.127057.181,.0.0df

</ref>

Mr. Cutler has written in the document that COVID-19 is BIO-WARFARE FROM
CHINA AIDED BY BRIBES AND CORRUPTION AROUND THE WORLD. A
COPY WAS EMAILED TO OVER 200 PERSONS AND NEWS
ORGANIZATIONS, INCLUDING RUDY. BASED ON MR. CUTLER'S
VALIDATION EXPERIENCE HE THINKS THAT THE TESTING
COMPONENTS MAY BE TAINTED and actually causing increase in COVID-19.
This is based on PREVIOUS actions by CHINA.
<ref>httos://www.govinfo.gov/content/pkg/CHRG-L10hhrg53183/html/CHRG-110hhrg53183.him </ref>

<ref> httos://www.nytimes.com/2008/03/06/health/Osheparin.htmi</ref>

<refPnhitps:/ /www.latimes.com/archives/la-xpm-2008-mar-20-na-fda20-story.htmi</ref>

<ref>nhttps://en.wikipedia.org/wiki/2007_pet food recalls </ref>
18 U.S. Code § 1519 - Destruction, alteration, or falsification of records involving
ECF 33 filed 280CT2020. Mr. Cutler believes the same technique used in the VW

EMISSIONS SCANDAL WAS USED TO ALTER VOTES and possibly by the same

programmers <ref>

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httos://www.nytimes.com/interactive/2015/business/international/vw-diesel-emissions-scandal-

explained.htmi</ref> <ref>nittps://www.ydr.com/story/news/politics/elections/201 9/11/06/how-pa-fix-

paper-ballot-voting-problems-before-2020-presidential-election/2507101001/</ref> PER USCA CASE
17-1770 JOE BIDEN IS INVOLVED IN DEALING IN STOLEN NAZI ART
FROM WWII. THE 199 PAGE DOCUMENT FILED 23NOV2020 AT 3:45 PM
VANISHED IN FEDERAL COURT!!

On 31DEC2020 Jeffrey Cutler at 11:11 AM he filed a 383 PAGE MOTION FOR
SUBSTITUTION OF JUDGE AND MOTION FOR RECONSIDERATION AND
INJUNCTIVE RELIEF BECAUSE OF CRIMES (18 U.S. Code § 1519 -
Destruction, alteration, or falsification of records) & MAIL FRAUD AND TO
COMBINE CASES FOR JUDICIAL EFFICIENCY AND SUMMARY
JUDGEMENT in the UNITED STATES DISTRICT COURT OF THE EASTERN
DISTRICT OF NEW YORK CASE #1:17-cv-05228 (STATE OF NEW YORK v.
DONALD J. TRUMP) AS AN INTERVENOR DEFENDANT.On page 46&47 of
USCA case 20-2936 filed 12NOV2020 (55 & 56 of ECF 181 case 4:20-cv-02078) is

documented evidence of (18 U.S. Code § 1519 - Destruction, alteration, or

falsification of records) involving ECF 33 filed 2830CT2020. Mr. Cutler believes the

same technique used in the VW EMISSIONS SCANDAL WAS USED TO ALTER
VOTES and possibly by the same programmers <ref>
https://www.nytimes.com/interactive/201 5/business/ international/vw-diesel-emissions-scandal-explained.htmt</ ref>

<ref>ntps://www.ydr.com/story/news/politics/elections/20 19/1 1/06/how-pa-fix-paper-ballot-voting-problems-before-2020-

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presidential-election/2507101001/</ref> PER USCA CASE 17-1770 JOE BIDEN IS
INVOLVED IN DEALING IN STOLEN NAZI ART FROM WWIL. Mr. Cutler
previously had filed copies of documents from case 19-11466 (Bankruptcy of
PHILADELPHIA ACCADEMIC HEALTH SYSTEM- HAHNEMANN HOSPITAL
), in ECF 66 case 5:19-cv-00834 filed 14AUG2020 ( documents vanished, see pages
23, 53 & 60). Mr. Cutler had desired to keep the hospital open since he had been a
previous grad of DREXEL UNIVERSITY. In fact he had talked to 2 of the bidders
for the Hospital that wanted to KEEP IT OPEN as a running HOSPITAL and offered
funds from the DEFAULT JUDGEMENT FROM BRIAN SIMMS. Tom Wolf, the
mayor of Philadelphia, and Brian Simms all gave speeches that were covered by the
media, but everything Mr. Cutler did was censored. Mr. Cutler was prevented from
atteding hearings at the law office of Saul Ewing while reporters were allowed to
attend at the law office of Saul Ewing (he was asked to leave by security, and
Philadelphia Police). Mr. Cutler previously had contested the states order that they
could redistrict (USCA Case 18-1816) via a method that gave the court this power
even though it VIOLATED THE PENNSYLVANIA CONSTITUTION and
allowed it to be ammended in 10 days, <ref> https:/www.brennancenter.org/legal-work/corman-v-torres
</ref><ref> https://redistricting.lls.edu/files/PA%20corman%2020180724%20brief pdt </ref> and conceal the
MURDER of employee of the Federal Government with the aid of the [[FBI]]. Mr.

Cutler a former ELECTED TAX COLLECTOR in November 2013 and has been

trying to clear his name based on PERJURED testimony 18 U.S.C. § 1001, bank

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robbery by others, insurance fraud on 17MAR2017 and a challenge to
OBAMACARE on 31DEC2013 (case 1:13-cv-2066 in Washington, DC). Mr. Cutler
was granted the right to challenge OBAMACARE by the USCA in Washington, DC
on 14AUG2015. Mr. Cutler has filed in many cases and has caught persons
obstructing justice like in case 20-5143 (USCA Washington, DC), Nancy Dunn
stated she discarded all the documents and OBSTRUCTED JUSTICE. Many cases
involve unopposed motions. Priority mail tracking number #9510 8066 2091 0225
1534 23. A document sent to the Supreme court on 30NOV2020 at 4:28 PM used
Express Mail, tracking number EJ5050342510S and vanished also, just like previous
documents in federal court. In case # ON 07DEC2020 JEFFREY CUTLER FILED
VIA NEXT DAY MAIL (EJ505033021US) A 315 PAGE MOTION FOR
RECONSIDERATION AND INJUNCTIVE RELIEF BECAUSE OF CRIMES (18
U.S. Code § 1519 - Destruction, alteration, or falsification of records) AND TO
COMBINE CASES FOR JUDICIAL EFFICIENCY AND SUMMARY
JUDGEMENT IN CASE 1:17-cv-05228 (STATE OF NEW YORK v. DONALD J.

TRUMP AS A Intervenor Defendant. [[DACA CASE CITING EQUAL

TREATMENT UNDER THE LAW- first 59 pages of 315 attached in the

Addendum]] ON PAGE 67 IS EVIDENCE OF ELECTORAL FRAUD AND
DONALD TRUMP VICTORY IN PENNSYLVANIA. ORIGINALLY FILED AS
PAGE 169 (#320) USCA CASE 20-2936 (COUNTY OF BUTLER, et al. v. THOMAS

WOLF, et al.). Even though the document IN CASE 1:17-cv-05228 was recieved on

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08DEC2020 AT 10:56 AM, it has yet to be put on the DOCKET, despite multiple
claims by the clerks. Josh Shapiro (a SONDERKOMMANDO) is part of the case in
New York, and a MAIL FRAUD complaint has been submitted for his previous

actions and BASED ON A STORY ON PAGE B2 09DEC2020 PHILADELPHIA

INQUIRER, AG SHAPIRO IS GUILTY OF MAIL FRAUD BASED ON

RESPONSE AND FILINGS OF LETTER SENT JUNE 20, 2017 PAGE 59 OF A
315 PAGE MOTION FOR RECONSIDERATION. Since he is part of the
ELCTORAL COLLEGE in Pennsylvania, his vote for Joe Biden will also be a
CONSPIRACY to commit MAIL FRAUD with the other electors and is also
AIDING AND ABETTING in concealing the MURDER of a BLACK
FEDERAL EMPLOYEE (and they are violating 18 U.S.C. § 3 Accessory after the
Fact MURDER of Jonthan Luna). In a previous case in Pennsylvania Judge
Clarence C. Newcomer ruled that the Democratic campaign of William G. Stinson
had stolen the election from Bruce S. Marks in North Philadelphia's Second
Senatorial District through an elaborate fraud in which hundreds of residents were
encouraged to vote by absentee ballot, a form of MAIL FRAUD. On many of the
ballots, they used the names of people who were living in Puerto Rico or serving time

in prison, and in one case, the voter had been dead for some time.

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"Substantial evidence was presented establishing massive absentee ballot fraud,
deception, intimidation, harassment and forgery," Judge Newcomer wrote in a
decision made public. <ref> htps://www.leagle.com/decision/199489219f3d8731759 </ref>,

<ref> https://www.nytimes.com/1994/02/19/us/vote-fraud-ruling-shifts-pennsylvania-senate.html </ref>. Even
though the judge is named as part of the complaint filed for case #1:20-cr-00165 for
MAIL FRAUD, someone else could be the real culprit. Judge Jeffrey Schmehl in
case 2:17-cv-00984 (Appeal 17-2709) specifically ruled that FAILURE TO SERVE
was a reason to deny ALL motions by Mr. Cutler. It was established that ALL
parties FAILED TO EVEN ATTEMPT TO SERVE ALL PARTIES. The same
judge has shown BIAS and MALICIOUS intent to violate EQUAL TREATMENT
under the law, a violation of the United States Constitution Ammend 5, in an effort
to violate Mr. Cutler’s right to redress of grievances and as a violation of 18 U.S.C. §

3 accessory after the Fact MURDER of Jonthan Luna (a BLACK employee of the

FEDERAL GOVERNMEMT). The same persons that MURDERED Luna based on

the injuries may be the same individuls in a Louisiana town of Baldwin that are
responsible for the death of Quawan "Bobby" Charles. A mail fraud complaint has
been filed against Judge Schmehl for his opinion in the case, for making
PERJURED STATEMENTS BY MAIL, (18 USC § 1001) and an effort to protect
parties that defaulted as well as both insurance companies and their lawyers making
false statements by mail in denying claims. Mr. Cutler believes he should be

included in this case because the Safehouse activity would lower the property values

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all over Philadelphia and Pennsylvania and allow illegal drugs to become even more
readily available. This would set a standard for CHINA to attack the United States
even further. The DemoNcrats have pushed for the lowest common demoninater of
activity and depavity to destroy this Republic, and destruction of GOD in favor of the
STATE. This WORLDWIDE attack based on payments and corruption this court
MUST deny them the chance to succeed and promote DRUG DENS in Philadelphia.
On 13MAY1985, then district attorney Ed Rendel allowed FIVE CHILDREN to be
CREMATED ALIVE, based on BOMBs furnished by the [[FBI]], as a form of
eviction. Midge Rendel has failed to RECUSE from 18-3693.

Statements by Jason Confair (Manhiem Township) and Robert DiDominicis
(Haverford Police) fail to serve Mr. Cutler in their latest filing (ECF 41 and ECF 50).
Mr. Cutler believes this constitutes a CONSPIRACY to conceal the murder of a
Federal Employee found on 04DEC2003 (Jonathan Luna) , by persons in the
governments (both federal and state) and also the murder of five children on May 13,

1985 as a form of Eviction with the aid of persons in the FBI. Mr. Cutler had stated

that he believed that the MURDER of JONATHAN LUNA was carried out by the

KLU KLUX KLAN, and concealed with help persons of the FBI. Mr. Cutler based
on his past jobs & training that the COVID-19 pandemic is BIO-WARFARE against
the world from CHINA and CORRUPT OFFICIALS & CORRUPT MEDIA.
Based on his previous contracts in VALIDATION for MERCK , BAXTER, J&J

etc. GMP training and the only 609 cases and 7 deaths in TAIWAN as of

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20NOV2020, THAT THE TESTING COMPONENTS MAY BE TAINTED and
actually causing increase in COVID-19. This is based on PREVIOUS actions by

CHINA. <ref>nhttos://www.govinfo.gov/content/pkg/CHRG-1 10hhrg53183/html/CHRG-1 10hhrg53183.him

</ref>
<ref> https://www.nytimes.com/2008/03/06/health/Oéheparin.htmi</ref>

<ref>https://www.latimes.com/archives/la-xpm-2008-mar-20-na-fda20-story.himi</ref>

<ref>https://en.wikipedia.org/wiki/2007_pet_food_recalls </ref>. Based on these facts, the current
non-binding mandate from the Dr. Levine and others in other STATES may be trying
to increase the number of cases, to HARM the UNITED STATES based on bribes
and TREASON by mostly DemoNcrats and some Republicans posing who are
RHINO’s.

Every Public Health official that fails to recommend mass Pneumonia vaccinations
is complicit in the deaths in the United States. Although Thanksgiving is not a
religious holiday, many people say a prayer before the meal and therefore the
restrictions on Thanksgiving is a VIOLATION of the ESTABLISMENT
CLAUSE, also since it tries to limit prayer services in PA. , INTERFERENCE IN
INTERSTATE COMMERCE, and the order also violates EQUAL
PROTECTION since commuters are exempt in Pennsylvania. Forced testing
without a court order violates the FIRST Amendment, just like you cannot be forced

to give a DNA sample. Mr. Cutler owns stock in Merck, which manufactures

PNEUMOVAX23, and the actions of Dr. Levine have depressed the value of the

company, and should be prosecuted just like Martha Stewart was charged and put in

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prison, but also pushing sales at AMAZON. On 17JUL2020 TOM WOLFE issued a
DECREE that LEBANON COUNTY cannot get about 12.8 million directed to the
county via the CARES act and VIOLATED 18 U.S.C. § 653, misuse of federal
funds and Equal Treatment Under the law (Ammend 14), since LANCASTER
COUNTY did the exact same thing. <ref>
https://pittsburgh.cbslocal.com/2020/07/22/lebanon-county-sues-governor-tom-wolf/</ref> On
or about 14AUG2020 Tom WOLF reversed himself but dictated that Lebanon
County MUST use 2.8 million of the CARES act funding for MASK
ADVERTISING in direct support of Joe Biden’s campaign focus <ref>
https://papost.org/2020/08/14/reversing-course-wolf-releases-cares-act-funding-to-lebanon-
county/</ref>, which is five years since the USCA in Washington ruled Mr. Cutler
had the right to Defend the Establishment clause (case 14-5183) and 75 years since
VJ day of WWII. DR. FAUCCI, KRISTEN WELKER and Persons of the CDC
have LIED about an Approved Vaccine to Stop COMPLICATIONS from the FLU
& COVID-19 <ref>nttps:/www.futuremedicine.com/doi/10.2217/fea-2020-0082</ref>. They are called
PNEUMOVAX23 and Prevnar13 which are the PRIME COMPLICATION TO
THE COVID-19 that result in DEATH from pneumococcal disease <ref>

https://www.diabetes.org/diabetes/medication-management/flu-and-pneumonia-shots</ ref>. KRISTEN

WELKER’S HUSBAND IS A MARKETING EXECUTIVE FOR MERCK. On

22JUN2020 a PETITION FOR IMMEDIATE INJUNTION PENDING APPEAL

was finally put online in case 20-1449 even though it was actually filed on

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20MAY2020 at 4:10 PM.. The case is called the UNITED STATES OF AMERICA
v. JOESEPH JOHNSON. The office of the president responded to this by
21MAY2020. The president gave a short NEWS CONFERENCE on 22MAY2020
demanding all places of worship be allowed to open. Employees of the federal
government and others have been involved in a criminal conspiracy to OBSTRUCT
JUSTICE and damage the United States. In case #20-5143 DC USCA Nancy Dunn
obstructed documents mailed and sent to <ref> prosefilings@cadc.uscourts.gov </ref>
Mr. Cutler had sent a 330 page document on 17JUL2020 but that document
vanished, just like the white bunny HARVEY, who is invisible in the picture of Mke
Pence with his bunny Marlon Bundo on 16NOV2020 on the front page of the
Philadelphia Inquirer. The USPS tacking number 9510 8141 4908 0199 0615 60 is
not reporting results. The lawyers in sending Mr. Cutler the letters by MAIL makes
them all a party to the CONSPIRACY to INTERFERE IN INTERSTATE
COMMERCE. Mr. Cutler’s brother FRED had recently got a job as an USHER

for the PHILADELPHIA PHILLES for the 2020 season, but because of the

CONSPIRACY to close the states there will be no live viewing of games this

season. Mr. Cutler’s brother and approximately 69 MILLION other people
(approximate attendence of 2019 baseball season) have been denied the RIGHT of
PURSUIT OF HAPPINESS as is part of the DECLARATION OF
INDEPENDENCE. Thomas Wolf and Jim Kenney have allowed almost

unrestricted protest marches with POLICE escorts, but cancelled other parades and

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events. Mr. Cutler had proposed an option to have games played in every city. As

stated by Judge James C. Dever III ruling 16MAY2020 there is NO PANDEMIC
EXZEMPTION IN THE CONSTITUTION. The news media in concert with
individuals in the DEMOCRATIC party have and some that pretend to be
REPUBLICANS have conspired to impact the UNITED STATES. Mr. Cutler filed a
complaint with the OIG of PBS/NPR on 10SEP2020 for 18 USC § 653-MISUSE OF
FEDERAL FUNDS FOR NOT REPORTING THIS STORY OR CASE. THIS IS
A CRIMINAL MATTER. The NEWS MEDIA AND OAGs ARE AIDING
AND ABETTING in concealing the MURDER of a BLACK FEDERAL
EMPLOYEE just like Cecily Aguilar, 22 has been charged (and they are violating
18 U.S.C. § 3 Accessory after the Fact MURDER of Jonthan Luna). The Employee
is Jonathan Luna <ref> https://en.wikipedia.org/wiki/lonathan Luna </ref> and Beranton
Whisenant <ref> https://en.wikipedia.org/wiki/Beranton Whisenant </ref> Justin Zemser and
Sean Suitter. The recent murder of Roy Den Hollander in New York for challenging
the news media (case 1:16-cv-06624) is just another crime concealed from the
public. That case is included by reference and joined to this one. The crime-fraud
exception was first recognized in the United States over one hundred years ago, and
the policy behind it is well-defined. (The crime-fraud exception was first recognized
in the United States in Alexander v. U.S., 201 U.S. 117, 121 (1906).) The legal
community does not deem discussions concerning future wrongdoings, such as

fraud, that occur during an attorney-client communication worthy of protection. Id.

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at 562-63. While the practice of law encourages full and frank communications
between the attorney and client, only communications concerning past wrongdoings
are protected. Mr. Cutler had previously been elected to Public Office as the TAX
COLLECTOR of East Lampeter Township, Lancaster County Pennsylvania, based

on an Election in November 2013. and took the Oath of OFFICE prior to his first

day on the job, on 06JAN2014. Mr. Cutler filed his first lawsuit on 31DEC2013

regrding violations of Religious Freedom as case number 1:13-cv-02066. He was
granted the right to challenge OBAMACARE in Appeal as case 14-5183 on
14AUG2015 for violations of the ESTABLSHMENT CLAUSE. Mr. Cutler was
removed from Office after 27 months based on PERJURED TETIMONY, and a
CONSPIRACY TO COMMIT MAIL FRAUD and BANK ROBBERY. In
Manhiem township Patricia Kabel (elected the same year as Mr. Cutler) was
harrased in a similar manner was equally harrased in court and the township spent

about 160,000 of taxpayer money to make her leave office. <ref>
https://lancasteronline.com/news/local/commonwealth-court-denies-manheim-township-school-districts-appeal-in-

long-running-tax-collector-case/article_127508cc-c2e5-11ea-864a-8b754638d23f.htm| </ref>Based on these
actions Mr. Cutler investigated the parrties involved and tried to have a FEDERAL
JURY TRIAL to clear his name. Since he found no law firm would represent him
based on contacts with the FBI or law enforcemnt. The lancaster county treasurer
was apponted to replace Mr. Cutler in the collection of taxes and never had a surety

bond until 18JUL2018 <ref> https;//lancasteronline.com/news/local/lancaster-county-treasurer-without-

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insurance-for-millions-in-tax-dollars/article_ef5b90bc-89d5-11e8-8ace-77712e721cba.htm! </ref> No Prosection
of the treasurer was ever instituted, a clear violation of EQUAL TREATMENT
On 20MAY2020. Mr. Cutler won a motion for reconsideration in the court based
on EQUAL TREATMENT under the law in this court (case # 1:17-cv-01740
06NOV2017), but the judge failed to award any compensation as requested and the
clerks removed one defendant from the case an tampered with the document.
Pennsylvania has previously had a number notorious crimes of public employees
<ref> https://en.wikipedia.org/wiki/Kids_for_cash_scandal </ref> (including judges Mark Ciavarella &
Michael Conahan) convicted of federal crimes that resulted in convictions. Mr.
Cutler filed for an IMMEDIATE INJUNCTION PENDING APPEAL FOR
ALL juridictions of the United States, based on the ruling in case # 4:20-cv-00081
in the United States District Court for the Eastern Ditrict of North Carolina on

16MAY2020 by Judge James C. Dever III. Since Governor Roy Cooper has made

public statements that he does not intend to appeal, this is settled law. Mr. Cutler

had filed a Petition to DENY the Motion For Summary JUDGEMENT and to
consolidte related cases of religious discrimination by the government in case USCA
20-1805 on L4MAY2020 and the document and was not put online until
20MAY2020. The document filed by Brian L. Calistri on May 8, 2020 contains
some perjured statements and since it was sent by mail constitues Mail Fraud and
Perjury (18 USC § 1001) and constitutes a CONSPIRACY to conceal the murder

of a Federal Employee found on 04DEC2003 (Jonathan Luna) , by persons in the

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governments (both federal and state) and also the murder of five children on May
13, 1985 as a form of Eviction with the aid of persons in the FBI, by furnishing the
bombs. Mr. Cutler had stated that he believed that the MURDER of JONATHAN
LUNA was carried out by the KLU KLUX KLAN, and concealed with help of the
FBI. The judge dismissed the case even though 5 parties defaulted and were
properly served. Based on ECF #5 in case # 2:17-cv-00984 by the late Thomas
O’Neill, Mr. Brian L.Calistri’s motion failed to notify the parties that have
defaulted in this case and therefore should have been DENIED. Mr. Cutler had
made a complaint by mail to the DA office in Lancaster County, Pennsylvania and
York, County Pennsylvania. Mr. Cutler had also filed a motion to intervene on

22SEP2019 in the case of Tami Levin in federal court case 2:19-cv-03149 (ECF 5)

which named DA Larry Krasner as a Defendant in the case. Mr. Cutler also filed a

response to the motion filed in oppoition on 25SEP2019. Even though the document
filed on 25SEP2019 contained evidence of OBSTRUCTION OF JUSTICE and
VIOLATIONS of EQUAL PROTECTION, Judge Eduardo C. Robreno issued an
order on 090CT2019 which not only denied Mr. Cutler’s right to intervene but also
violated the United States Constitution Ammend 1, by making a THREAT BY
MAIL if Mr. Cutler filed any additional motions in the case, limiting Mr. Cutler’s
right to PETITION THE GOVERNMENT FOR REDRESS OF
GRIEVIENCES. Tami Levin was replaced by Movita Johnson-Harrell who

pleaded guilty to the theft of approximtely half million dollars. Mr.Cutler had filed

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objections to limit the power of the Tom Wolf to classify that religion as a NOT a
LIFE SUSTAINING activity in the Commonwealth of Pennsylvania. Mr. Cutler
filed his first lawsuit on 31DEC2013 regrding violations of Religious Freedom as
case number 1:13-cv-02066. He was granted the right to challenge OBAMACARE
in Appeal as case 14-5183 on 14AUG2015 for violations of the ESTABLSHMENT
CLAUSE. To this end Mr. Cutler filed documents in case 4:18-cv-00167-0 to
transfer it to Pennsylvania, but it was DENIED 21JAN2020. Mr. Cutler filed an
Appeal for the order on 04FEB2020 in the United States Court of Appeals Fifth
Circuit. When that was illegally ignored. Mr. Cutler filed documents in
Pennsylvania. Mr. Cuttler had requested that district court case number 4:20-cv-
0064 in the United States District Court for the Northern District of Mississippi
[TEMPLE BAPTIST CHURCH et al. v. CITY OF GREENVLLE et al.], and
case number 1:20-cv-00323 in the United States District Court for the Western
District of Michigan [KIMBERLEY BEEMER et al. v. GRETCHEN WHTMER
et al.] and case number 1:20-cv-01130 (Mr. Cutler had a typing error and
previously wrote 1:20-cv-01120) in the United States District Court for the District
of MARYLAND, BALTIMORE DIVISION [ANTIETAM BATTLEFIELD KOA
et al. v. LAWRENCE J. HOGAN et al.] are also cases that should be part of this

consolidation. All charges in each case should be included by reference for all civil

cases as if they are filed with this filing, for JUDICIAL EFFICIENCY. Judge

Catherine C. Blake of Maryland had one of the documents returned, obstructed

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justice, and violated 18 U.S.C. § 3 Accessory after the Fact MURDER of Jonthan
Luna, on 03JUN2020 (birthday of Jefferson Davis after it was stamped in on
01JUN2020) after the office of AG in Maryland had responded to Mr. Cutler. Mr.

Cutler has previously called Mr. Wolf a member of the KLU KLUX KLAN in

documents related to this case in federal court. <ref>_ https://forward.com/fast-

forward/444442/nj-man-accused-of-ordering-attacks-on-synagogues-released-from-jail/ </ref>Despite Mr.
Cutler filing a request with the state prior to the end of the WAIVER deadline that
ALL BUSINESSES in Pennsylvania be considered LIFE SUSTAINING , Mr.
Cutler has never heard back about his request until 12MAY2020. Mr. Wolf also
NOW has a NEW group to TRACK everyone in PENNSYLVANIA that has the
COVID-19 virus or other secrect police duties. Based on the case of the aids law
project tracking people that have one type of virus is unconstitutional, and exposing
their idenity is equally unconstitutional. The concept of EQUAL PROTECTION
UNDER the LAW is a cornerstone of both the United States Constitution and the
Commonwealth of Pennsylvnia. Based on the story about Mike Du Toit of South
Africa <ref> https://www.dailymail.co.uk/news/article-2478889/White-supremacist-Mike-du-Toit-plotted-kill-
Nelson-Mandela-jailed.html </ref> the BOEREMAG was just another name for KLU
KLUX KLAN. Also Tom Wolf made statements that said that people cannot be
evicted until July yet in there are 6 pges of Legal Notices in the Inquirer on
07MAY2020 that ure WRIT OF EXECUTION to sieze property. Recently in

New York white police officers were beating a BLACK MAN for failing to practice

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social distncing (neither police officer was wearing a mask), and they should be
prosecuted for violating the same law that they were alledgely enforcing. It is
notable that Wikipedia has SCRUBBED Mike Du Toit from their records
(effectively trying to rewrite history). Taiwan is about 100 miles from CHINA, yet
has less than ten deaths and 500 confirmed cases. In the Appeals for the Fifth
Circuit the Order from the United States Northern District of Texas dated J anuary
16, 2020 denying Plaintiff's MOTION FOR RECONSIDERATION OF MOTION
TO CHANGE VENUE FOR CASE 4:18-cv-00167-0 FROM STATE OF TEXAS

TO PENNSYLVANIA AND COMBINE CASE WITH 5:19-cv-00834 , and the

motion denying Plaintiffs motion of December 30, 2019. The current order from

that court is in error since the USCA order of December 18, 2019, remanded the
case back to District Court and for further disposition and was unopposed and is still
unopposed. Mr. Cutler had previously filed a document by MAIL on March 1, 2019
but it was illegally discarded. He then filed on O7MAR2019 in person (Document
00514863727) , and it was put online March 7, 2019. The office of the clerk
decided it would be ignored. Mr. Cutler filed a NOTICE OF APPEAL on
27JAN2020, (Document 00515289904 International Holocaust Remembrance Day),
and it was only put online when Mr. Cutler informed the Deputy Clerk Mary
Francis Yeager that she was violating Mr. Cutler’s civil rights. It was put online
January 29, 2020. A violation of EQUAL PROTECTION by employee of the

federal government, which treated the two documents differently and potentially hid

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the document from the review of the judges considering an ENBANC review. Mr.
Cutler subsequently filed a PETITION FOR ENBANC HEARING AND TO
TRANSFER RESIDUAL CASE TO PENNSYLVANIA AND COMBINE WITH
CASE 5:19-cv-00834, this document was put online as document number
00515298284 on 04FEB2020, the same date it was filed in court. In the case both
Deputy Clerk Mary Francis Yeager and Deputy Clerk Roeshawn Johnson
denied the petition. This violated the United States Constitution Ammend 1 and 5.
It also also violates Mr. Cutler’s rights under the Sixth Amendment of the
Constitution. Mr. Cutler then on 04MAR2020 filed a 380 page document in this

case (2:19-cr-00367). Within 24 hours of the filing Mr. Cutler got a threat by phone

from an unidentified individual about the filing. On 06MAR2020 Mr. Cutler filed a

nine page correction to the document previously filed. When the document was
downloaded from the federal pacer system it was devoid of any markings. On
12MAR2020 Mr. Cutler filed a MOTION TO VACATE ORDER DENYING
ORDER OF RECONSIDERATION — ON 04MAR2020 FOR IMPROPER
SERVICE — BRADY VIOLATION AND COMBINE WITH CASE NUMBER
2:20-cv-00735 (GRANT v. PHILADELPHIA) AND 4:18-cv-00167-0 FROM THE
NORTHERN DISTRICT OF TEXAS AND DEFAULT JUDGEMENT. At that
time Mr. Cutler used the terminal in the Federal Courthouse to view some dockets.
In case 2:19-cr-00367 Mr. Cutler noticed the copy of the document (ECF 99) NOW

was properly marked. Based on this Mr. Cutler printed a second copy of the

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document. Based on Elouise Pepion Corbel et al. v. Gale v. Norton, et al. (03-5262,
03-5314). Mr. Cutler requested the district court cases be consolidated in
Pennsylvania and deliberations allowed on an expedited basis since they both
involve related issues and the Supreme Court previously has indicated they will not

consider the case this term, even though oral arguments were already made. This

court had allowed the House of Representatives to be an Intervenor. The petitioner,

Jeffrey Cutler, acting pro se, respectfully previously identified that the speaker of the
house of representaives, in her official capacity, as the speaker of the House of
Representatives (and former resident of Baltimore, Maryland).

This is the same city that Johnathan Luna on 03DEC2003 (a black federal
employee) left his office at approximately 11 PM and was found dead the next
morning (04DEC2003)in Lancaster County, Pennsylvania with 36 stab wounds,
neck back and genitals, but the cause of death was drowning as per the Medical

Examiners. The FBI tried to force two Medical Examiners to say the MURDER

was a Suicide. Sean Suiter a Baltimore Police officer died from a MURDER that

was later classified a suicide during a special arrest, 1 day before he was to testify.
Other individuals have died unexpectedly, possibly of murder including Beranton
Whisenant Jr. (also a federal prosecuter), and Kobe Bryant. Mr. Cutler’s cousin
Robert Needle, (who died unexpectenly in May 2017) may have previously contacted
Mr. Beranton Whisenant, who died on or about 25MAY2017. The medical records
of Jonathan Luna have finally resurfaced and are currently trying to be

Be

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sealed/hidden by the current DA in Lancaster County. Mr. Cutler had stated in
public documents that he believes Mr. Luna was murdered by the KLU KLUX
KLAN. Mr. Cutler also now believes that THOMAS C. WALES was also

MURDERED by the KLU KLUX KLAN 110CT2001.<ref>
hitos://www.fox43.com/article/news/jonathan-luna-murder-mystery-2003/521-2229b272-9355-4308-8 1 63-

506440862577 </ref><ref>

httos://lancasteronline.com/news/local/Inp-county-clash-over-newly-discovered-recoras-in-jonathan-
luna/article 01ba656a-483b-11ea-86ed-43533b224839.htmi </ref><ref>

httos://lancasteronline.com/news/local/lancaster-county-judge-gives-prosecutor-days-to-say-why-
jonathan/article_ 64a05086-49ec-1 lea-8d57-37ffalb9ed27.html </ref><ref>

hitps://www.wgal.com/article/newly-discovered-documents-are-related-to-investigation-into-death-of-
federal-prosecutor-jonathan-luna/30783745 </ref><ref>

https://www.pennlive.com/news/2020/02/re-discovery-of-records-on-mysterious-death-of-federal-prosecutor-
prompis-fight-between-da-news-media.html </ref><ref>

https://www.youtube.com/watche@v=cLAIdUHDwis </ref> <ref>
hitps://www.nbcnews.com/news/us-news/disgraced-baltimore-police-officer-says-detective-who-was-killed-
testifying-n844831

</ref> <ref> https://www.cnn.com/2018/08/29/us/baltimore-police-detective-sean-suiter-
suicide/index.html </ref>

Nancy Pelosi made a false statement in court via her lawyer (Mr Donald B. Verilli

Jr.) stated “[N]o one would be hurt and the greater justice would be attained” and
violated (18 USC § 1001) on 03JAN2019 on page 24 of the filing that was made in
case 4:18-cv-00167-0, a significant federal crime. It is interesting that the law firm of
DLA Piper (Kamala Harris’ husband works for this firm and was part of the case
against Mr. Cutler and also filed a motion on this same date against him because he
dared to continue to challenge the ACA . During a speech at the National
Association of Counties’ annual Legislative Conference on 9 March 2010, in

wees

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Washington D.C. <ref> httos://www.youtube.com/watch?v=QV7dDSgbaqo </ref>

she stated “We have to pass the bill to find out what is in it”. The petitioner “found
out what was in it” and filed a Pro se lawsuit 31DEC2013 in Wasington, DC case
1:13-cv-2066. He also via lawyers hired had previously filed a Writ of Certiorari
for the Supreme Court of the United States (15-632) and inserted that same writ in
United States Court of Appeals case 17-2709, page 314A, via district court case
number 2:17-cv-00984 page 10. Since the individual mandate of the Affordable
Care Act is now null and void based on the rulling of the USCA and the other
provisons of the bill should also be eliminated to preserve the constitution. Mr.
Cutler paid the docketing fee for the appeal in case 14-1449 to preserve the right of
appeal of Mr. Johnson. His lawyer previously made a false statement to the court
in his request to withdraw, based on the documents filed by Mr. Johnson (ECF
100-103) a significant crime (18 USC § 1001). The current orders of Tom Wolf in
Pennsylvania violate GMP procedures and allows the commonwealth to track

every individual on the Pennsylvania Turnpike. (See history of IBP recalls of beef

procedures that using a delivery ADDS RISK TO EXPOSING EVERYONE.) Mr.

Cutler had worked for multiple pharmaceutical and food compnaies including,
HEINZ, CAMPBELLS, MERCK, GSK, BAXTER and others. Mr. Cutler was
previously in charge of coordinating the Y2K and putting together the contingency

plan for MERCK Inc., West Point site. It is Mr. Cutler’s belief COVID-19 is

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actually an excuse for MASS GENOCIDE against individuals that are deemed
undesirable including Jewish and black Individuals and to discontinue pensions via
MURDER (see <ref> hitps://en.wikipedia.org/wiki/Joyce_ Gilchrist </ref>. It is very easy to
Bribe, coerce or pay individuals to bear false witness against another individual and
violate THALL SHALL NOT BEAR FALSE WITNESS and 18 USC § 1001. The
orders Thomas Wolf and other leaders have issued effectively allows the
governments in the United States to discontinue religion in and in the State

of Pennsylvania, by a member of the KLU KLUX KLAN or related organization.
Other members of the KLU KLUX KLAN in the United States and the World, are
all organized to take on the HOAX. This was previously called Agenda 21. As of
16MAR2020 Canada was still allowing flights from CHINA and those persons
could be carrying hazardous bio material simply enter the United States from

Canada. When Mr. Cutler was working for Merck as a contractor some individuals

were caught stealing trade secrects by security at the West Point site. It has

been known China has been effectively using live people for transplants for years.
Mr. Ellyahoo has stated the word in HUNGARY for SIN is pronounced VIRUS.

The closing of all CASINOS in the STATE is to get 100% of all gambling

revenue, to have a total monopoly on all sources of payment organized for a
complete Klu Klux Klan takeover. Jeffrey Smiles has told Jeffrey Cutler that the
Allentown Federal Courthouse contains NAZI insigna in the tile work in the building

(pending supreme court case # 19-8538 ), and there is a seven acre compound in

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Southern Lancaster county that is owned by the Klu Klux Klan. Mr. Smiles has
corrected Mr. Cutler’s statement that the insigna is actually in the Post Office tile
across from the courthouse. This all may have a connection of Joe Biden to China and
the transfer of technology to them that has violated the world’s civil rights, except
Taiwan with less than 10 deaths as of today. Joe Biden an Bill Cosby are named in
the same federal lawsuit supposedly about stolen art (USCA 17-1770). Also Based
on case # 19-cv-2407 in the Southern District of California, by Cyrus A. Parsa which
should be included by reference these claims are true and correct and the book

Bloody Harvest <ref> https://www.bookdepository.com/Bloody-Harvest-David-Matas/9780980887976
</ref>

Based on Mr. Cutler’s experience, Engineering Experience, and the case of Joyce

Gilchrist <ref> https://en.wikipedia.org/wiki/Joyce Gilchrist </ref> persons in Federal
government may have violated the Logan Act Stat. 613, 18 U.S.C. § 953 with
China. Since Mr. Wolf’s order is illegal, all the Insurance companies have
conspired to not pay BUSINESS INTERUPTION CLAIMS based on the order of
Tom Wolf, just like 2 different insurance companies failed to compensate Mr.
Cutler for his loss (Erie and State Farm Insurance) and conspired to Commit Mail
Fraud even though Josh Shapiro was served as part of the lawsuit naming the PA
insurance department. Mr. Wolf’s order also violates the Federal Voting law Voting
Rights Act of 1965, which prohibits any jurisdiction from implementing a "voting

qualification or prerequisite to voting, or standard, practice, or procedure ... ina

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manner which results in a denial or abridgement of the right ... to vote on account
of race," color, or language minority status. Based on the recent unsealed pleadings
of Judge Domenick Demuro (press release 20-472) , voter fraud has been in
Pennslvania a long time. The use of ABSENTEE ballots that are collected by
individuals denies the minor protection of MAIL FRAUD, usually asociated with
this type of voting. Mr. Cutler has attached a handicap placard P15703J renewal that
also may be voter fraud in Philadelphia and Mail Fraud. Since that person never
lived at that adress. Mr. Cutler had formally notified the court of voter fraud in
Pennsylvania as of 13DEC2016 in case # 2:16-cv-06287. The DOJ announced the
guilty plea of a judge of elections in Philadelphia 21MAY2020, the day after Mr
Cutler filed an Injunction Pending Appeal in case 20-1449, that prohibits ANY
JURISDICTION in the UNITED STATES from specifyin HOW TO PRAY. Mr.
Cutler also notifies this court that the failure of the Dams in the state of

Michigan may be the result of a deliberate act to prevent and obscure the lawsuit of
governor Gretchen Witmer’s unlawful act from being persued in federal court case
1:20-cv-00323. DR. FAUCCI, KRISTEN WELKER and Persons of the CDC have
LIED about an Approved Vaccine to Stop COMPLICATIONS from the FLU &
COVID-19 <ref>nttps:/;www.futuremedicine.com/doi/10.2217/fea-2020-0082</ref>. They are called
PNEUMOVAX23 and Prevnar13 which are the PRIME COMPLICATION TO THE

COVID-19 that result in DEATH from pneumococcal disease <ref>

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https:/Avww.diabetes.org/diabetes/medication-management/flu-and-oneumonia-shots </ref>. KRISTEN

WELKER’S HUSBAND IS A MARKETING EXECUTIVE FOR MERCK. Based
on Tigers in the Bronx zoo and Goririllas in San Diego zoo being diagnosed with
COVID-19, as well as one million mink in the Netherlands there is ZERO

evidence that the tigers, Goririllas ever failed to practice social distancing, because
the person would be called LUNCH. HIV has NO VACCINE. This
INVALIDATES ALL THE MODELS being used to justify the restrictions. Mr.
Cutler based on standard engineering concepts the death of Philadelphi Police
Lieutenant James Walker, Seth Rich, Bre Payton, Edgar Rosenberg, Lorna Breen,
Ellen Greenberg, and others may be MURDERS of the KLU KLUX KLAN, and 1-
2% of all law enforcement in the United States may be members or share their views.
Also some elected Officials and persons in the military all branches. An 8 year old
was raped in Bryant elementary school and his parents were denied the ability to sue
because they waited six months. Based on this the charges against William Henry
Cosby should be vacated. George Soros and other persons similarly situated may be
trying to destroy the United States economy and the Dollar by bad sharing of
information, just like on 25MAY1979 American Airlines Flight 191 DC-10,

crashed based on not sharing data. Mr. Cutler was trying to fly to Philadelphia that

day from Chicago. My friend Daria from Russia, stated that collapse of the dollar

was a stated goal of persons. Even in case, 1:20-cv-01130 that the document legally

filed is RETURNED for failing to file a motion to intervene PRIOR to filing the

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actual document, violating equal protection under the law and the United States
Constitution Ammend 5 and Ammend 1 by denying the ability for redress of
grievances. Also based on conflicting death reports, declaring a MURDER a

SUICIDE is one way to conceal MURDERS by POLICE or ELECETED officials
with the aid of News Outlets. Previous corruption in the United States based out of
Illinois called project GREYLORD was a 3.5 year activity. Mr. Cutler lived in
Illinois during some of this time frame and the joke voting saying was VOTE
EARLY AND OFTEN and JUST BECAUSE YOU ARE DEAD IS NO REASON
NOT TO VOTE <ref> hitps://en.wikipedia.org/wiki/Operation Greylord </ref>

<ref> hitps://www.chicagotribune.com/nation-world/chi-chicagodays-greylord-story-story.himt </ref> <ref>
https://www.latimes.com/archives/la-xpm-1987-12-10-mn-28034-story.htmi </ref> <ref>

https://fbistudies.com/wp-content/uploads/2017/04/FBI-Grapevine-Operation-Greylord-Hake.pdf </ ref>

It was RECENTLY announced that Rabbi Yisroel Goldstein was charged,

SENTENCED , while the individual that MURDRED Lori Gilbert-Kaye is still

awaiting trial (John Timothy Earnest) and Jeffrey Lyons is out on bail awaiting to

start his SENTENCE for a 55 MILLION DOLLR FRAUD <ref>
https://www.nbcsandiego.com/news/local/rabbi-shot-in-poway-synanoque-attack-pleads-quilty-
to-tax-fraud-docs/2365089/ </ref> <ref>

httos://en.wikipedia.org/wiki/Poway synagogue shooting </ref>

CHINA BREAKING THE AGREEMENT WITH HONG KONG IN 23 YEARS
MEANS THEY WILL BREAK ANY AGREEMENT INCLUDING THE USE OF
BIO-WARFARE. The attacks on the USS McCain, Fitzgerald, Bonhomme

Richard and effects in TAIWAN are evidence of cooridinated attacks on the

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United States which are being hidden from the general population like the civil
case against Nancy Pelosi. China has been bribing CIA employees and others for

years. There is no reason what Joe Biden did should be ignored. <ref>

https://thehill.com/policy/national-security/512385-former-cia-officer-charged-with-selling-us-secrets-to-china
</ref> <ref> https://www.bbc.com/news/world-us-canada-48319058_ </ref>

<ref> httos://www.bbc.com/news/world-us-canada-50520636 </ref> <ref>
httos://www.nytimes.com/2019/09/24/us/china-intelligence-sentence.htm|_ </ref>

The Story <ref> https://www.mercurynews.com/2017/06/14/james-hodgkinson-shooting-
facebook-republicans/ </ref>

James Hodgkinson may have had KKK support, because he was using SKS rifle
with FIXED 10 ROUND MAGAZINE and FBI COVERED FOR OTHER
SHOOTERS BEHIND HIM!!! The rifle James Hodgkinson was using required
loading with STRIPPER CLIPS!! It uses the SAME 7.62 round as the AK-47
VARIANT. HE fired 200 rounds in 2 minutes while WALKING AND
SHOOTING and it was COVERED UP!! NBC BROADCAST ON THE
BOTTOM SCROOL CAPTION AT THE TIME and stated by Senator RAND
PAUL!!! The NEWS MEDIA IS AIDING AND ABETTING in concealing the
MURDER of a BLACK FEDERAL EMPLOYEE just like Cecily Aguilar, 22 has
been charged. The Employee is Jonathan Luna <ref>
httos://en.wikipedia.org/wiki/Jonathan Luna </ref> and Beranton Whisenant <ref>
httos://en.wikipedia.org/wiki/Beranton_Whisenant </ref>, Sean Suiter from the Baltimore

Police department. <ref> https://blackthen.com/black-mysteries-unsolved-death-jonathan-
luna/

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_ <ref> For Years there has appers to have been a KLU KLUX KLAN serial rapist in
East Lampeter Township, Pennsylvania. This included Lisa Michelle Lambert and
possibly currently Linda Stoltzfoos and previous possible MURDER of JERRY

MURPHY of WI105 and covered up by the MEDICAL EXAMINER <ref>

https://lancasteronline.com/news/local/da-maintains-autopsy-in-luna-murder-mystery-should-
remain-sealed/article_ca83b358-céde-1 lea-a3eb-67597e2be2ci him

</ref> <ref> https://redistricting.lls.edu/files/PA%20corman%2020180724%20brief.pdf </ref>
East

Lampeter previous LAWSUITS, theft of PROPERTY <ref>

httos://law.justia,com/cases/federal/district-courts/FSupp2/17/394/2488681/ </ref> $ 540,000
theft

of LIFE savings and sent to PRISON 2008 case Levi Lapp Stoltfoos (MAYBE

RELIGIOUS FREEDOM) <ref> hittps://dockets,justia.com/docket/circuit-courts/ca3/17-
1772

</ref> On 18SEP2020 Justice Ruth Bader Ginsburg died on Rosh Hashanah, the
Jewish New Year. Also on September 18, 2020 at 2:48 pm Jeffrey Cutler filed a 324
page MOTION TO RECONSIDER MOTION TO INTERVENE AND COMBINE
CASES FOR JUDICIAL EFFICIENCY AND OBSTRUCTION OF JUSTICE AND
CONSPIRACY TO COMMIT MAIL FRAUD AND OTHER CRIMES AND
SUMMARY JUDGEMENT in case #1:20-cr-00165, United States v. Kevin
Clinesmith in Washington DC. The previous document was destroyed by the clerk or
Judge in the case. Watch https://www.youtube.com/watch?v=mgCle8F_zUk for more

information and read comments sorted newest first. Also see <ref>

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https://www.americanfreedomiawcenter.ora/case/jeffrey-cutler-v-u-s-dept-of-nealth-

human-services/ </ref> and <ref> https://www.brennancenter.org/legal-work/corman-v-torres
</ref><ref> httos://redistricting lis. edu/files/PA%20corman%2020180724%20brief.odf </ref><ref>
https://www.pacermonitor.com/public/case/27231978/CUTLER_v PELOSI! et_al </ref> As an Official

Whistle Blower in the Commonwealth of Pennsylvania, Jeffrey Cutler declares the

actions Mr. Krasner, the Mayor of Philadelphia, and the Governor were a concerted

effort to legally Murder Jews and Blacks. Mr. Cutler ran for governor as a Pro Se
candidate against Thomas Wolf and had an advertisement in the METRO paper on
240CT2018 page 15 :titled “SAVE BILL COSBY”. The government cannot tell you
how to PRAY enforced by RELIGIOUS POLICE!!! The DEMONCRATS are using
FEAR and JUNK science to try and bring back CONCENTRATION CAMPS just
like EXECUTIVE ORDER 9066 by FDR. The ORDER was never declared
UNCONSTITUTIONAL, just SUSPENDED, revoked by Ford when he was

president. On 04SEP2020 at 10:14 PM a [[FEC]] <ref>

httos://en.wikipedia.ora/wiki/Federal Election _Commission#First_ Amendment issue
complaint

was filed against [[Youtube]] for illegal edits of comments as an "[N KIND"
contribution to [[Joe Biden]], [[Nancy Pelosi]], and MISUSE OF FEDERAL FUNDS
(18 U.S.C. § 653) involving [[NPR]] and [[PBS]] networks and also AIDING AND
ABETTING in concealing the MURDER of [[Jonathan Luna]] <ref>

https://en.wikipedig.org/wiki/Jonathan_Luna </ref> and [[Beranton Whisenant]] <ref>

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httos://en.wikipedia.org/wiki/Beranton_Whisenant </ref>. This is documented in federal
court

case 5:19-cv-00834 filed 26FEB2019 in [[Philadelphia]] against [[ Nancy Pelosi]]
called (CUTLER v. PELOSI, et al.) and later against [[Kevin Clinesmith]]. On
20MAY2020 at 4:10 PM Jeffrey Cutler filed an INJUNCTION PENDING appeal in
USCA case 20-1449 to REQUIRE EVERY JURISDICTION in the UNITED
STATES unrestricted PRAYER! On 12JAN2021 Jeffrey Cutler filed a MAIL
FRAUD complaint against AMAZON and Jeffrey Bezos and on 11JAN2021 filed a
MAIL FRAUD complaint against TWITTER and Jack Dorsey. The MAIL FRAUD
complaints are based on being an INVESTOR in both companies and the ANNUAL
REPORTS OF BOTH COMPANIES that are MAILED to Mr. Cutler and other
investors and statements in those reports.

On 11JAN2021 Jeffrey Cutler FILED A MAIL FRAUD COMPLAINT AGAINST
TWITTER for statements in their ANNUAL REPORT that is MAILED. TWITTER
CLAIMS THAT THEY DO GOOD AND DECIDED THAT DONALD TRUMP'S
ACCOUNT IS BANNED FOR LIFE EVEN THOUGH THERE IS TIME
STAMPED PROOF OF ELECTORAL FRAUD IN PENNSYLVANIA,
ORIGINALLY FILED IN FEDERAL COURT 200CT2020 PAGE 169 OF CASE

20-2936 PAGE 9 OF THE LINK BELOW !!<ref>

https://www.courtlistener.com/recap/gov.uscourts.pamd. 127057/gov.uscourts.pamd. 127057.181.0.pdf </ref>

THE DROP BOXES IN PENNSYLVANIA FAILED TO HAVE HARD COPY

RECEIPT AVAILABLE DESPITE ORDER FROM TORRES ON 12APR2018 TO

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THE CONTRARY. ASHLI BABBITT WAS ACTING AS A CITIZEN
JOURNALIST AND SHE HEARD THE CONSPIRACY WITH KKK/ANTIFA
AND THE POLICE, THAT IS WHY SHE WAS MURDERED!! IN CHINA THEY
JUST PUT CITIZEN JOURNALISTS IN PRISON, NOT MURDER THEM, PER
STORY PAGE A3 PHILADELPHIA INQUIRER 29DEC2020 BY LILY KUO.
PER USCA CASE 17-1770 JOE BIDEN WAS PART OF A GROUP HELPING TO
SMUGGLE STOLEN NAZI ART INTO THE UNITED STATES AND BILL
COSBY FOUND OUT. AMAZON FOUNDER JEFFREY BEZOS ENDED
PARLER and WILLFULLY DESTROYED PARLER AND THEIR LAWSUIT
2:21-cv-00031 in the Western District of Washington should be fully compensated.
Nancy Pelosi led a vote to IMPEACH DONALD J. TRUMP a second time on
13JAN2021 allowing for no FACTS or EVIDENCE to be provided. Mr. Cutler filed
a 231 page document that is time stamped 2021 JAN 13 P 4:10 in case 20-1422 in
the USCA third circuit in Philadelphia and on page 62 of that document is a letter
from Nancy Pelosi to Ted Wheeler (the mayor of Portland, Oregon) conspiring

to INSITE VIOLENCE AND BLAME TRUMP, with the aid of the media.
Despite the RUSH to IMPEACH TRUMP A SECOND TIME , THE ARTICLES
of IMPEACMENT have yet to be sent to the SENATE.

Thus Pursuant to Title 18, United States, Code § 4, Plaintiff, Mr. Jeffrey

Cutler, formally notifies the court of ongoing criminal acts and conspiracy

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involved with this civil rights action and requests the court to notify the DOJ
Office immediately, and any other criminal justice authorities the court deems
necessary, to effect and insure the prompt investigation and prosecution of crimes
involved with this case which includes mail Fraud (18 U.S. Code § 1341), the
murder of a federal employee (18 U.S. Code § 1114), seditious conspiracy

(18 U.S. Code § 2184), activiies affecting the armed forces (18 U.S. Code §

2187), Obstruction of Justice, Bank Ruptcy Fraud in case number 19-11466
Philadelphia Accademic Health System and Title 18, Section 871. The

civil rights action is case # 5:19-cv-00834, case # 1:20-cv-01130 District Court
Maryland, and 1:17-cv-05228 in the Eastern District of New York (The State of New
York. et al. v. DONALD J. TRUMP, et al.). The courts have affirmed, it must
“afford a liberal reading to a complaint filed by a pro se plaintiff,” particularly

when the plaintiff has no formal legal training or education. Klayman v.
Zuckerberg, 753 F.3d 1354, 1357 (D.C.Cir. 2014); see also Erickson v. Pardus,

551 U.S. 89, 94 (2007) (“A document filed pro se is to be liberally construed, and a

pro se complaint, however inartfully pleaded, must be held to less stringent

standards than formal pleadings drafted by lawyers.”) (internal quotations and

citations omitted). The current election for president may be just like 2 Star Trek

Episodes combined. <ref> nttps://en.wikipedia.org/wiki/Bread_and_Circuses_(Star_Trek:_The_Original_ Series)

</ref> and <ref> https://en.wikipedia.org/wiki/What_Are Little Girls Made_Of%3F_</ref> and like

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the movie <ref> hitps://en.wikipedia.org/wiki/Moon_over Parador </ref> or the original
unpublished short story entitled "Caviar for His Excellency" by Charles G. Booth

_ there may be an actor portraying Joe Biden right now. As per Bell Atlantic Corp. v.
Twombly, 550 U.S. 544, 589 (2007) the court must accept the foregoing information
as true.

WHEREFORE, for all the foregoing reasons, petitioner respectfully requests

the Petion For INJUNCTIVE RELIEF be granted as well as Summary Affirmation
and all votes via DROP BOXES BE STRICKEN in Pennsylvania and the count be
recalculated, and based on Marks v. Stinson Donald J. Trump be declared the winner
<ref> https:/vww.leagle.com/decision/1994892196348731759 </ref> of the Presidential vote in
Pennslvania, and by reference North Carolina, Wisconsin, Nevada and Arizona.
Mr. Cutler has never met Donald J. Trump, and was not paid or compensated in any
way for this action. Mr. Cutler did give Mike Pemce a TSHIRT prior to him getting
elected Vice President at the hotel previously known as the Host Farm, but has since
been renamed. Mr. Cutler gave a similar TSHIRT to both Senators from Pennsylvania
Judge Stickman wrote in the case “but even in an emergency, the authority

of government is not unfettered” in the case of County of Butler v Wolf. This court
should also declare the entire Affordable Care Act (Obamacare) law and the

executive order signed in 1942 as Executive Order 9066 by FDR

UNCONSTITUTIONAL, during an immediate ENBANC review of this case when

combined with the writ from case _15-632, and the writ filed by the WHITE HOUSE

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as 19-840, 19-1019 also have the government CANNOT SPECIFY HOW TO
PRAY enforced by Religious POLICE, either LOCAL, STATE, or FEDERAL.
The MURDER of a BLACK man and 15 year old boy should NOT be Considered
MOOT as per order from the Judge ECF 203 and the clerk. This USCA case
number 1:17-cv-05228, 20-3371, 20-1805, 20-1449, 20-1422, 19-1622, 18-3693,
case number 20-5143 in the USCA DC CIRCUIT SHOULD, 2:21-cy-00031
Northern District of Washington, plus this case 21-4001 ALL BE

COMBINED FOR JUDICIAL EFFICIENCY and “GOOD TROUBLE” as per John
Lewis and stop 5171 years of persecution of Jewish Individuals. Not GETTING

EXPOSED IN A LIE IS NOT THE SAME AS TELLING THE TRUTH!!!

ASHLI BABBITT WAS THE START OF KRISTALNAHT UNITED STATES

<ref> https://en.wikipedia.org/wiki/Night_of_the Long Knives </ref>”

YOU CAN DESTROY THE EVIDENCE, BUT YOU CANNOT DESTROY THE
TRUTH. At least Four different federal courts have conspired to deny Mr. Cutler the
right to Petition the government for redress of grievances as part of the FIRST
AMENDMENT, in conjunction with the media, elected and non-elected officials
Based on payments inside and outside the United States. IMPEACHING ANYONE
should demand the FULL ATTENTION OF THE COURTS AND THE

CONSTITUTION, and there should be NO SHORTCUTS ALLOWED.

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Respectfully submitted,

DATE: 22JAN2021 /s/ Jeffrey Cutler

Jeffrey Cutler, pro se
215-872-5715 (phone)

eltaxcollector@gmail.com

P.O. Box 2806
York, PA 17405

CERTIFICATE OF SERVICE

I hereby certify that on JANUARY 22, 2021, I filed
the foregoing with the Clerk of the Court for the
United States Court Appeals for the THIRD Circuit
via United States Mail or in person. Participants in
the case who are registered CM/ECF users will be
served by the appellate CM/ECF system. I further
certify that all of the other participants or their
lawyers in this case are registered CM/ECF users
except as follows and they are served by mail or
email .

/s/ Jeffrey Cutler
Jeffrey Cutler

CERTIFICATION OF COMPLIANCE

This brief complies with the type-volume limitations of Fed. R. AP. P. 35(b)(2) and
Circuit Rule 40-1 because this brief contains no more than # of pages allowed by
ECF 17 USCA CASE 20-2936, excluding the parts of the brief exempted by Fed. R.
AP. P. 32.

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PLAINTIF’S PROPOSED ORDER FOR SUMMARY AFFIRMATION

AND NOW, this day of , 2020 upon consideration Plaintifs Motion for Default

 

Judgment and for good cause shown, it is hereby ORDERED the Motion is GRANTED. SO ORDERED.
[1] Per Marks v. Stinson, <ref> https:/Avww.leagle.com/decision/199489219f3d8731759 </ref>, Donald J. Trump be
swom in as President, with Mike Pence by removing Joe Biden, and Kamala Harris, if for no other reason he can be
removed from office with OFFICIAL TRIAL as demanded by NANCY PELOSI, SPEAKER OF THE HOUSE and all
EXECUTIVE ORDERS SIGNED BY Joe Biden be declared NULL and VOID.
Order the SUMMARY AFFIRMATION against all defendants be granted and made FINAL at one million dollars per
day or as a neotiated amount.
ORDER ALL BALLOTS THAT WERE CAST ILLEGALLY IN VIOLATION OF THE ORDER OF 12APR2018 BY MR.
TORRES BE DISCARDED AND TURNED OVER TO THE FBI FOR PROSECUTION
Order that ELECTORAL FRAUD is counterfeit ballots and also under the PURVIEW of the SECRET SERVICE.
Order Tom Wolf, Josh Shapiro and others be charged with conspiracy to commit MAIL FRAUD in connection with
the voting in Pennsylvania and mailing the vote tally to CONGRESS.

Order the order of Judge Margret Miller made March 17, 2017 against Jeffrey Cutler vacated, the order by Judge

Margaret Miller against Jammal Harris vacated and order by Judge Lawrence Stengel against Lisa Michelle Lambert

vacated and all persons similarly situated (William Henry Cosby, Joe Johnson, Jeffrey Smiles, Emily Weinman,
David Sommers, Mr. William H. McMichael, Stan Caterbone, Claire Risoldi, Rufus Seth Williams, Budd Dwyer,
Stepen T. Kirchner (1873 MDA 2018), Scott Capps, General Flynn, Mr. Popodopolis, Ari Goldstein, charges against
Roger Stone and Eric Snowden, prison sentences of MAC PHIPPS in LOUISIANNA, Julias Jones in Oklahoma,
etc.), for violations of equal protection. All prosecutions of Robert Mueller as special prosecutor vacated because his
appointment was based on perjured testimony, which is verfied by Mr. Steele in a foreign court.
Order the summary and default judgment of all other cases filed by Mr. Cutler in every court also be granted, and all
judgements against Mr. Cutler by every Judge vacated including traffic violations for expired inspection in York, PA
East Lampeter Township and Haverford, PA.
Order ECF 103, 104, 105 & 106 be denied USCA case 20-1805.

{9] Order Nancy Pelosi and Adam Schiff to resign from their elected positions based on crimes identified in this

document, or from their leadership positions and pay 1million dollars per day fine until they agree.

[10] Order Judge Barry Bloss, Judge Cynthia Rufe, Judge Eduardo Robreno, Judge Denise Commins, Judge

Nicholas G. Garaufis, Judge Midge Rendel, and Judge Catherine Blake pay twice their daily salary each day to

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the innosense project , until they resign.

[11] Order Tom Wolf, Jim Kenny to resign for interference in interstate commerce and misuse of Federal Funds.

[12] Order all vandalism perpetuated against Mr. Cutler and Mr. Krieger to be compensated, and listed.

[13] Provide documentation to the court of how much all court costs and legal fees have been to date, and list cost or
legal hours and ALL LEGAL FIRMS used to try to change the outcome of a certified election, of Jeffrey Cutler and
Donald Trump in all future actions with the court by East Lampeter Township Lancaster County. Legal fee
documentation should start with the actions of the solicitor on and East Lampeter Township starting in O5NOV2013.

{14] Order East Lampeter Township to reveal all persons or individuals that have expressed interest in this case,
especiaily any officials of the United States Government, and all payments by any George Soros organization.

[15] Order a one million dollar a day penalty per named defendant, until Mr. Cutler’s reputation and credit are restored or
individual agreements are reached with each party.

[16] Order Susan Peipher Esquire, East Lampeter Township, Lancaster County Courts and unnamed others show cause
why they should not be charged with violations of the RICCO ACT, both 18 U.S.C. §§ 1961-1968. RICO violations,
and 18 U.S.C. § 1964, Civil RICCO Act.

[17] Order Susan Peipher Esquire, Christina Hausner, East Lampeter Township, East Lampeter Township Police,
Lancaster County Courts, Ralph Hutchinson, Judge Margaret Miller, Scott Martin, Elam Herr, all named defendants
in this case and unnamed others show cause why they should not be charged with violations of 18 U.S.C. § 2113
(bank robbery) and electoral fraud.

[18] Order Fulton Financial to return all money for accounts ending with 8603 and 8612 with penalties.

[19] Order Fulton Financial to compensate the plaintiffs for cases 5:18-cv-00987 and case 2:17-cv-02763 as demanded
in their respective lawsuits.

[20] Order Wikimedia foundation and all media outlets specified to provide space and corrections as provided by the
plaintiff and his designated representative for fake news and PROGRAMMED CENSORSHIP!!

[21] Order Summary Judgement be awarded for all other cases Mr. Cutler has been denied due process be awarded.

[22] Other remedies the court deems appropriate.

[23] Order the Democratic National Committee to also show why they are not a party to Religious discrimination.

[24] Order Nancy Pelosi to resign from her position for the false statement (18 USC § 1001) made through her lawyer.

[25] The primary election in Pennylvania held June 2, 2020 should be redone because of unequal treatment of voters

throughout the state.

[26] Order of GAVIN NEWSOME, GOVERNOR OF CALIFORNIA be vacted because it is obstruction of free
exercise of religious beliefs and violates Matthew Shepard and James Byrd Jr. Hate Crimes

Prevention Act.

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[27] Order CHINA to allow the residents of Hong Kong to vote on become a territory of the United
States for attacking the United States,

[28] Order that Taiwan be allowed the residents to vote on becoming a territory of the United States

for their part in help in attacking the United States.

[29} Combine cases 20-1805, 20-1449, 20-1422 from USCA third circuit and 20-5143 from the USCA
DC CIRCUIT and 21-40001 Fifth Circuit, and 1:17-cv-05228 from the Eastern District of New York.
[30] Order Broadcasters to make available at NO COST their AUX CHANNELS for teaching grades K-

12,

[31] Order Susan Peipher Esquire and other lawyers guilty of similar activites, to be barred from participation in the
Federal Court CM/ECF system.

[32] Order that all public broadcasting stations be charged with VIOLATIONS 18 U.S.C. § 653, misuse of federal funds,
or on the alternate be charged with 18 U.S.C. § 666 for Censoring Mr. Cutler's activity.

[33] Order the money that Mr. Bloomberg sent to the DNC plus pledged funds be held for his employees that worked on
his presidential bid that took the jobs based on contracts he made to be distributed by Mr. Cutler.

[34] Order GOOGLE LLC with violations of the ELECTION CAMPAIGN contributions by editing Mr. Cutler's comments
on youtube videos and other destruction of phone use to pay a fine for each occurence not to exceed one billion per
instance.

[35] Order the CDC to recommend mass Pneumonia vacinations to STOP COMPLICATIONS of COVID-19 and FLU

[36] Order the STATE SCHOOLS to REQUEST BIDS FOR ONSITE TEACHING ON A CONTRACT BASIS 10, 30, 100
STUDENTS, etc.

[37] Although there is no amount of money that can bring back BREONNA TAYLOR, from the dead, the store chain
LORD AND TAYLOR could be brought back as LORD AND BREONNA TAYLOR as a fixed reminder to her death
and combined with CENTURY 21.

[38] Based on the reply on 27SEP2020, Mike Carter and the Seattle Times should be charged with aiding and abetting
the coverup of the murder of Jonathan Luna 04DEC2003 after the fact (18 U.S.C. § 3 Accessory After the Fact
MURDER of Jonthan Luna)

[39] Order CITIBANK pay three times the amount they allowed to be stolen via fmail fraud from Jeffrey Cutler and
Marilyn Cutler, and document how much they spend on lawyers to support their conspiracy to commit mail fraud.

[40] The constitution should be ammended to allow all citizens of voting age in any prison the right to vote fora
representative in congress and president of the United States just like Washington, DC., and 1 electorial vote. The

fotal prison population shall be added to the census for the country. No additional seats shall be added to the

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house.
[41] The constitution should be ammended to allow all citizens of voting age native born in any territory the right to vote
for a representative in congress and president of the United States just like Washington, DC., and 1 electorial vote.

The total population shall be added to the census for the country. No additional seats shail be added to the house.

[42] The government shall establish a set of specifications for the minimum features a health plan shall contain to be

called copper, silver, gold platinum, etc., and failure to deliver these features shall be considered mail fraud.

[43] The intentional termination of life by any third party for money for all individuals from 84 months old after conseption
to 30 months old after conseption shall be considered a crime.

[44] A replacement for obamacare would allow any United States interstate company offer their group health plan to not
only their employees, but their suppliers and customers at any pricing they choose with a stated customer charge
and individual charge.

[45] The request for the stay of the order of 14SEP2020 BY THE OFFICE OF ATTORNEY GENERAL SHOULD BE
DENIED because it should be an injunction pending Appeal.

[46] Every jurisdiction in the United States MUST allow UNRESTRICTED PRAYER NOT ENCUMBERED BY any local
specifications specifying the correct way to pray, enforced by RELIGIOUS POLICE.

[47] Judge Rendell should recuse herself because of her involvement with this case, dating to 13MAY1985 and her
current spouse involvement with the Insurance industry.

[48] Mark Trundos be compensated for criminal activity regarding 2:19-cv-05846 .

[49] Jeffrey Cutler be allowed to get Medicare Part B as equtiable release based on PANDEMIC provisions put in place
by the president of the United States.

[50] All ballots collected in remote collection boxes where the voter was not offered a HARD COPY of their vote be
segragated (violating 18 U.S.C. § 653, misuse of federal funds and Equal Treatment Under the law Ammend 14) and
if they cannot be segraated all votes where they are mixed should be discarded.

[51] Order Tami, Charity Welch (case 5:20-cv-04842), Pavel Resnick, Stacty Gonzalez (case 2:18-cv-05028), Ken
Krieger be compensated at a minimum of $250,000 dollars

[52] Mr. Noviho (5:15-cv-03151) be compensated at a minimum of $250,000 dollars because he should have won on
03SEP2015, but the lawyer George Reihner failed to protect Mr. Noviho.

[53] Order everyone mentioned in this case that is victim of the KKK or FBI be awarded a minimum of $250,000 dollars,
including both children of Budd Dwyer and the individual Mr. Smiles identied as “K” living in his car via email.to Mr.
Cutler.

[54] Order Wikipedia to reveal the Name, Address, and Email of AmandaNP, RAVENSFIRE, and PROLOG and
Government sources used to SPY & CENSOR on Mr. Cutler and pay him an appropriate payment. of at least 10% of

their NET WORTH.

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[55] A law should be passed that allows JEFFYBONDS be used to make sure every POLICE vehicle is a 2 man car
because like computers, POLICE CAN NEVER HAVE TOO MUCH BACKUP and they be used instead of CARES
act money to balance the Pennsylvania Budet

[56] Seth Williams should get his law license restored just like Ernie Preate, plus awarded 250,000 dollars

[57] Mr. Michael Grant and Mr. Noviho (5:15-cv-03151) be compensated at a minimum of 250,000 dollars

[58] Jeffrey A Dellinger be compensated at a minimum of 250,000 dollars for being directed he must goto church on
Sunday

[59] Mr. Jammal Harris be compensated at a minimum of 250,000 dollars

{60] Survivors of Sean D. Williams (18-2773) be awarded a minimum of 250,000 dollars, as well as Duncan Hunter.

{61] Order Andrew Cuomo, Gavin Newsome and Leticia James resign for violations of the right to PRAY, and testify
under OATH.

[62] Order Traveller’s Insurance, Citibank and others to pay into the fund or face criminal prosecution.

[63] Order every employee at PBS/NPR to dedicate a portion of their pension or paycheck to a fund or face prosecution

for 18 U.S.C. § 653 MISUSE OF FEDERAL FUNDS, MAIL FRAUD, AND OTHER CRIMES.

[64] GOOGLE is guilty of violating 47 U.S. Code § 230 via their Youtube division and recently with
<ref> httos://www.youtube.com/watch#?v=XangkJolrBk </ref>>

[65] GOOGLE is guilty of violating 47 U.S. Code § 230 via their Youtube division and recenily with
<ref> <ref>https://www.youtube.com/watch?v=Coxy7gXxOstA </ref>

[66] GOOGLE is guilty of violating 47 U.S. Code § 230 via their Youtube division and recently with -
<ref> https://www.youtube.com/watch?v=DJOB2DINNsY </ref>

[67] | GOOGLE is guilty of violating 47 U.S. Code § 230 via their Youtube division and recently with
<ref> httos://www.youtube.com/watch?v=7-w5NZYUICO </ref>

[68] GOOGLE is guilty of violating 47 U.S. Code § 230 via their Youtube division and recently with
<ref> https://www.youtube.com/watch?v=wQfOwB-k7yQ </ref>

[69] GOOGLE is guilty of violating 47 U.S. Code § 230 via their Youtube division and recently with
<ref> https://www.youtube.com/watch?v=xNdTBWw7z_aw </ref>

{70] . GOOGLE is guilty of violating 47 U.S. Code § 230 via their Youtube division and recently with
<ref> httos://www.youtube.com/watch?v=DV-92HMNGUY </ref>

[71] GOOGLE is guilty of violating 47 U.S. Code § 230 via their Youtube division and recently with <ref>

hitps://www. youtube.com/watch@v=ONc7g3PqtOM </ref>

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[72] GOOGLE is guilty of violating and in conjunction with every other news media including ABC, CBS,
NBC is guilty of violating 18 U.S.C. § 3 Accessory After the Fact MURDER of Jonthan Luna and others.

[73] Kara N. Templeton, Christopher Leppler, Judge Nicholas G. Garaufis, Judge B. Denise Commins have
conspired to violate 18 U.S.C. § 3 Accessory After the Fact MURDER of Jonthan Luna and pay a fine equal to their
pension for 10 years.

[74] Dr. Levine and other PUBLIC health officials should SURRENDER their MEDICAL LICENSE for FAILURE to
RECOMMEND INCREASED PNEUMONIA vaccinations including Dr. Deborah Birx and be investigated for any
payments made to them, and pay the equivalent of Social Security Death payment for everyone that died in
Pennsylvania and the United States, as well as all media organizations that also participated in the deaths
(APPROXIMATELY 1.5 MILLION 255 * 5493) EACH.

[75] Based on case 10011 Boeing should create a project to bring back the L-1011 Aircraft from the dead with engines
from the 737-MAX to provide new aircraft to the fleets that would soak up excess production engines and provide
new capacity to the Airline Industry Worldwide and Engineering jobs and capacity.

[76] ORDER THAT CARTER PAGE LAWSUIT BE INCORPORATED INTO THIS ACTION AND AT MINIMUM BE
AWARDED $ 250,000

[77] Order all individuals that have contributed to the Pandemic Destroy America Fund pay twice the amount paid into
the fund and Jeffrey Bezos, Jack Dorsey, Tim Cook, Bill Gates, George Soros pay 10% of their net worth as a fine
for trying to destroy the United States and electoral fraud and the constitution as well as all similarly situated.

[78] Mr. Bezos be incarcerated until Parler has been made whole, and he pays everyone in the United States that lost
money $ 2,000 , along with the president of ABC Channing Dungey, and James Comey(Approximately 400 billion)

[79] Order the United States Government to stop collecting or accessing penalties FOR FAILURE to comply with

established fenets or teachings of such sect or division of ANY religion in violation of the U.S.
Constitution amendment 1 and declare the ACA unconstitutional , based on the 89 page writ of USCA case 17-

2709 on page 314A, and Supreme court case # 15-632 plus the writ filed by the WHITE HOUSE as 19-840, 19-

1019 and Declare that no jurisdiction of the United States can dictate the proper way to pray.

Dated: , 2021

 

BY THE COURT

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Case 2:21-cv-00031-BJR Document 39 Filed 01/27/21 Page 190 of 194

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ADDENDUM

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Josh Shapiro: Revision history

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Shapira announced his intention to run for [{{Pennaylvania Attorney General]}] in January
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daresJanuary 12, 2016]agency-PolicicsPA|davesJanuaxy 12, 2016}}</ref> He had sever previously
served as 2 prosecutor, but.he was a member of the state bar aad worked with the low firm
Seradley Ronon.<ref name="orso2*>{ {cite news jlasti—Orgo. {firsti~Anna jtitiesdosh Shapiro vs.
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pablisher-BillyPean ldave-oovaber 25, 2016}}</ref> Shapiro campaigned on his promise to
estore the office's integrity following the resignation of [{Kathieen Kanej}, and he also
promised to work to combat. the. [lopioid epidemic) j<ref name="phalin/> and [[Gun vielence ia the
United ]. His was by i ({Barack Obama}) and
(presidential candidate [{Hillary Clinton]], and billionaire businessman {{Hichael Bloomberg} }
‘waa among the largest donora to Shapiro's campaign.<ref name="Ozgo">{ {cite

webilasti=Qesol firsti=Annaltitie=Jogh Shapiro wins PA Attorney General

iracejuri=btcp: //billypenn.com/2016/11/08/Josh-shapiro-wins-pa-attorney_general-
‘race/|websitesBilly Penn|publishersSpirited Medialaccess-datesHovember 21, 2016}}</ref> He won
the Democratic primary for attorney general in April 2016, defeating [[Stephen Zappaisj] and
John Morganelli with 47% of the vote.<ref>{{cite news [lasti-Addy|firsti-Jason|title-Shapiro
Wins Dem AG Nomination] url=hetp: //ww.politicspa.com/shapiro-wins-dem-ag-nomination

/74925| ¥ Zi, 2016 agency-SolizicsPAl ‘April 26, 2016}}</ref> In Rovembexr 2016, °
Shapiro won election as attorney general, defeating Republican nominee [[John Rafferty Jr.1]
with $1.3% of the vote.<ref>{{Cite webluri=nttpa: //ww.nytimes.com/elections/ results

? general tit yivania General Results: Josh Shapiro
Wins lisst~Times|t York! 21, 2016) 25, 2016}}</ret>

 

 

 

 

 

 

Upon taking office, Shapiro joined with. several other state attorneys general in opposing
President {{Pensld Trump}]'s [{Trump travel banjtravel ban}j,<ref>i{cite news |lasti-Burns
fizovisAlexander [titie-How Attorneys General Became Democrats! Bulwark Against Tromp
jurlehttps: //wwe.nytimes.com/2017/02/06/us/attorneys-general-democrats-trump-travel—

ban. html @module=inline jwork=ew York Times {dave=February 6, 2017}}</ref> and he also filed 2
dawsuit to block the implementation of a rule that would have made it easier for employers to
deny health insurance coverage of. j{contraceptive)}s.<ref>ticite news (lasti=Pear
[fixstiwRobert .[titlesCourt Temporarily Blocks Trump Order Against Contraceptive. Coverage
lurimhetps://su.nytines .com/2018/08/27/us/palitics/peaneylvanie-attoracy-general-
josh-shapirc.html |work-Wew York Times |date=December 15, 2017}}</ref> He algo joined a lawsuit:
against ({ITT Technical Institutel], a {{For-profit higher education in the United Scatesifor-
profit educational institute}], that resulted in s $16@ million sectlement (with about $5 .
million of that settlement going to’ Pennsylvania students) .<ref>i{cite news |laati=Burrell
{firsti=David |title=Attorney Generali Josh Shapiro Is Hosting a Philly Town Hali on Student
Debt jurishrtps://ww0w.philiymag.com/news/2018/10/01/36sh-shapiro-student-dept~town-ball/
[publisher@Philly Mag [datewOctober 1, 2019}}</ref> In 2016, he reached an agreemenc with
(federal officials to prevent the distribution of blueprints for [[3D printed fireszms}}.
ref>{{cite news [lasti=Hsy ifiravibTitfany (last2=Feuer {first2“Rlan |titlesA Buen to Block
Downloadable Plans for 3-D Printed Guns (uri-hvcps://www.nytimes.com/2018/07/30/business
/dowoloadable-blyepriats-printable-guns htm) module*inline .|work-New York Times jdatesJuly 20,
2018} }</ret> In 2019, he came out in support of the legalization of marijuana for recreational
use by adults, joining Governor Wolf and ovher leading Pennsylvania Democrats.<zef>{icize. news
itatie=Pennsylvania Attorney General Josh Shapiro Sacks Legalizing Marijuana

furl-bttps: //philadelphia.ckslocal .com/2019/09/27/pennaylvania-attarney-general-josh-shapird—
backs-lagalizing-marijuana/ jpublisher=CBS Philly jdavesSeptember 23, 2019}}</ref>

 

an 2016, shortly before Shapiio tock office, the Pennsylvania Attorney Genezal's office began
‘an inveatigation of allegations of sexual abuse by the. [[Catholicism|Catholic Church}}. Shapiro:
chos® to move forvard with the investigation, and, in August 2018, he. released the resulta of |
an {{(Grand jury investigation of Catholic Church sexual abuse in Pennsylvaniafcite nove WNEP
'2018.08-14-38 extensive grand jury report]]. The report alleged the sexual. abuse of more than
1,000 children at the hands of over 300 priests,<ref name="ediag™>{{cite news [lasti=Dias =e
ifixotimElizabeth jtatlesMeer Josh Shapiro, the Man Behind the Bombshell Investigation of
Clergy Sexual Abuse juri=https://www. nytimes. com/2018/08/27/us/politics/pennsylvania-attorney~
general-josh-shapiro -humi jwork-Hew York Times |date-Rugust 27, 2018}}</ref> His report
prompted similar investigations in cther states, an inquiry by the federal government, and
proposed legislation to change the statute of limitations in Pennsylvania. {icirarion

needed |dace=November 20197}

In May 2019, it wag reported that Shapiro and State Senator. [ {Jay Costa}}. had directed paid
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